              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 1 of 118 Page ID
                                                #:45364



                   1
                       QU1NN EMANUEL URQUHART OLIVER & HEDGES, LLP
                   2,   John B . Quinn (Bar No. 90378)
                        (johnquinn qu^nnemanuel.com}
                   3    Michael T. e11er (Bar No. 196417)
                        ^rnichaelzeller a7quinnemanuel.com}
                   4      on D. Corey ( ar No . 185066
                        (j oncorey@qumnemanuel . com
                   5! 865 South Figueroa Street, 10th loot
                       Los Angeles , California 90017-2543
                   6 Telephone : (213) 443-3000
                       Facsimile : (213} 443-3100
                   7
                       Attorneys for Mattel, Inc.
                   8^'
                                              UNITED STATES DISTRICT COUIZT
                   9
                                            CENTRAL DISTRICT OF CALIFORNIA
                  10
                                                     EASTERN DIVISION
                  111
                                                             Case No. CV 04-09049 SGL (RNBx}
                  12 ^ CARTER BRYANT, an individual,
                                                             Consolidated with Case No. 04-9059
                  13                      Counter-Claimant,  and Case No. OS-2727
                  14        v.                                Honorable Stephen G. Larson
                  15 MATTEL, INC., a Delaware                  PUBLIC REDACTED1CORRECTED
                     Corporation,                             MMATTEL. INC.'S STATTEMENT OF
                  16                                          GENUINE ISSUES REGARDING
                                     Counter-Defendant.       MGA PARTIES' PROPOSED)
                  17                                          STATEMENT O^
                                                              UNCONTROVERTED FACTS AND
                  18                                          CONCLUSIONS OF LAW IN
                                                              SUPPORT OF THEIR MOTION FOR
                  19                                          PARTIAL SUMMARY JUDGMENT
                  20 AND CONSOLIDATED ACTIONS                 Hearing Date:       Apri122, 2008
                                                              Time:               10:00 a.m.
                  21                                          Place:              Courtroom 1
                  22                                          Phase 1
                                                              Discovery Cut-Off:         San. 28, 2008
                  23                                          Pre-Trial Conference:      May 5, 2008
                                                              Trial Date:                May 27, 2008
                  24
                  25
                  26
                  27'
                  28
U72^9I2447527.k        ^^                                                    Case No. GV 04-09049 SGL (RNBx)
                                                    MATTEL`S STATEMENT O^ GENUINE ISSUES RE MGA C'ARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 2 of 118 Page ID
                                               #:45365



                   1               Pursuant to Local Rules 56-1 and 56-4, Mattel, Inc. ("Mattel"} submits the
                   2 following Response to MGA Parties' Statement of Uncontroverted Facts and
                   3 Conclusions of Law in support of its Opposition to MGA's Motion for Partial
                   4 Summary Judgment.
                   5 I.            MATERIAL FACTS
                   6
                                      MGA MATERIAL FACTS                      MATTEL' S RESPONSE AND
                   7                  AND EVIDENCE CITED                       EVIDENCE OF DxSPUTE
                   8          1.     Carter Bryant's employment at       Undisputed.
                                     Mattel commencing in January        Ex. 25 {Letter from Mattel to Bryant
                   9                 of 1999 was at-will.                dated December 11, 1998 stating that
                                                                         «                      »).
                  to
                  11                                                     Ex. 36 (Bryant Deposition Exhibit 25);
                  12                                                     Ex. 1 {Bryant) at 608:16-22.
                  13          2.     Bryant showed his drawings to       Disputed.
                                     Veronica Marlow before she
                  14'^               began work as a freelance           Ex. 3 (Marlow) at 116:4-14, 116:19-
                  15                 designer for MGA in the spring       117:4 {Marlow testimony that Bryant
                                     of 2000.                             showed her drawings he created in
                  16                                                      Missouri in the Mattel parking lot);
                  17                                                      Ex. 1 (Bryant} at 158:18-24 (confirming
                  18                                                      Marlow had seen drawings prior to
                                                                          meeting with MGA};
                  19
                                                                          Ex. 3 (Marlow} at 28:17-29:3, 36:8-15,
                  20                                                      37:i 1-18 {after leaving Mattel in 1998,
                                                                          Marlow was working as independent
                  21                                                      contractor when she started in MGA in
                  22                                                      spring of 2000).

                  23                                                      The cited evidence does not support
                                                                          the facts for which it is cited. See
                  24                                                      Ex. 1.
                  25
                                                                          Bryant's testimony shows that Marlow
                  26                                                      saw his drawings shortly before the
                                                                          August 2000 pitch meeting because it
                  27                                                      was as a result of seeing the drawings
                                                                          that Marlow arran ed or the itch
                  28
07209/2A47527,1                                                           j              Case No. GV 04-09049 SGL (RNBx)
                         II                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 3 of 118 Page ID
                                                #:45366



                   1         MGA MATERIAL FACTS                     MATTEL'S RESPONSE AND
                   2         AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                meeting to take place. Deposition
                   3                                            Transcript of Carter Bryant Vol. 1
                   4                                            ("Bryant Tr. Vol. 1 "), dated November 4,
                                                                2004 at 158:23-159:2 "
                   5
                   6                                                                                 "}.
                   7
                   8                                            Evidentiary Objections

                   9
                                                                Objection to the supporting deposition
                  10                                            transcript of Veronica Marlow at: 116:4-
                                                   -            14 based on hearsay. Fed. R. Evid. 801,
                  11                                            802.
                  12   3.   Marlow was not an employee of Disputed.
                            MGA in 2000.
                  13
                                                          Ex. 1 (Bryant) at 5:20-6:2 {Bryant
                  14                                      testimony that Marlow was not an MGA
                                                          employee but performing freelance work
                  15                                      for MGA};
                  16
                                                                Ex. 2 (O'Connor) at 53:25-54:4
                  17                                            (O'Connor testimony that Marlow was a
                                                                freelance designer and was not an
                  18                                            employee of MGA).
                  19                                            Contrary evidence:
                  20
                                                                However, Marlow was working for MGA
                  21                                            in 2000. Bryant $:25-9:2, 157:18-28;
                                                                Russell Dec., Exh. 1. Marlow's invoices
                  22                                            for 169 hours of work on Bratz for
                  23                                                                 " , Bates-numbered
                                                                MGA 0072161-167, Zeller Dec., Exh. 79.
                  24
                  25   4.   In July of 2000, while              Disputed
                            unpacking some moving boxes,
                  26        Bryant found his BRATZ              Ex. 1 {Bryant) at 156:25-157:11 {Bryant
                            drawings and decided to shop        testimon that he found the drawings and
                  27        them to a toy company.              that he "
                                                                                      ».
                  2$
o^zo9izaa^sz^.t                                               _2_              Case No. CV 04-09049 SGL {RNBx)
                                                       MATTEL'S STATEMENT QF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 4 of 118 Page ID
                                                #:45367



                   11                                           MATTEL'S RESPONSE AND
                            MGA MATERIAL FACTS
                  2         AND EVIDENCE CITED                   EVIDENCE OF DISPUTE

                  3                                       Ex. 3 {Marlow) at 121:1-7 (Marlow
                  4                                       testimony Bryant said he was cleaning
                                                          out home office and found the drawings};
                   5'
                                                          Ex. 17 (Irmen} 224:1-4, 225 :17-226:3
                   6                                      {Irmen testimony that Bryant found
                                                          BRATZ drawin while un ackin "
                   7
                   8                                                          ,^}.
                   9
                                                          Contrary evidence:
                  10
                  11                                      Bryant had approached MGA and various
                                                          people about working on Bratz before
                  12                                      July 2000. Anna Rhee testified - that
                                                          Bryant introduced Rhee to MGA in or
                  13                                      about June 2000 and had her paint the
                                                          faces ofthree-dimensional "Bratz" doll
                  I4
                                                          heads. She submitted an invoice to MGA
                  15                                      dated June 12, 2000 for that work. Rhee
                                                          testified that when she first began
                  16                                      working on this "secret" project, she did
                                                          not know the project by the name
                  17                                      "Bratz," but that Bryant initially instead
                  18                                      had called it "Angel," which is what she
                                                          wrote on her invoice to MGA as well as
                  19                                      on other invoices for her work on Bratz
                                                          in September 2000. Deposition
                  20                                      Transcript of Anna Rhee ("Rhee Tr."),
                                                          dated February 3, 2005 at 107:4-108:10,
                  21
                                                           109:5-25, 113:24-114:15, 127:8-14,
                  22                                       132:25-133:2, 138:9-22, 202-204, Zeller
                                                          Dec., Exh. 66; Collection of Invoices
                  23                                      from Anna Rhee to MGA, Bates
                                                          numbered AR 0001-AR 005 8, marked as
                  24                                      Exhibit 201 in this action, Zeller Dec.,
                  25                                      Exh. 72.

                  26                                      Witnesses have testified that the name
                                                          "Angel" was used internally at MGA to
                  27                                      refer to the Bratz project. See Deposition
                  28                                      Transcri t of Anna Rhee, dated Februa

0720912447527.1                                          _'^_              Case No. CV 04-09049 SGL (RNBx)
                                                                                             __- ----_
                                                  MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 5 of 118 Page ID
                                                #:45368



                   1          MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                   2          AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                               3, 2005 at 23:13-24:8 (Rhee, the face
                   3                                           painter of Bratz, testif ed that invoices
                   4                                           dated as early as June 12, 2000 -- far
                                                               before MGA claims to have even met
                   5                                           Bryant -- were for work she performed on
                                                               Bratz for MGA under the "code name" of
                   6.                                          "Angel."} , Zeller Dec. , Exh. 66; See also
                                                               Ashong Tr. at 214:3 -18 {Ashong
                   7                                           confirmed that "Angel" was a nickname
                   8.                                          used internally at MGA for one of the
                                                               Bratz characters}, Zeller Dec., Exh. 71.
                   9
                  la                                           Evidentia     Ob'ections
                  11
                                                               Objection to the supporting deposition
                  12                                           transcript of Richard lrmen at: 225:17-
                  13                                           226:3 based on hearsay. Fed. R. Evid.
                                                               801, 802.
                  14    5.   Bryant called Marlow to ask for   Disputed.
                  1S         help pitching his BRATZ idea.     Ex. 1 (Bryant} at 8:17-21, 157:19-158:2
                                                               (Bryant testimony);
                  16
                  17                                           Ex. 3 (Marlow) at 120:17-121:7 (Marlow
                                                               testimony that Carter called her and
                  18                                           asked for help).
                  19
                                                               Evidentiary Ob.iections
                  20
                  21
                                                               Objection to the supporting deposition
                  22                                           transcript of Veronica Marlow at: 120:7-
                                                               121:17 based on hearsay. Fed. R. Evid.
                  23                                           801, 802.
                  24    6.   Marlow suggested Bryant pitch     Undisputed.
                             the BRATZ concept to MGA.         Ex. 1 (Bryant} at 8:25-9:2, 157:18-25
                  25
                                                               (B ant testimon that Marlow told him
                  26
                  27                                                                         »}^
                  28
o^zo9rz4a^sz^.i                                             -4_              Case No. CV 04-09049 SGL {RNBx}
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 6 of 118 Page ID
                                                #:45369



                   1         MGA MATERIAL FACTS                  MATTEL' S RESPONSE AND
                   2         AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                            Ex. 3 (Marlow) at 121:14-20 (Marlow
                   3                                        testimony that she suggested MGA to
                   4                                        Carter based on conversation with
                                                            Garcia}.
                   5
                       7.   Bryant had never heard of        Disputed.
                   6        MGA prior to his conversation
                            with Marlow.                     Ex. 1 (Bryant) at 8:15-9:4 157:$-158:9
                   7                                         B ant testimon : "
                   8                                                  "};
                   9
                                                             Ex. 3 (Marlow) at 121:11-14 (Marlow
                  10                                         testimony that she explained what MGA
                                                             was to Carter).
                  11
                                                             Contrary evidence:
                  12
                  13                                         Bryant had approached MGA and various
                                                             people about working on Bratz before
                  14                                         July 2000. Anna Rhee testified that
                                                             Bryant introduced Rhee to MGA in or
                  15                                         about June 2000 and had her paint the
                  16                                         faces of three-dimensional "Bratz" doll
                                                             heads. She submitted an invoice to MGA
                  17                                         dated June 12, 2000 for that work. Rhee
                                                             testified that when she first began
                  18                                         working on this "secret" project, she did
                                                             not know the project by the name
                  19                                         "Bratz, " but that Bryant initially instead
                  20                                         had called it "Angel," which is what she
                                                             wrote on her invoice to MGA as well as
                  21                                         on other invoices for her work on Bratz
                                                             in September 2000. Deposition
                  22                                         Transcript of Anna Rhee ("ghee Tr."),
                  23                                         dated February 3, 2005 at 107:4-10$:10,
                                                              109:5-25, 113 :24-114:15, 127:8-14,
                  24                                          132:25-133:2, 138:9-22, 202-204, Zeller
                                                             Dec., Exh. 66; Collection of Invoices
                  25                                         from Anna Rhee to MGA, Bates
                                                             numbered AR 0001-AR 0058, marked as
                  26                                         Exhibit 201 in this action, Zeller Dec.,
                  27                                         Exh. 72.

                  28
o^zovizaa^sz^.[                                            _5_              Case No. CV 04-09049 SGL {RNBx)
                                                    MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 7 of 118 Page ID
                                                #:45370



                   1                                                   MATTEL' S RESPONSE AND
                                  MGA MATERIAL FACTS
                   2              AND EVIDENCE CITED                    EVIDENCE OF DISPUTE

                   3                                              Witnesses have testified that the name
                                                                  "Angel" was used internally at MGA to
                   4                                              refer to the Bratz project. See Deposition
                   S                                              Transcript of Anna Rhee, dated February
                                                                  3, 2005 at 23:13-24:8 (Rhee, the face
                   6                                              painter of Bratz, testified that invoices
                                                                  dated as early as June 12, 2000 -- far
                   7                                              before MGA claims to have even met
                   8                                              Bryant -- were for work she performed on
                                                                  Bratz for MGA under the "code name" of
                   9                                              "Angel.") , Zeller Dec. , Exh. 66; See also
                                                                  Ashong Tr. at 214:3-18 (Ashong
                  10                                              confirmed that "Angel" was a nickname
                                                                  used internally at MGA for one of the
                  11                                              Bratz characters}, Zeller Dec., Exh. 71.
                  12
                  13                                              Evidentiary Objections

                  14
                                                                  Objection to the supporting deposition
                  15                                              transcript of Carter Bryant at: 8:15-9:4
                                                                  based on hearsay. Fed. R. Evid. 801,
                  16                                              802.
                  17
                  18                                              Objection to the supporting deposition
                                                                  transcript of Veronica Marlow at:
                  19                                              121:11-14 based on hearsay. Fed. R.
                                                                  Evid. $O1, 802.
                  20
                            8.   Marlow set up a pitch meeting    Disputed.
                  21             with Bryant, Garcia and
                                 O'Connor at MGA.                 Ex. 1 {Bryant) at 9:25-10:6, 158:8-9
                  22                                              {Bryant testimony Marlow set up
                  23                                              meeting};

                  24                                              Ex. 2{O'Connor) at 54:13-17 (O'Connor
                                                                  testimony that Bryant first contacted .
                  25                                              MGA through Marlow);
                  26
                                                                  Ex. 3 {Marlow} at 121:21-122:2 (Marlow
                  27                                              testimony that she set up the meeting).
                  2$                                                ontrar evidence:
0720912447527.1                                                 _^y_                              049 SCL („
                       II                                      ' STATEMENT OF GENUINE I SUES RE^ ^^^
                                                         MATTELS                                   MGA    PARTIES
                                                                                                     ^ ^ ^^ ^ RNBx)
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 8 of 118 Page ID
                                                #:45371



                    11      MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                 EVIDENCE OF DISPUTE

                   3                                      Exactly when Bryant pitched his Bratz
                   4                                      drawings to MGA and who was involved
                                                          is disputed even as between Bryant and
                    S                                     MGA's own witnesses. Nor does the fact
                                                          suggest that this pitch meeting was the
                    6                                     first meeting between Bryant and MGA.
                    7
                                                          Larian y. Larian Arbitration Tr., Vol. 2
                                                          {"Larian v . Larian Tr . ") , dated November
                                                          17, 2005 at 227 : 10-228:5 {Former MGA
                    9                                     Salesperson Jennifer Maurus testif ed that
                                                          in the early summer of 2000 Garcia first
                   10                                     introduced her to Bryant and showed her
                   11                                     his Bratz drawings}, Zeller Dec., Exh. 59;
                                                          id. at 228 : 10-14 (at the point that Maurus
                   12                                     saw the Bratz drawings Garcia told her
                                                          that Garcia had already met with Larian
                   13                                     about the concept).
                   14
                                                          Bryant Tr . {Vol 1) at 9:25-10 : 18. 11:6-11
                   15                                      B ant testifies that

                   16
                   17
                   18
                   19
                                                                      ), Zeller Dec ., Exh. 1.
                   20
                   21                                     C£ Garcia Tr. {Vol. 1) at 243:18 -245:13,
                                                          Zeller Dec., Exh . 67; Garcia Tr. (Vol. 2)
                   22                                     at 325:16326:6, Zeller Dec., Exh. 68.
                                                          Garcia testified that the first contact she
                   23                                     had with Bryant was when she received
                                                          an email from Bryant at the end of
                   24                                     August 2000. She testified that Bryant
                   25                                     and her did not meet in person until the
                                                          September 1, 2000 meeting.
                   26
                                                          Garcia Tr. (Vol. 2) at 3D$ :21-309:10
                   27                                     (Garcia testified that she did not see
                                                          Carter B ant's illustrations rior to the
                   28
o^zo9^z4a7sz^ .^                                        _']_             Case No. CV 04-09049 5GL (RNBx}
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 9 of 118 Page ID
                                                #:45372



                   1        MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                          September 1, 2000 "pitch" meeting.);
                   3                                      Zeller Dec., Exh. 68. See also Garcia Tr.
                   4                                      (Vol. 2) at 317:16-318:11, 323:3-7,
                                                          333:22-334:4, Zeller Dec., Exh. 68.
                   5
                                                          Garcia testif ed that she had received
                   6                                      Bryant's Prayer Angel drawings prior to
                   7                                      Bryant's September 1. pitch meeting with
                                                          MGA. Garcia Tr. {Vol. 1 at 244:1-
                   8                                      245:15 statin she had "
                   9
                  10
                  11
                  12                                            ."), Zeller Dec., Exh. 67.
                  13                                      See also Bryant's Prayer Angel sketches,
                  14                                      Bates-numbered BRYANT 00173-174,
                                                          Proctor Dec., Exh. 75; Garcia Tr. Vol. 2
                  15                                      at 321:22-322:6, Corey Dec,, Exh. 20;
                                                          Bryant's August 31, 2000 invoice for
                  16                                      Prayer Angels, MGA's corresponding
                                                          purchase order, and MGA's
                  I7                                      corresponding requisiton, Bates-
                  is                                      numbered MGA001294-96, Zeller Dec.,
                                                          Exh. 73; Deposition Transcript of Kerri
                  I9                                      Brode, Vol. 1 {"Brode Tr. Vol. I "), dated
                                                          August 18, 2007, at 117:18-24, Corey
                  20                                      Dec., Exh. 21.
                  21
                                                          Cf. O'Connor Tr. at 46:18-23, 48:16-
                  22                                      50:24, 52:24-53:11, 54:9-12, Zeller Dec.,
                                                          Exh. 46. Victoria O'Connor testified that
                  23                                      the f rst meeting between Bryant and
                                                          Garcia took place at the end of August,
                  24                                      early September 2000, She testified that
                  25                                      only Bryant, Garcia and herself were at
                                                          this meeting.
                  26                                      See Koch Tr. at 30:6-24 (Koch first met
                  27                                      Bryant at MGA at a meeting with Bryant
                                                          and Garcia}, Zeller Dec., Exh. 58; id. at
                  28                                      31:23-32:11 32:19-48:6 Koch Garcia
o^za9rz4a^sz^.i                                         _g_                Gase No. CV 04-09Q44 5GL (RNBx)
                                                 MATTEL'S STA'T'EMENT OF GENUINE CSSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 10 of 118 Page ID
                                               #:45373



                    1^1         MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                    2           AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                               and Bryant met at a conference table at
                    3                                          the end of a row of cubicles; Bryant
                    4                                          showed Garcia and Koch his portfolio of
                                                               drawings; Garcia was "^").
                    5
                          9.   Larian, Garcia, and O'Connor    Disputed.
                    6          had never met or spoken to
                               Bryant before he arrived at     Ex. 1 (Bryant) at 161:9-20 (Bryant
                    7          MGA for the f rst pitch         testimony he had not met Garcia prior to
                               meeting.                        first meeting};
                    8
                    9                                          Ex. 2{O'Connor) at 47:16-23, 49:14-17
                                                               (O'Connor testimony that she and Garcia
                   10                                          did not meet Bryant until first meeting in
                                                               August 2000);
                   11
                                                               Ex. 5 (Larian} at 66:20-24 {Larian
                   12                                          testimony he had not met Bryant until
                   13                                          September meeting).

                   14                                          Contrary evidence:
                   15                                          Exactly when Bryant pitched his Bratz
                   16                                          drawings to MGA and who was involved
                                                               is disputed even as between Bryant and
                   17                                          MGA's own witnesses.
                   18                                          Larian v. Larian Arbitration Tr., Vol. 2
                                                               ("Larian v. Larian Tr,"} , dated November
                   19                                          17, 2005 at 227:10-228:5 (Former MGA
                   20                                          Salesperson 3ennifer Maurus testified that
                                                               in the early summer of 2000 Garcia first
                   21                                          introduced her to Bryant and showed her
                                                               his Bratz drawings), Zeller Dec., Exh. 59;
                   22                                          id. at 228:10-14 (at the point that Maurus
                   23                                          saw the Bratz drawings Garcia told her
                                                               that Garcia had already met with Larian
                   24                                          about the concept}.
                   25                                          Garcia testified that she had received an
                                                               e-mail from Bryant prior to Bryant's
                   26                                          September 1 pitch meeting with MGA.
                   27                                          Garcia Tr. (Vol. 1 at 244:1--245:15
                                                                statin she had "
                   28
0720912447527. ]                                              -9..              Case No. CV 04-09049 SGL (RNBx)
                                                                                                     ---
                                                       MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 11 of 118 Page ID
                                               #:45374



                  1
                           MGA MATERIAL FACTS                 MATTEL' S RESPONSE AND
                  2        AND EVIDENCE CITED                  EVIDENCE OF DISP^CITE

                  3
                  4
                  S'                                                                      "} , Zeller
                                                         Dec., Exh. 67.
                  6
                  7                                      See also Bryant's Prayer Angel sketches,
                                                         Bates-numbered BRYANT 00173-174,
                  8                                      Proctor Dec., Exh. 75; Garcia Tr. Vol. 2
                                                         at 321 :22-322:6, Corey Dec., Exh. 20;
                  91                                     Bryant's August 31, 2000 invoice for
                                                         Prayer Angels , MGA's corresponding
                 10
                                                         purchase order, and MGA's
                 11                                      corresponding requisition, Sates-
                                                         numbered MGA001294-96, Proctor Dec.,
                 12                                      Exh. 73; Deposition Transcript of Kerri
                                                         Brode, Vol . 1 {"Brode Tr. Vol. 1 "), dated
                 13                                      August 18, 2007, at 117:15-24, Corey
                 14                                      Dec., Exh. 2I.

                 15                                      Bryant Tr. (VoI 1 } at 9:25-10:1 S • 11:6-11
                                                          B ant testifies that
                 16
                 17
                 18
                 i9
                 20                                                   ), Zeller Dec., Exh. 1.
                 21
                                                         Cf Garcia Tr. {Vol. 1} at 243:18-245:13,
                 22                                      Exh. 67; Garcia Tr. (Vol . 2) at 325:16-
                                                         326:6, Zeller Dec., Exh. 68. Garcia
                 23                                      testified that the first contact she had with
                                                         Bryant was when she received an email
                 24
                                                         from Bryant at the end of August 2000.
                 2S                                      She testified that Bryant and her did not
                                                         meet in person until the September I,
                 26                                      2000 meeting.
                 27                                      Garcia Tr. {Vol. 2) at 308:21-309:10
                 28                                      Garcia testif ed that she did not see

V7269R447527.1                                        .. ^ 0-            Case No. CV Q4-09049 5GL (RNBx}
                                                MATTEL'S STATEMENT of GENUINE ISSUES RE MGA PARTIES
                  Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 12 of 118 Page ID
                                                    #:45375



                          11        MGA MATERIAL FACTS              MATTEL' S RESPONSE AND
                         2          AND EVIDENCE CITED               EVIDENCE QF DISPUTE
                                                               Carter Bryant's illustrations prior to the
                         3                                     September 1, 2000 "pitch" meeting.},
                         4                                     Zeller Dec., Exh. 68. See also Garcia Tr.
                                                               {Vol. 2} at 317:16-318:11, 323:3-7,
                          5                                    333:22-334:4, Zeller Dec., Exh. 68.
                          6                                    O'Connor Tr. at 46:18-23, 48:16-50:24,
                                                               52:24-53:11, 54:9-12, Zeller Dec., Exh.
                          7
                                                               46. Victoria O'Connor testified that the
                          8                                    first meeting between Bryant and Garcia
                                                               took place at the end of August, early
                          9                                    September 2000. She testified that only
                                                               Bryant, Garcia and herself were at this
                         10                                    meeting.
                         11
                                                                See Koch Tr. at 30:6-24 (Koch first met
                         12                                     Bryant at MGA at a meeting with Bryant
                                                                and Garcia), Zeller Dec., Exh. 58; id. at
                         13                                     31:23-32:11, 32:19-48:6 {Koch, Garcia
                                                                and Bryant met at a conference table at
                         14
                                                                the end of a row of cubicles; Bryant
                         15                                     showed Garcia and Koch his ortfolio of
                                                                drawings; Garcia was "        ").
                         16
                                                                Bryant had approached MGA and various
                         17                                     people about working on Bratz before
                                                                July 2000. Anna Rhee testified that
                         18                                     Bryant introduced Rhee to MGA in or
                                                                about June 2000 and had her paint the
                         19                                     faces of three-dimensional "Bratz" doll
                         20                                     heads. She submitted an invoice to MGA
                                                                dated June 12, 2000 for that work. Rhee
                         21                        .            testified that when she first began
                                                                working on this "secret" project, she did
                         22                                     not know the project by the name
                                                                "Bratz," but that Bryant initially instead
                         23                                     had called it "Angel," which is what she
                         24                                     wrote on her invoice to MGA as well as
                                                                on other invoices for her work on Bratz
                         2S                                     in September 2000. Deposition
                                                                Transcript of Anna Rhee ("ghee Tr."},
                         26                                     dated February 3, 2005 at 107:4-108:10,
                         27                                     109:5-25, 113:24-114:IS, 127:$-14,
                                                                132:25-133:2, 138:9-22, 202-204, Zeller
                         28                                     Dec. Exh. 66• Collection of Invoices

0 7 20 9124 4 7 52 7.1         ^I                            _^^_              Case No. Cy 04-09049 SGL (RNBx}
                                                       MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 13 of 118 Page ID
                                               #:45376



                   1                  MGA MATERIAL FACTS                        MATTEL'S RESPONSE AND
                   2                  AND EVIDENCE CITED                         EVIDENCE OF DISPUTE
                                                                           from Anna Rhee to MGA, Bates
                   3                                                       numbered AR 0001-AR 0058, marked as
                   4                                                       Exhibit 201 in this action, Zeller Dec.,
                                                                           Exh. 72.
                   5
                   6                                                       Witnesses have testif ed that the name
                                                                           "Angel" was used internally at MGA to
                   7                                                       refer to the Gratz project. See Deposition
                   8                                                       Transcript of Anna Rhee, dated February
                                                                           3, 2005 at 23:13-24:8 (Rhee, the face
                   9                                                       painter of Bratz, testified that invoices
                                                                           dated as early as June 12, 2000 -- far
                  10                                                       before MGA claims to have even met
                  11                                                       Bryant -- were for work she performed on
                                                                           Bratz for MGA under the "code name" of
                  12                                                       "Angel."} , Zeller Dec. , Exh. 66; See also
                                                                           Ashong Tr. at 214 :3 -18 {Ashong
                  13                                                       confirmed that "Angel" was a nickname
                                                                           used internally at MGA for one of the
                  14                                                       Gratz characters), Zeller Dec., Exh. 71.
                  15
                  16                                                       Evidentiary Objections
                  17
                                                                           Objection to the supporting deposition
                  181                                                      transcript of Victoria O'Connor at: 49:14-
                  19 ''                                                    17 on the grounds that it lacks
                                                                           foundation, lacks personal knowledge,
                  20                                                       and constitutes inadmissible hearsay.
                                                                           Fed. R. Evid. 104, 602, 801, 802.
                  21
                               10.   Bryant currently gives Marlow         Undisputed.
                  22                 a percentage of his BRATZ             Ex. 1 {Bryant) at         1110:2-9 {Bryant
                                     royalties in recognition of her       testimony    confirming     he is paying
                  23                 role in introducing him to            Marlow a ercenta e of his BRATZ
                                     MGA.                                  ro alties <`
                  24                                                                            »^.
                  25
                                                                           Ex. 17 (Irmen) at 257:17-21, 263:1-12
                  26                                                       {Irmen testimony that Bryant pays
                  27                                                       Marlow ten percent of his BRATZ
                                                                           income for her "introduction" of Bryant
                  28                                                       to MGA ;
0720912447527.1                                                         _ ^ 2_            Case No. CV 04-09049 5GL (RNBx)
                          I^                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 14 of 118 Page ID
                                               #:45377



                    1                                                       MATTEL'S RESPONSE AND
                                      MGA MATERIAL FACTS
                   2                  AND EVIDENCE CITED                     EVIDENCE OF DI5P.UTE

                   3                                                   Ex. 3 {Marlow} at 188:19-22.
                   41          11.   At the first pitch meeting in     Disputed.
                                     August 2000, MGA employees
                   S
                                     Garcia and O'Connor were          Ex. 1 (Bryant} at 160:2-5, 161:22-23
                   6                 impressed with Bryant's           (Garcia and O'Connor asked Bryant to
                                     BR,ATZ concept and asked him      come back};
                   7                 to return to meet Isaac Larian.
                                                                       Ex. 2 (O'Connor) at 50:11-22 O'Connor
                   8                                                   testimon that Garcia "
                   9                                                                                       »}.
                  10
                                                                       Ex. 2 (O'Connor} at 55:24-56:1
                  11                                                   (O'Connor told Bryant they liked the
                                                                       concept but needed to talk to Larian};
                  12 ''
                  13'                                                  Ex. 2 (O'Connor} at 78:4-5 {O'Connor
                                                                       privately thought the BRATZ concept
                  14'                                                  was "beautiful" and "fantastic").
                  15.                                                  Contrary evidence:
                  16
                                                                       Bryant had met Larian before and this
                  17                                                   was not Bryant's first meeting or
                                                                       communication with MGA
                  1$                                                   representatives about Bratz.
                  19                                                   Exactly when Bryant pitched his Bratz
                                                                       drawings to MGA and who was involved
                  20                                                   is disputed even as between Bryant and
                                                                       MGA's own witnesses.
                  21
                  22                                                   Larian v. Larian Arbitration Tr., Vol. 2
                                                                       {"Larian v. Larian Tr."), dated November
                  23                                                   17, 2005 at 227:10-228:5 (Former MGA
                                                                       Salesperson .Tennifer Maurus testified that
                  24                                                   in the early summer of 2000 Garcia first
                  2S                                                   introduced her to Bryant and showed her
                                                                       his Bratz drawings}, Zeller Dec., Exh. 59;
                  26                                                   id. at 228:10-14 (at the point that Maurus
                                                                       saw the Bratz drawings Garcia told her
                  27                                                   that Garcia had already met with Larian
                                                                       abaut the conce t .
                  2S
0720912447527,1           II                                        _ ^ ^_            Case No. CV 04-09049 SGL (RNBx}
                                                              MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 15 of 118 Page ID
                                                #:45378



                    1
                             MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                    2        AND EVIDENCE CITED                 EVIDENCE OF DISPUTE

                    3
                                                          Garcia testified that she had received an
                    4                                     e-mail from Bryant prior to Bryant's
                                                          September 1 pitch meeting with MGA.
                    5                                     .Garcia Tr. (Vol. 1 at 244:1-24S:1S
                                                           statin she had "
                    6
                    7
                    8
                    9                                                                      ") , Zeller
                                                          Dec., Exh. 67.
                   10
                   11                                     See also Bryant's Prayer Angel sketches,
                                                          Bates-numbered BRYANT 00173-174,
              x    12                                     Proctor Dec., Exh. 7S; Garcia Tr. VoI. 2
                                                          at 321:22-322:6, Corey Dec., Exh. 20;
                   13                                     Bryant's August 31, 2000 invoice for
                   14                                     Prayer Angels, MGA's corresponding
                                                          purchase order, and MGA's
                   15                                     corresponding requisition, Bates-
                                                          numbered MGA001294-96, Proctor Dec.,
                   16                                     Exh. 73; Deposition Transcript of Kerri
                                                          Brode, Vol. 1 {"Brode Tr. Vol. 1 "}, dated
                   17
                                                          August 18, 2007, at 117:18-24, Corey
                   18                                     Dec., Exh. 21.

                   19                                     Bryant Tr. (VoI 1) at 9:25-10:18. 11:6-11
                                                           B ant testifies that
                   20
                   21
                   22
                   23
                   24
                                                                       ), Zeller Dec., Exh. 1.
                   25
                                                          Cf. Garcia Tr. (Vol. 1) at 243 :18-245:13,
                   26                                     Zeller Dec., Exh. 67; Garcia Tr. {Vol. 2)
                                                          at 325:16-326:6, Zeller Dec., Exh. 68.
                   27                                     Garcia testified that the first contact she
                   28                                     had with B ant was when she received

o^za9^z4a^sz^. i                 _ _                   _ ^ 4_             Case No. CV 04-09049 SGL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSCJES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 16 of 118 Page ID
                                               #:45379



                   1                                                       MATTEL'S RESPONSE AND
                                    MGA MATERIAL FACTS
                   2                AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                       an email from Bryant at the end of
                   3                                                   August 2000. She testified that Bryant
                   4                                                   and her did not meet in person until the
                                                                       September 1, 2000 meeting.
                   5
                                                                       Garcia Tr. {Vol. 2) at 308:21-309:10
                   6                                                   (Garcia testified that she did not see
                                                                       Carter Bryant's illustrations prior to the
                   7
                                                                       September 1, 2000 "pitch" meeting.},
                   8                                                   Zeller Dec., Exh. 68. See also Garcia Tr.
                                                                       {Vol. 2} at 317:16-318:11, 323:3-7,
                   9^1                                                 333:22-334:4, Zeller Dec., Exh. 68.
                  10'                                                  O'Connor Tr. at 46:18-23, 48:16-50:24,
                  11                                                   52:24-53:11, 54:9-12, Zeller Dec., Exh.
                                                                       46. Victoria O'Connor testified that the
                  12                                                   first meeting between Bryant and Garcia
                                                                       took place at the end of August, early
                  13                                                   September 2000. She testified that only
                  14                                                   Bryant, Garcia and herself were at this
                                                                       meeting.
                  15
                                                                       See Koch Tr. at 30:6-24 (Koch first met
                  16                                                   Bryant at MGA at a meeting with Bryant
                                                                       and Garcia), Zeller Dec., Exh. 58; id. at
                  17                                                   31:23 -3 2:11, 32:19-48:6 (Koch, Garcia
                  18                                                   and Bryant met at a conference table at
                                                                       the end of a row of cubicles; Bryant
                  19                                                   showed Garcia and Koch his ortfolio of
                                                                       drawings; Garcia was "        ").
                  20
                  21                                                   Garcia testified "
                  22
                  23                                                   Garcia Tr. {Vol. 1}, at 243:18-21, Zeller
                                                                       Dec., Exh. 67; see also Garcia Tr. (Vol.
                  24                                                   2), at 331:8-16, Zeller Dec., Exh. 68.

                  25         12.   On September I, 2000, Bryant        Undisputed.
                                   met with Garcia, Marlow,            Ex. 1 (Bryant} at 107:9-11;
                  26               O'Connor, and Larian at MGA.

                  27                                                   Ex. 5 (Larian} at 66:15 -17.
                             13.   At the September 1, 2000            Undisputed.
                  28
0720412447527.1                                                     _ ^ 5_            Case No. CV 04-09049 SGL {RNBx)
                         i                                    MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 17 of 118 Page ID
                                               #:45380



                   1              MGA MATERIAL FACTS                   MATTEL ' S RESPONSE AND
                   2              AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                 meeting, Bryant's employment     Ex, 5 {Larian} at 77:17-18 {Larian
                   3             at Mattel was discussed.         testimony that he asked where Bryant
                   4                                              worked and was told Bryant worked at
                                                                  Mattel);
                   5
                                                                  Ex. 1 (Bryant) at 8$:21-89:1 (Bryant
                   6                                              testimony that he told Larian he worked
                                                                  at Mattel);
                   7
                   8                                              Ex. 1 (Bryant} at 96:19-20 (Bryant
                                                                  testimony that O'Connor of MGA asked
                   9                                              B ant at the itch meetin whether he
                                                                  GG                                      S9),


                  10
                  11                                              Ex. 2 (O'Connor} at 71:8-11 (O'Connor
                                                                  testimony that Bryant said he worked at
                  12                                              Mattel at pitch,meeting}.
                  13       14.   At the September 1, 2000         Disputed.
                                 meeting, MGA asked Bryant        Ex. 5 (Larian) at 46:16-19 Larian
                  14             whether Mattel had any rights    testimon that he "
                                 to the BRATZ concept that
                  1S             Bryant presented.
                  16                                                                               ")^
                  17                                              Ex. 5 Larian at 77:22-78:1 "
                  18
                  19
                  20                                                                        s^).

                  21                                              Ex. 5 Larian at 78:13-16
                  22
                  23                                                                                "}•
                  24                                              Ex. 5 Larian at 78:22-24 "
                  25
                                                                                                                 »)^
                  26
                  27                                              Ex. 2{O'Connor} at 73:8-20 (O'Connor
                                                                  testimon that she was concerned B ant
                  28
0729/2447527. k        ^                                       _ 1(_             Case No. CV 04-D4049 SGL (RNBx)
                                                         MATTEL'S STATEMENT OP GENUINE ISSUES RE MGA PARTIES
               Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 18 of 118 Page ID
                                                 #:45381



                     1
                                     MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                     2               AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                                                                       may have developed BRATZ at while at
                     3                                                 Mattel);
                     4
                                                                       Ex. 2 {O'Connor) at 219:2-1 S, 224:24-
                     5                                                 225 : S (MGA sou ht re resentation from
                                                                       B ant "
                     6
                                                                             ,^
                     7
                                                                       Evidentiary Objections
                     8
                                                                       Objection to the supporting deposition
                     9                                                 transcript of Isaac Larian at: 77:22-25 on
                                                                       the grounds of hearsay. Fed. R. Evid.
                    10                                                 $O1, $02.
                    11
                    12                                                 Objection to the supporting deposition
                                                                       transcript of Victoria O'Connor at:
                    13                                                 224:24-225:5 on the grounds that it is
                                                                       irrelevant, confusing, improper legal
                    14                                                 opinion by lay witness, and that it
                    15                                                 violates the best evidence rule, Fed. R.
                                                                       Evid. 402, 403, 701, 1002, 1004, 1006.
                    16        15.   In response to MGA questions,      Disputed.
                    17              Bryant told MGA and Larian
                                    that what he had presented were    Ex. 1 (Bryant} at 22:2-3 {B ant
                    1$              his creations and Mattel did not   testimon confirmen he "
                                    own them.                                                       ")•
                    19
                                                                       Ex. 1 B ant at 24:9-12 "
                    20
                                                                                                             „)^
                    21
                    22                                                 Ex. 1 (Bryant} at 111:14-17 (B ant
                                                                       thou ht that the SRATZ was "
                    23
                    24                                                                           ^s)'

                    2S
                                                                       Ex. 1 (Bryant} at 267:11-268:10 (Bryant
                    26                                                 testimony that he confirmed he owned
                                                                       the BRATZ when asked when he had
                    27
                                                                       developed the idea);
                    28
07209/2447527 . I        ^^                                        _ ^ ']_           Case No. CV 04-09D49 SGL {RNBx}
                                                             MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 19 of 118 Page ID
                                                #:45382



                    1            MGA MATERIAL FACTS              MATTEL'S RESPONSE AND
                    2            AND EVIDENCE CITED               EVIDENCE OF DISPUTE
                                                           Ex. 5 (Larian} at 77:22-25 Larian
                    3
                                                           testimon that he "
                    4
                    5                                            "}•
                    6                                      Ex. S (Larian} at 82:24-83:5, 87:13-14,
                    7                                      91:19-21 Larian testimon that B ant

                    8
                                                                                                     ,^
                    9
                                                           Ex. 5 Larian at 99:23-100:2 "
                   XO
                   11
                   12
                                                                                       »^.
                   13
                   14                                      Contrary evidence:

                   15                                      Bryant did not state equivocally to MGA
                                                           that he owned the rights to Bratz.
                   16                                      Deposition Transcript of Carter Bryant,
                                                           Vol. 1 ("Bryant Tr. Vol. 1 "}, dated
                   17
                                                           November 4 2004 at 21:25-22:3 "
                   18
                   19
                   20                                      Zeller Dec. Exh. 1.
                   21
                                                           The full quote of Bryant at B ant Tr.
                   22                                      Vol 1 at 24:10-12 states "
                   23
                                                                                     "} (italics
                   24
                                                           added.} Zeller Dec, Exh. 1.
                   25
                                                           In the testimony in Bryant Tr. Vol. 2 at
                   26                                      267:11-268:10 Bryant never states that he
                                                           owned the rights to Bratz. He is merely
                   27                                      answerin the uestion "
                   28

o^zagrzad75z^. t                                          ] g_              Case„E SSV 04-09049 SGL (RNBx)
                        -_....
                                                  MATTEL S STATEMENT OP GENUIN...^, ^ ^UES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 20 of 118 Page ID
                                               #:45383



                   1
                                   MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2               AND EVIDENCE CITED                   EVIDENCE OF DISPUTE

                   3                                                                         " Bryant then
                                                                  agrees that he told them that he had did
                   4                                              this [created Bratzj back in 1998. Zeller
                                                                  Dec., Exh. 2.
                   5
                                                                  Garcia testified that she never heard
                   6                                              Victoria O'Connor, Isaac Larian or
                   7                                              anyone at MGA discuss any concern
                                                                  about acquiring Bratz because Bryant
                   8                                              was employed by Mattel. Garcia Tr.
                                                                  (Vol. 2} at 328:11-329:3, Zeller Dec.,
                   9                                              Exh. 68.
                  10                                              Evidentiary Objections
                  11
                                                                  Objection to the supporting deposition
                  12                                              transcript of Carter Bryant at: 22:2-3 &
                  13                                              267:11-268:10 on the grounds of hearsay.
                                                                  Fed. R. Evid. 801, 802.
                  14
                  15                                              Objection to the supporting deposition
                                                                  transcript of Carter Bryant at: 24:9-12 on
                  16                                              the grounds that the statement is
                  17                                              irrelevant, confusing, and constitutes
                                                                  impermissible hearsay. Fed. R. Evid.
                  18                                              402, 403, 801, 802.
                  19
                                                                  Objection to the supporting deposition
                  20                                              transcript of Isaac Larian at: 77:22-25,
                  21                                              87:13-14 & 99:23-100:2 on the grounds
                                                                  of hearsay. Fed. R. Evid. 801, 802.
                  22
                  23                                              Objection to the supporting deposition
                                                                  transcript of Tsaac Larian at: 91:19-21 on
                  24:                                             the grounds that it violates the best
                  25                                              evidence rule and is impermissible
                                                                  hearsay. Fed. R. Evid. 801, 802, 1002,
                  26                                              1004, 1006.
                  27        16.   During the negotiations of      Undisputed.
                                  Bryant's contract with MGA,     Ex. 1 {Bryant} at 96:19-20 (Bryant
                  28              MGA re uested co ies of
0720912447527.]                          _                     _ 19_             Case No. CV 04-09049 SGL {RNB_x)
                       II                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 21 of 118 Page ID
                                              #:45384



                  1
                                 MGA MATERIAL FACTS                      MATTEL'S RESPONSE AND
                  2              AND EVIDENCE CITED                       EVIDENCE OF DISPUTE
                                Bryant's agreements with            testimony that Victoria O' Connor of
                  3                                                 MGA asked him at the initial meetin
                                Mattel.
                  4                                                 whether he "
                                                                    ^").
                  S
                                                                    Ex. 1 (Bryant} at 97:14-98:1 {Bryant
                  6                                                 testimony that O'Connor asked for a
                                                                    copy of his agreements with Mattel);
                  7
                  8                                                 Ex. 1 (Bryant} at 100:11-1 S (Bryant
                                                                    testimony that MGA asked for copy of
                  9                                                 Bryant's agreements with Mattel);
                 10                                                 Ex. 1 (Bryant) at 773 :21-774:20;
                 11
                                                                    Ex. 1 (Bryant} at 110:12-17 {Bryant
                 12                                                 testimony that MGA lawyers wanted to
                                                                    review his a reement with Mattel for
                 13                                                 «                ,^).
                                                                                           S


                 14
                                                                    Ex. b (Rosenbaum} at 98:13, 16-18,
                 1S                                                 100:8-9, 101:5-7 (Rosenbaum testimony
                                                                    that he asked to see a copy of Bryant's
                 16                                                 agreement with Mattel because he wanted
                                                                    to "
                 17
                 18
                 19
                                                                          1"}•
                 20
                 21                                                 Ex. 2 (O'Connor) at 81:14-20 {O'Connor
                                                                    testimony recollecting asking Bryant for
                 22                                                 a copy of confidentiality agreement}.
                 23       17.   MGA's attorney David                Undisputed.
                                Rosenbaum asked to see              Ex. 6 (Rosenbaum) at 98:5 98:8, 98:13-
                 24             Bryant's agreements with            18 {Rosenbaum testimony that he asked
                                Mattel.                             to see a copy of Bryant's agreement with
                 2S
                                                                    Mattel}.
                 26
                 27       18.   Rosenbaum wanted to veri            Undisputed.
                                that the BRATZ conce t"             Ex. 6 (Rosenbaum) at 98:13-18, 100:7-9,
                 28
0720912447527)        I                                          ..^(^..           Case No. CV 04-04049 SGL (RNBx)
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 22 of 118 Page ID
                                                #:45385



                    11                                                   MATTEL'S RESPONSE AND
                                     MGA MATERIAL FACTS
                    2                AND EVIDENCE CITED                   EVIDENCE 4F DISPUTE
                                                                     101:5-7 (Rosenbaum testimon y that he
                    3                      "                         asked to see a copy of Bryant's       -
                    4                                                agreement with Mattel because he wanted
                                                                     to "
                    S
                    6
                    7                                                       »)
                    8         19.   Bryant was unable to provide a   Disputed.                         ,
                    9^              copy of his Employee
                                    Confidential Information and     Ex. 1 {Bryant) at 97:14-98:12, 100:11-15
                   10               Inventions Agreement with        {Bryant testimony O'Connor asked
                                    Mattel because he had no copy    Bryant for a copy of his agreements with
                   11               in his possession.               Mattel and Bryant did not have a copy in
                                                                     his possession);
                   12
                   13                                                Ex. 25 {Bryant Deposition Exhibit 1309)
                                                                     (letter dated September 14, 2000 from
                   14                                                Carter Bryant to David Rosenbaum
                                                                     enclosing copy of offer Ietter and
                   15                                                indicating he was unable to get a copy of
                   16                                                his confidentiality agreement};

                   17                                                Ex. 6 (Rosenbaum) at 109:8--10
                                                                     (Rosenbaum testimon that B ant
                   18                                                informed him that "
                   19
                                                                                 »).
                   20
                   21                                                Ex. 6 (Rosenbaum) at 112:1-6
                                                                      Rosenbaum testimon that "
                   22
                   23
                   24
                   2S
                   26                                                                      »)^
                   27
                                                                     Ex. 2 {Q'Connor) at $1:14-22 (O'Connor
                   28                                                testimon recollectin askin B ant for
D7209/24A7527. ]         (I                                       _2 ] _            Case No. CV 04-09049 SGL (RNBx}
                                                            MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA AARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 23 of 118 Page ID
                                              #:45386



                  1                MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                 2                 AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                                  a copy of confidentiality agreement and
                 3                                                he did not have a copy).
                 4
                                                                   Contrary evidence:
                  5'
                                                                   Bryant was not "^" "because he had
                 6                                                 no copy in his possession" : Rather,
                                                                   Bryant did not provide a copy of his
                  7
                                                                   confidentiality agreement with Mattel
                  8                                                because he did not want to "^
                                                                   ^" at Mattel. See Facsimile from
                  9                                                Bryant to David Rosenbaum, Bates-
                                                                   numbered MGA007337-40, Proctor Dec.,
                 10                                                Exh. 86.
                 11
                 12                                                Evidentiary Objections

                 13
                                                                   Objection to the supporting deposition
                 14                                                transcript of David Rosenbaum at: 112:1-
                                                                   6 on the grounds that it lacks foundation
                 15
                                                                   and is inadmissible hearsay. Fed. R.
                 16                                                Evid. 104, 801, 802.

                 17         20.   Rosenbaum asked Bryant's         Disputed.
                                  patent attorney, Anne Wang,
                 18               whether Bryant's development     Ex. 7 (Wang} at 8:1-22 (Wang testimony
                                  of the BRATZ concept fell        describin atent and trademark law as
                 19               outside the scope of Bryant's    "
                                  employment agreements with                            ");
                 20
                                  Mattel.
                 2I                                                Ex. 6 (Rosenbaum) at 72:12-16, 75:12-
                                                                   19, 76:7-15 {Rosenbaum testimony that
                 22                                                he raised issues with Wang between the
                                                                   15th and 18th of September regarding the
                 23                                                status of Bryant's em to ment at Mattel,
                 24                                                s ecificall he "

                 25
                 26
                 27
                 28
onaarzaazszz.^                                                  _                 Case No. CV 04-09049 SGL (RNBx)
                       ^I                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 24 of 118 Page ID
                                               #:45387



                   1
                            MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                                »}.
                   3
                   4                                      Ex. 6 {Rosenbaum} at 77:6-7
                                                          {Rosenbaum testimon that he s oke
                   S                                      with Wan about "
                                                                        »^.
                   6
                   7                                      Contrary evidence:

                   8                                      Rosenbaum testified based on his
                                                          knowled e of
                   9
                  10
                                                                                              ,^
                  11
                                                          MGA itself used Inventions Agreement
                  12                                      substantially similar to Mattel's David
                                                          Rosenbaum {"Rosenbaum Tr."}, dated
                  13                                      January 25, 2008, at 88:19-90:24, Corey
                  14                                      Dec., Exh. 29; see also Mercedeh Ward's
                                                          Inventions Agreement with MGA, Bates-
                  15                                      numbered MGA001470^2, Proctor Dec.,
                                                          Exh. 87.
                  16
                                                          Rosenbaum's inquiries to Wang were not
                  17
                                                          com rehensive; he only asked her "^
                  18                                                   "about Bryant's development
                                                          of Bratz. The sum total of Rosenbaum's
                  19                                      investigation of Mattel's preexisting
                                                          rights to Bratz was a brief telephone
                  20                                      conversation with Bryant's attorney,
                  21                                      Anne Wang. Wang purportedly said that
                                                          Bryant created Bratz before commencing
                  22                                      employment at Mattel. Rosenbaum
                                                          asked no questions about what
                  23                                      investigation Wang had done to reach
                  24'                                     that conclusion. He did not ask any
                                                          specific questions about the time, manner
                  25                                      or place Bryant allegedly developed the
                                                          concept, whether it was expressed then in
                  26                                      any tangible form, or whether Bryant
                                                          could otherwise document ownership.
                  27                                      Rosenbaum Tr. at 77:4-88 & 218:220:3,
                  281                                     Core Dec. Exh. 29

0720912447527.1        II                             _ 23                 Case No. CV 04-0904 9 SGL (RN$x)
                                                MATTEL'S S T
                                                           .,,ATEMENT OF GENUINE ISSUES RE MGA^PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 25 of 118 Page ID
                                               #:45388



                   1              MGA MATERIAL FACTS                    MATTEL`S RESPONSE AND
                   2              AND EVIDENCE CITED                     EVIDENCE OF DISPUTE

                   3                                               Wang conducted a limited review of the
                   4                                               chronology of Bryant's development of
                                                                   Bratz, as her only discussions were with
                   5                                               Bryant himself and the materials she
                                                                   reviewed were also provided by Bryant.
                   6
                   7                                               Wang reviewed "                   " as
                                                                   well as "                 "provided by
                   8                                               Bryant. Deposition Transcript of Anne
                                                                   Wang Vol. 1 ("Wang Tr. Vol. 1 "), dated
                   9                                               January 28, 2008, at 28:12-29:11, Zeller
                                                                   Dec., Exh. 74.
                  10
                  li                                               Moreover, she only interviewed Bryant.
                                                                   Wang Tr. Vol. 1 at 110:5-11, Zeller Dec.,
                  12                                               Exh. 74.
                  13
                                                                   Evidentiary Ob_jecti©ns
                  14
                  1S
                                                                   Objection to the supporting deposition
                  16                                               transcript of David Rosenbaum at: 76:7
                                                                   1 S on the grounds of hearsay. Fed. R.
                  17                                               Evid. 801, 802.
                  18       21.   Wang told Rosenbaum that          Disputed.
                                 Bryant had created the BRATZ
                  19             concept at a time period          Ex. 7 {Wang) at 47:23-48:18 (Wang
                                 separate from his employment      testimony that she called Rosenbaum
                  20
                                 at Mattel and that it was his     within two da s after the "
                  21             own separate creation.

                  22
                  23
                                                                                     ^,
                  24
                  2S                                               Ex. 7 {Wang) at 53:21-54:1 {Wang
                                                                   testimony agreeing with characterization
                  26                                               of Rosenbaum's testimon re ardin the
                                                                   ownershi conversation "
                  27
                  28
0720412447527.]        ^                                        _^4_              Case Na. CV 04-09049 SGL {RNBx)
                                                          MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
               Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 26 of 118 Page ID
                                                 #:45389



                     1        MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                     2        AND EVIDENCE CITED                   EVYDENCE OF DYSPUTE

                     3

                                                                                                }^).

                                                             Ex. 6 (Rosenbaum) at 80:3-12
                                                             (Rosenbaum testimon that Wan




                                                                    »).
                    10
                    11                                      Ex. 6 (Rosenbaum) at 82:15-18, 84:24-
                                                            85:2 (Rosenbaum testimon that Wan
                    12                                      told Rosenbaum "
                    13
                    14                                                              »).
                    15
                                                             Contrary evidence:
                    16
                                                            Rosenbaum testif ed based on his
                    17
                                                            knowled e of "
                    1S
                    19
                                                                                                ,^
                    20                                      MGA itself used Inventions Agreement
                    21                                      substantially similar to Mattel's David
                                                            Rosenbaum ("Rosenbaum Tr."), dated
                    22                                      January 25, 2008, at 88:19-90:24, Corey
                                                            Dec,, Exh, 29; see also Mercedeh Ward's
                    23                                      Inventions Agreement with MGA, Bates-
                                                            numbered MGA001470-2, Proctor Dec.,
                    24
                                                            Exh. 87.
                    25
                                                            Rosenbaum's inquiries to Wang were not
                    26                                      com rehensive; he only asked her "^
                                                                        "about Bryant's development
                    27                                      of Bratz. The sum total of Rosenbaum's
                    28                                      investi ation of Mattel's reexistin

o^zovrz4a^szz , E        II                              _    _             Case No . CV 04-09049 SGT, {RNBx)
                                                   MATTET.'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 27 of 118 Page ID
                                               #:45390



                   1        MGA MATERIAL FACTS                    MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                                                             rights to Bratz was a brief telephone
                   3                                         conversation with Bryant's attorney,
                   4                                         Anne Wang. Wang purportedly said that
                                                             Bryant created Bratz before commencing
                   5                                         employment at Mattel. Rosenbaum
                                                             asked no questions about what
                   6                                         investigation Wang had done to reach
                   7                                         that conclusion. He did not ask any
                                                             specific questions about the time, manner
                   8                                         or place Bryant allegedly developed the
                                                             concept, whether it was expressed then in
                   9                                         any tangible form, or whether Bryant
                                                             could otherwise document ownership.
                  10                                         Rosenbaum Tr. at 77:4-88 & 215:-220:3,
                  11                                         Corey Dec., Exh. 29

                  12                                         Wang conducted a limited review of the
                                                             chronology of Bryant's development of
                  13                                         Bratz, as her only discussions were with
                  14                                         Bryant himself and the materials she
                                                             reviewed were also provided by Bryant.
                  15
                                                             Wang reviewed "                      " as
                  16                                         well as "                  "provided by
                                                             Bryant. Deposition Transcript of Anne
                  17                                         Wang Vol . 1 ("Wang Tr . Vol . 1 "} , dated
                  1$                                         January 28, 200$, at 28:12-29:11, Zeller
                                                             Dec., Exh. 74.
                  19
                                                             Moreover, she only interviewed Bryant.
                  20                                         Wang Tr. Vol. 1 at 110:5-11, Zeller Dec.,
                  21                                         Exh. 74.

                  22
                                                             Evidentia^-_y Objections
                  23
                  24                                         Objection to the supporting deposition
                                                             transcript of Anne Wang at: 47:23-48:18,
                  25                                         53:21-54:9 on the grounds of hearsay.
                  26                                         Fed. R. Eyid. 801, 802.

                  27
                                                             Objection to the supporting deposition
                  28                                         transcri t of David Rosenbaum at 82:15-
07209124A7527.1        II                                 _2^_              Case No. Cy 04-09049 SGL (RNBx}
                                        ^^._.....
                                                    MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 28 of 118 Page ID
                                               #:45391



                   1                                                        MATTEL' S RESPONSE AND
                                   MGA MATERIAL FACTS
                   2               AND EVIDENCE CLTED                        EVIDENCE OF DISPUTE
                                                                        18, 80:3-12 on the grounds of hearsay.
                   3                                                    Fed. R. Evid. 801, 802.
                   4        22.   Wang told Rosenbaum that she          Disputed.
                                  reviewed the chronology of
                   S
                                  Bryant's development of the           Ex. 6 (Rosenbaum) at 82:15-18, 84:24-
                   6              BRATZ concept and was                 85:2 (Rosenbaum testimon that Wan
                                  satisf ed it fell outside the scope   told Rosenbaum "
                   7              of any obligations to Mattel.
                   8
                   9                                                                         ")^

                  10                                                    Ex. 7 {Wang} at 53:21-54:1 {Wang
                                                                        testimony agreeing with characterization
                  11                                                    of Rosenbaum's testimon re ardin the
                                                                        ownershi conversation "
                  12
                  13
                  14
                  15                                                                                     ,^ ).
                  16
                                                                        C©ntrary evidence:
                  17
                                                                        Rosenbaum testif ed based on his
                  18                                                    knowled e of "customa     ractice" in the
                                                                        Indust
                  19
                  20                                                                                             ^,
                  21                                                    MGA itself used Inventions Agreement
                                                                        substantially similar to Mattel's David
                  22                                                    Rosenbaum {"Rosenbaum Tr."), dated
                  23                                                    January 25, 2008, at 88: I9-90:24, Corey
                                                                        Dec., Exh. 29; see also Mercedeh Ward's
                  24                                                    Inventions Agreement with MGA, Bates-
                                                                        numbered MGA001470^-2, Proctor Dec.,
                  2S                                                    Exh. 87.
                  26
                                                                        Rosenbaum's inquiries to Wang were not
                  27                                                    com rehensive; he only asked her "^
                                                                                    "about Bryant's development
                  28                                                    of Bratz. The sum total of Rosenbaum's
0720912447527.1                                                     _27_              Case No. Cy Q4-09049 SGL (RNBx)
                       ^I                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 29 of 118 Page ID
                                               #:45392



                   1       MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2       AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                          investigation of Mattel's preexisting
                   3                                      rights to Bratz was a brief telephone
                   4                                      conversation with Bryant's attorney,
                                                          Anne Wang. Wang purportedly said that
                   5                                      Bryant created Bratz before commencing
                                                          employment at Mattel. Rosenbaum
                   6                                      asked no questions about what
                   7                                      investigation Wang had done to reach
                                                          that conclusion. He did not ask any
                   8                                      specific questions about the time, manner
                                                          or place Bryant allegedly developed the
                   9                                      concept, whether it was expressed then in
                                                          any tangible form, or whether Bryant
                  10                                      could otherwise document ownership.
                  11                                      Rosenbaum Tr. at 77:4-88 & 218:-220:3,
                                                          Corey Dec., Exh. 29
                  12
                                                          Wang conducted a limited review of the
                  13                                      chronology of Bryant's development of
                  14                                      Bratz, as her only discussions were with
                                                          Bryant himself and the materials she
                  15                                      reviewed were also provided by Bryant.
                  16                                      Wang reviewed "                   " as
                                                          well as "                  "provided by
                  17                                      Bryant. Deposition Transcript of Anne
                  1$                                      Wang Vol. 1 {"Wang Tr. Vol. 1 "}, dated
                                                          ranuary 28, 2008, at 28:12-29:11, Zeller
                  19                                      Dec., Exh. 74.
                  20                                      Moreover, she only interviewed Bryant.
                  21                                      Wang Tr. Vol. 1 at 110:5-11, Zeller Dec.,
                       .                                  Exh. 74.
                  22
                  23                                      Evidentiary Objections
                  24
                                                          Objection to the supporting deposition
                  25                                      transcript of David Rosenbaum at 82:15-
                  26                                      18 on the grounds of hearsay. Fed. R.
                                                          Evid. 801, 802.
                  27
                  28                                      Objection to the su    ortin de osition
07209!2447527.1                                                          Case No. CV 04-x9049 SGL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 30 of 118 Page ID
                                               #:45393



                   i           -MGA MATERIAL FACTS                      MATTEL'S RESPONSE AND
                   a            AND EVIDENCE CITED                       EVIDENCE OF DISPUTE
                                                                    transcript of Wang at 53:21-54:9 on the
                   3
                                                                    grounds of hearsay. Fed. R. Evid. SOI,
                   41                                               802.
                        23.   The contract Bryant signed with       Undisputed.
                   5
                              MGA on October 4, 2000                Ex. 26 at 5 {a)-{c), (e) {Bryant Deposition
                   6          included a warranty from              Exhibit 15} (MGA Agreement with
                              Bryant that:                          Bryant dated October 4, 2000};
                   7
                              (a) he has the right and is free to   Ex. 1 {Bryant) at 22:6-5, 11, 23:16-20
                   S          execute this Agreement, to            (Bryant testimon confirmin he si ned
                   9          grant the rights granted by him       a reement "
                              to MGA hereunder, and to                                   »)
                  10          perform each and every term
                              and provision hereof;
                  11
                              {b)    neither the execution and
                  12
                              delivery of this Agreement nor
                  13^         the performance by Bryant of
                              any of his obligations hereunder
                  14'         will constitute a violation,
                              breach or default under any
                  1S          agreement, arrangement or
                  16          understanding, or any other
                              restriction of any kind, to which
                  17          Bryant is a party or by which
                              Bryant is bound;
                  18
                              (c)    the Bryant Work Product
                  19
                              shall be free of all liens and
                  20          encumbrances and there will be
                              no claims, demands or actions
                  21          pending or threatened with
                              respect thereto; and that the
                  22          Bryant Work Product is original
                  23          and no part thereof infringes or
                              shall infringe upon any
                  24          common law or statutory rights
                              or intellectual property rights of
                  25          any third party including,
                              without limitation, contractual
                  26
                              rights, patents, copyrights,
                  27          mask-work rights, trade secrets,
                              rights of privacy and other
                  28          intellectual ro ert ri hts•
0720912447527.1                                                 _29_            _ Case No. CV 04-09049 SGL (RNBx}
                                                          MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 31 of 118 Page ID
                                               #:45394



                   1                MGA MATERIAL FACTS                    MATTEL'S RESPONSE AND
                   2                AND EVIDENCE CITED                     EVIDENCE QF DISPUTE

                   3                     he shall indemnify and
                                   {e)
                   4               hold MGA harmless from and
                                   against any and all claims,
                   S               losses, costs, judgments,
                                   settlements, damages and
                   6               expenses {including reasonable
                   7               counsel fees) arising from any
                                   breach by him of any of the
                   8''             warranties, representations and
                                   agreements made by him
                   9               hereunder.
                  10         24.   MGA instructed Bryant to          Disputed.
                                   resign his job at Mattel
                  11               immediately upon signing the      Ex. 1 (Bryant) at 199:6-8 B ant
                                   contract with MGA.                testimon that Larian "
                  12
                                                                                              »).
                  13
                  14                                                 Ex. S (Larian) at 32:21-33:11 (Larian
                                                                     testimony that he understood Bryant was
                  15                                                 going to resign and leave on signing the
                  16                                                 contract with MGA because he
                                                                     «                          ,^).
                  17
                                                                     Contrary evidence:
                  18
                                                                     Bryant, Marlow and Leahy, continued to
                  19                                                 perform Bratz work for MGA after
                  20                                                 Bryant gave resignation notice to Mattel
                                                                     but before he left Mattel. An internal e-
                  21                                                 mail chain dated October 10 2000 stated
                                                                     B ant "
                  22                                                             "Bates-numbered
                  23                                                 MGA004717, Zeller Dec., Exh. 77;
                                                                     Deposition Transcript of Paula Garica
                  24                                                 Vol. 3 ("Garcia Tr. Vol. 3 "), dated
                                                                     October 9, 2007, at 873:19-875:11, Zeller
                  2S                                                 Dec., Exh. 78; Marlow's invoices for 169
                                                                     hours of work on Bratz for "^
                  26                                                         " , Bates-numbered MGA
                  27                                                 0072161-167, Zeller Dec., Exh. 79;
                                                                     Garcia Tr. Vol. 4 at 1276:16-21, Zeller
                  28                                                 Dec. Exh. 45 • B ant's actual ex ense
o^zosrz4a^sz^.^          I                                        _ _               Case No. CV 04-09049 SGL (RNBx)
                                                            MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 32 of 118 Page ID
                                               #:45395



                   1
                            MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                            report, receipts, and MGA's payment to
                   3
                                                            Bryant for his Bratz expenses from
                   4                                        9123100 to 10/11100, Bates-numbered
                                                            MGA 3786749-60, Zeiler Dec., Exh. 80;
                   5                                        Leahy testified that on October 6, 2000,
                                                            Bryant, Marlow, and Garcia went to her
                   6                                        home to give her feedback on the Bratz
                   7                                        sculpt, Deposition Transcript of Margaret
                                                            Leahy Vol. 1 ("Leahy Tr. Vol. 1 "), dated
                                                            December 12, 2007, at 221:22-222:19;
                                                            Zeller Dec., Exh. 18; Gentle Giant
                   9                                        Studios, Inc. invoice to Leahy regarding
                                                            sculpting and molding dated October 11,
                  10
                                                            2000; Zeller Dec., Exh. 76; Leahy Tr.
                  11                                        Vol. 1 at 193:14-194:5, Zeller Dec., Exh.
                                                            18; Bryant testified that Marlow created
                  12                                        fashions before his last day at Mattel,
                                                            Bryant Vol. 1 at 11$:2-13, Zeller Dec.,
                  13                                        Exh. 1.
                  14
                                                           Former MGA Salesperson Jennifer
                  15                                       Maurus testified that in the early summer
                                                           of 2000 Garcia introduced her to Bryant
                  16                                       and showed her his Bratz drawings.
                  17                                       Larian v. Larian Arbitration Tr., Vol. 2
                                                           {"Larian v . Larian Tr . ") , dated November
                  18                                       17, 2005 at 227:10-228:5, Zeller Dec.,
                                                           Exh. 59; id. at 228:10-14 {at the point
                  19                                       that Maurus saw the Bratz drawings
                                                           Garcia told her that Garcia had already
                  20
                                                           met with Larian about the concept}.
                  21
                  22                                        While he was still employed by Mattel,
                                                           Bryant placed dozens of phone calls to
                  23                                       MGA from his extension at Mattel. M
                                                           0001820-24 (Mattel phone records
                  24                                       showing that Bryant called MGA's main
                  25                                       line on 9/11/00, 9112100, 9/13100,
                                                           9114100, 9/15100, 9/18/00, 9119/00,
                  26                                       9120100, 9121100, 9125100, 9/26/00, and
                                                           9/27100, and that he called Tsaac Larian
                  27                                       on 9127100), attached as Exhibit 1 to the
                  28                                       Declaration of Rodne         Palmer, Jr.

0720912447527.E                                                                    ase No. CV 04-09049 SGL (RNBx)
                                                                                 NUINE ISSUES RE MGA PARTIES
                                                 MATTEL S STATEMENT OF GE ^ ^ ^^^_^^^^^^^^^^^-^^^
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 33 of 118 Page ID
                                               #:45396



                   1           MGA MATERIAL FACTS             MATTEL'S RESPONSE AND
                   2           AND EVIDENCE CITED               EVIDENCE OF DISPUTE
                                                          {"Palmer Dec."), dated March 6, 2008.
                   3
                   4                                      Bryant admitted creating Bratz doll
                   5                                      drawings     with   eveningwear      fashion
                                                          designs in or about July 2000.         See
                   6                                      Drawing Bates numbered BRYANT
                                                          00273 and a photograph of BRYANT
                   7                                      00273 marked as Exhibit 717 in this
                                                          action, Zeller Dec., Exh. 24; Bryant Tr.
                   8
                                                          Vol. 2 at 340:21-23, Corey Dec., Exh. 2;
                   9                                      BRYANT 00228 and a photograph of
                                                          BRYANT 00228 marked as Exhibit 719
                  IO                                      in this action, Zeller Dec., Exh. 25;
                                                          Bryant Tr. Vol. 2 at 301:25-302:3, Corey
                  I1                                      Dec., Exh. 2; BRYANT 00221 and a
                  12                                      photograph of BRYANT 00221 marked
                                                          as Exhibit 722 in this action, Zeller Dec.,
                  I3                                      Exh. 26; Bryant Tr. Vol. 2 at 340:2-4,
                                                          Corey Dec., Exh. 2; BRYANT 00297 and
                  14                                      a photograph of BRYANT 00297 marked
                                                          as Exhibit 72S in this action, Zeller Dec.,
                  15                                      Exh. 27; Bryant Tr. Vol. 2 at 358:2-
                  16                                      358:4, Corey Dec., Exh. 2; see also
                                                          Bryant Tr. Vol. 1 at 229:14-230:5, Corey
                  17                                      Dec., Exh: 1; Bryant Tr. Vol. 2 at 302:4-
                                                          19, Corey Dec., Exh. 2; Bryant's
                  18                                      Responses to Mattel, Inc.'s Third Set of
                  19                                      Requests for Admission Propounded to
                                                          All Defendants at Response Nos. 9-12;
                  20                                      Proctor Dec., Exh, 88.
                  21
                                                          Bryant testified that he drew a key
                  22                                      sculptural drawin to give to the sculptor
                                                          of Bratz to "^" her sculpt. Bratz
                  23
                                                          program manager Paula Garcia testified
                  24                                      that the same drawing was completed
                                                          between October 4, 2000 and October 19,
                  2S                                      2000,      during     Sryant's     Mattel
                                                          employment.       Bryant Tr. Vol. 2 at
                  26       •                              350:16-25, Corey Dec., Exh. 2; sculptural
                  27                                      drawing    Bates-numbered     BRYANT
                                                          00278, Zeller Dec., Exh. Z$; Deposition
                  28                                      Transcri t of Paula Garcia Vol. 2
07209/2447527.f        I                               _'^?..             Case No. CV 04-0949 SGL {RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES IZE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 34 of 118 Page ID
                                               #:45397



                            MGA MATERIAL FACTS                 MATTEL' S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                          ("Garcia Tr. Vol. 2"), dated May 25,
                   3                                      2007, at 589:25-592:7 {Garcia testif es
                   4                                      that she thinks the drawing was created in
                                                          between October 4, 2000 and October 19,
                   5                                      2000, and that it was given to Margaret
                                                          Leahy}, Corey Dec., Exh. 20.
                   6
                   7                                      Bryant does not dispute that he worked
                                                          on his Bratz drawings while employed by
                   8
                                                          Mattel. See collection of Bratz drawings
                   9                                      marked as Exhibit 2 in this action,
                                                          Proctor Dec., Exh. 73; Bryant Tr. Vol. 2
                  10                                      at 296:4-297:12 (Bryant admits to
                                                          coloring the .drawings collectively
                  I1                                      marked as Exhibit 2 in this action in
                  12                                      1999, and that, to his best recollection, he
                                                          put them together to form a packet in
                  13                                      1999), Zeller Dec., Exh. 2; Werdeger
                                                          letter to Proctor, dated February 27,
                  14                                      2008, Proctor Dec., Exh. 120.
                  15
                                                          Bryant represented to a third party vendor
                  16
                                                          in Japan that he was working for MGA in
                  17                                      September 2000, while he was still
                                                          employed by Mattel. Facsimile from
                  18                                      Bryant to Universal Commerce Corp.,
                                                          Bates-numbered BRYANT 01200-03,
                  19                                      Zeller Dec., Exh. 47; Bryant Tr. {Vol. 3}
                  20''                                    at b$0:13-21, Zeller Dec., Exh. 3; see
                                                          also ¶ 54.
                  21
                                                          See also ¶ i3, support for DISPUTED
                  22                                      fact {Garcia's testimony regarding the
                  23                                      fact she allegedly did not even know
                                                          Bryant was a Mattel employee until
                  24                                      2004).

                  25
                  2b
                                                          Evidentiary Objections
                  27
                  28                                      Ob'ection to the su    ortin de osition
0720912447527.1        ^^                              _'^'^_    _       Gase No. CV 04-09049 SGL (RNBx}
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 35 of 118 Page ID
                                                #:45398



                    1          MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                    2          AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                               transcript of Carter Bryant at: 199:6-8 on
                    3
                                                               the grounds of hearsay. Fed. R. Evid.
                    4                                          801, 802.
                        25.   MGA fold Bryant that on          Disputed.
                    5
                              signing the contract with MGA,   Declaration of Isaac Larian, Ex, A
                    6         B ant should begin working       (October 5, 2000 e-mail from Larian to
                              " ^ " on BRATZ.                  Bryant statin that B ant needed to be
                    7                                          workin    "
                    8                                                »^^
                    9
                                                               Ex. 27 {October 6, 2000 e-mail from
                   10                                          Larian to Bryant telling him to "meet
                                                               with Paula ASAP and work on this FULL
                   II
                                                               TIME");
                   12
                                                               Ex. I (Bryant) at I99:6-8             B ant
                   I3                                          testimon that Larian "
                   14                                                                   ,^
                   15
                                                               Ex. 5 (Larian) at I69:16-19           Larian
                   16                                          testimon that "
                   17
                   18
                                                                                             "}•
                   19
                                                               Ex. 2 (O'Connor) 115:12-23 {Q'Connor
                   20                                          testimony about discussion with Larian
                                                               where Larian told her that "
                   21
                   22                                                                              "}•

                   23                                          Ex. 2 {O'Connor} at 107:1-6, 107:22-25
                                                               (O'Connor testimon that she told B ant
                   24                                          she "
                                                                          »^.
                   25
                   26
                                                               Evidentiary Obiectians
                   27
                   28

o^zoa^zaa^sz^. i                                            _'^4_ ^           Case No. CV 04-09049 SGL (RNBx)
                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 36 of 118 Page ID
                                               #:45399



                   1               MGA MATERIAL FACTS                   MATTEL' S RESPONSE AND
                   2               AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                                   Objection to the supporting deposition
                   3                                               transcript of Carter Bryant at: 199:6-8 on
                   4                                               the grounds of hearsay. Fed. R. Evid.
                                                                   801, 802.
                   5
                   6                                               Objection to the supporting deposition
                                                                   transcript of Victoria O'Connor at:
                   7                                               115:12-23 on the grounds of hearsay.
                   8                                               Fed. R. Evid. $O1, 802.
                            26.   Bryant told MGA that once he     Disputed.
                   9
                                  signed the contract; he would
                  10              resign from Mattel.              Ex. 5 (Larian} at 3 5 :9-14 (Larian
                                                                   testimony that Bryant told Larian and
                  11                                               Victoria O'Connor that he was going to
                                                                   resign and sign the contract};
                  12
                  13                                               Ex. 5 (Larian} at 168:18-25 (Larian
                                                                   testimon that S ant told him he "
                  14                                                                                         "}•
                  1S                                               Ex. 5 {Larian) at 169:16-19 Larian
                                                                   testimon that "
                  16'
                  17
                  1$                                                                            "}.
                  19                                               Ex. 2 (O'Connor) at 106:22-107:6
                  20                                               (O'Connor testimony that, in res onse to
                                                                   MGA re nest for his hel "
                  21
                  22
                                                                                      ,^}.
                  23
                  24
                  25
                                                                   Contrary evidence:
                  26
                                                                   Bryant, Marlow and Leahy, continued to
                  27
                                                                   perform Bratz work for MGA after
                  28                                               B ant ave resi nation notice to Mattel

o^zo9rz4a^sz^,^         ^                                       _^^..              Case Na. CV 04-09049 SGL (RN$x}
                                                          MATTEL'S STATEMENT' OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 37 of 118 Page ID
                                                #:45400



                   1
                             MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2         AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                   3                                       but before he left Mattel. An internal e-
                                                           mail chain dated October 10 2000 stated
                   4                                       B ant "
                                                                       " , Bates-numbered
                   5                                       MGA004717, Zeller Dec., Exh. 77;
                                                           Deposition Transcript of Paula Garica
                   6                                       Vol. 3 ("Garcia Tr. Vol. 3 "), dated
                   7                                       October 9, 2007, at 873:19-875:11, Zeller
                                                           Dec., Exh. 78; Marlow's invoices for 169
                   8                                       hours of work on Bratz for "-
                                                           ^", Bates-numbered MGA
                   9                                       0072161-167, Zeller Dec., Exh. 79;
                  10                                       Garcia Tr. Vol. 4 at 1276:16-21, Zeller
                                                           Dec., Exh. 45; Bryant's actual expense
                  I1                                       report, receipts, and MGA's payment to
                                                           Bryant for his Bratz expenses from
                  12                                       9123/00 to 10111/00, Bates-numbered
                                                           MGA 3786749-60, Zeller Dec., Exh. 80;
                  13                                       Leahy testif ed that on October 6, 2000,
                  14                                       Bryant, Marlow, and Garcia went to her
                                                           home to give her feedback on the Bratz
                  IS                                       sculpt, Deposition Transcript of Margaret
                                                           Leahy Vol. 1 ("Leahy Tr. Vol. 1 "), dated
                  16                                       December 12, 2007, at 221:22-222:19;
                                                           Zeller Dec., Exh. 18; Gentle Giant
                  I7
                                                           Studios, Inc. invoice to Leahy regarding
                  18                                       sculpting and molding dated October 11,
                                                           2000; Zeller Dec., Exh. 76; Leahy Tr.
                  19                                       Vol. 1 at 193:14-194:5, Zeller Dec., Exh.
                                                           18; Bryant testified that Marlow created
                  20                                       fashions before his last day at Mattel,
                  Z1                                       Bryant Vol. 1 at 118:2-13, Zeller Dec.,
                                                           Exh, 1.
                  22
                                                           Former MGA Salesperson Jennifer
                  23                                       Maurus testified that in the early summer
                  24                                       of 2000 Garcia first introduced her to
                                                           Bryant and showed her his Bratz
                  25                                       drawings. Larian y. Larian Arbitration
                                                           Tr., Vol. 2 ("Larian v. Larian Tr."}, dated
                  26                                       November 17, 2005 at 227:10-228:5,
                  27                                       Zeller Dec., Exh. 59; id. at 228:10-14 {at
                                                           the point that Maurus saw the Bratz
                  28                                       drawin s Garcia told her that Garcia had

072D912447527.1
                                                ,,,,_,,,.,., _^(^_          Case No. CV 04-04049 SGL (RNBx)
                                                    MATTEL'S STATEMENT OP GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 38 of 118 Page ID
                                               #:45401



                    1
                              MGA MATERIAL FACTS              MATTEL' S RESPONSE AND
                   2          AND EVIDENCE CITED               EVIDENCE OF DISPUTE
                                                         already met with Larian about the
                   3                                     concept}.
                   4
                   5                                     While he was still employed by Mattel,
                                                         Bryant placed dozens of phone calls to
                   6                                     MGA from his extension at Mattel. M
                                                         0001820-24 (Mattel phone records
                   7                                     showing that Bryant called MGA's main
                   8                                     line   on    9111100,   9112100,    9113100,
                                                         9114100, 9115/00, 9/18/00, 9119100,
                   9                                     9120100, 9121100, 9125/00, 9/26/00, and
                                                         9/27/00, and that he called Isaac Larian
                  10                                     on 9/27100), attached as_ Exhibit 1 to the
                                                         Declaration of Rodney Palmer, Jr.
                  11 'I                                  ^{"Palmer Dec."), dated March 6, 2008.
                  12
                  I3                                     Bryant admitted creating drawings of the
                                                         Bratz characters wearing evening fashion
                  14                                     designs in or about July 2000.          See
                                                         Drawing Bates-numbered BRYANT
                  15                                     00273 and a photograph of BRYANT
                                                         00273 marked as Exhibit 717 in this
                  16
                                                         action, Zeller Dec., Exh. 24; Bryant Tr.
                  17                                     Vol. 2 at 340:21-23, Corey Dec., Exh. 2;
                                                         BRYANT 00228 and a photograph of
                  18                                     BRYANT 00228 marked as Exhibit 719
                                                         in this action, Zeller Dec., Exh. 25;
                  19                                     Bryant Tr. Vol. 2 at 301:25--302:3, Corey
                  20                                     Dec., Exh. 2; BRYANT 00221 and a
                                                         photograph of BRYANT 00221 marked
                  21                                     as Exhibit 722 in this action, Zeller Dec.,
                                                         Exh. 26; Bryant Tr. Vol. 2 at 340:2-4,
                  22                                     Corey Dec., Exh. 2; BRYANT 00297 and
                  23                                     a photograph of BRYANT 00297 marked
                                                         as Exhibit 725 in this action, Zeller Dec.,
                  24                                     Exh. 27; Bryant Tr. Vol. 2 at 358:2-
                                                         358:4, Corey Dec., Exh. 2; see also
                  25                                     Bryant Tr. Vol. 1 at 229:14-230:5, Corey
                                                         Dec., Exh. 1; Bryant Tr. Vol. 2 at 3 02:4-
                  26                                     19, Corey Dec., Exh. 2; Bryant's
                  27                                     Responses to Mattel, Int.'s Third Set of
                                                         Requests for Admission Propounded to
                  28                                     All Defendants at Res onse Nos. 9- 12;
07209/24A7527,1           I                           _3']_             Case No. CV 04-09049 SGL (RNBx)
                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 39 of 118 Page ID
                                              #:45402



                  1        MGA MATERIAL FACTS                 MATTEL' S RESPONSE AND
                  2        AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                          Proctor Dec., Exh. 88.
                  3
                  4                                       Bryant testified that he drew a key
                  5                                       sculptural drawin to give to the sculptor
                                                          of Bratz to "^" her sculpt. Bratz
                  6                                       program manager Paula Garcia testified
                                                          that the same drawing was completed
                  7                                       between October 4, 2000 and October 19,
                                                          2000. Bryant Tr. Vol. 2 at 350:16-25,
                  8
                                                          Corey Dec., Exh. 2; sculptural drawing
                  9                                       Bates-numbered BRYANT 00278, Zeller
                                                          Dec., Exh. 28; Deposition Transcript of
                 10                                       Paula Garcia Vol. 2 ("Garcia Tr. Vol. 2"},
                                                          dated May 25, 2007, at 589:25-592:7
                 11                                       (Garcia testifies that she thinks the
                 12                                       drawing was created in between October
                                                          4, 2000 and October 19, 2000, and that it
                 13                                       was given to Margaret Leahy), Corey
                                                          Dec., Exh. 20.
                 14
                 15                                       Bryant does not dispute that he worked
                                                          on his Bratz drawings while employed by
                 16
                                                          Mattel. See collection of Bratz drawings
                 17                                       marked as Exhibit 2 in this action,
                                                          Proctor Dec., Exh. 73; Bryant Tr. Vol. 2
                 18                                       at 296:4-297:12 (Bryant admits to
                                                          coloring the drawings collectively
                 19                                       marked as Exhibit 2 in this action in
                 20                                       1999, and that, to his best recollection, he
                                                          put them together to form a packet in
                 21                                       1999), Zeller Dec., Exh. 2; Werdeger
                                                          letter to Proctor, dated February 27,
                 22                                       2008, Proctor Dec., Exh. 120.
                 23
                                                          Bryant represented to a third party vendor
                 24
                                                          in Japan that he was working for MGA
                 25                                       while he was still employed by Mattel.
                                                          Facsimile from Bryant to Universal
                 26                                       Commerce       Corp.,     Bates-numbered
                                                          BRYANT 01200-03, Zeller Dec., Exh.
                 27                                       47; B ant Tr. Vol. 3 at 680:13-21,
                 28
ana9r^4^^sz^.i                                         _3 g_              Case No. CV 04-090MG GPA{RNBx)
                                                MATTEL'S STATEMENT OF GENUINE ISSUES IZE 49, A ^^^^^^ RTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 40 of 118 Page ID
                                               #:45403



                    1
                                   MGA MATERIAL FACTS                    MATTEL' S RESPONSE AND
                    2              AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                    Zeller Dec., Exh. 3; see also ¶ 54.
                    3
                   4                                                See also ¶ 13, support for DISPUTED
                                                                    fact (Garcia's testimony regarding the
                    5                                               fact she did not even know Bryant was a
                                                                    Mattel employee until 2004).
                   b
                   7                                                Evidentiary , Objections
                    S
                   9                                                Objection to the supporting deposition
                                                                    transcript of Isaac Larian at: 168:1825
                  10                                                on the grounds of hearsay. Fed. R. Evid.
                                                                    801, 802
                  11
                  12
                                                                    Objection to the supporting deposition
                  13                                                transcript of Isaac Larian at: 35:9-14 on
                                                                    the grounds that it lacks foundation, is
                  14                                                speculative and is impermissible hearsay.
                                                                    Fed. R. Evid. 104, 602, $01, 802
                  15
                  16'^^
                                                                    Objection to the supporting deposition
                  17                                                transcript of Victoria O'Connor at:
                                                                    106:22-107:6 on the grounds of hearsay.
                  18                                                Fed. R. Evid. 801, 802.
                  19        27.   As he was leaving Mattel,         Disputed.
                                  Bryant told Mattel that he
                  20              leavin                            Ex. 1 (Bryant) at 209:15-211:5.
                                  ^.»
                  21                                                Contrary evidence:
                  22
                                                                    Bryant testif ed that he thought he made
                  23                                                this statement to Susan Bryant and Mina
                                                                    Mirkazemi, two Mattel employees.
                  24                                                Bryant Vol. 1 at 209:15-211:5, Zeller
                  25                                                Dec., Exh. 1. Jill Nordquist testified that
                                                                    Mina Mirkazemi did not know where
                  26                                                Bryant was going. See Deposition
                                                                    Transcript of Jill Nordquist (Nordquist
                  27                                                Tr.} at 127:3-13, Zeller Dec., Exh. 51.
                                                                    Nor has MGA offered confirmin
                  28
o^zo9rzaa^sz^.^           __ _                                   _^C^_             Case No. CV 04-09049 SGL (RNBx}
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 41 of 118 Page ID
                                               #:45404



                   1        MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                          declarations from these two.
                   3
                   4                                      Bryant told others at Mattel he was
                                                          leaving to do non-competitive. ("Ross
                   5                                      Tr." dated Janu       17 2008 at 87:5-23
                                                           ^r
                   6
                   7
                   8
                   9
                  10
                                                                          "} , Corey Dec. , Exh. 31;
                  11                                      id. at 8$:i7-19 notin what B ant
                                                          described "
                  12                                                                             "); id.
                  13                                      at 220:5-12 (Ross explains that Ron
                                                          Lon sdorf su ested
                  14
                  15
                  16                                                                „}.
                  17
                  18                                      Nordquist testif ed that she was initially
                                                          suspicious that Bryant was going to a
                  19                                      competitor, but that he lied to her when
                  20                                      she asked him directly. Deposition
                                                          Transcript of Jill Nordquist ("Nordquist
                  21                                      Tr."}, dated July 31, 2007 at 145:1-9
                                                             ord uist testified that
                  22
                  23                                                     "}.
                  24
                  25                                      Ivy Ross also testified that she did not
                                                          complain to anyone at Mattel about Bratz
                  26                                      or an as ect of Bratz "
                  27
                                                               " Deposition Transcript of Ivy Ross
                  2S                                       "Ross Tr." dated Janua 17 2008 at

07209/2A47527.1                                        _    _             Case No. CV 04-09044 SGL (RNBx)
                       I^                        MATTEL'S STATEMENT OI+ GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 42 of 118 Page ID
                                               #:45405



                   1
                                   MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND ,
                   2               AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                                   61:23-63:3, Zeller Dec., Exh. 60.
                   3
                   4                                               Cloonan testified that "
                                                                               " that she became aware that
                   5
                                                                   Bryant might be involved with Bratz.
                   6                                               (Cloonan Tr. at 155:15-16}. Zeller Dec.,
                                                                   Exh. 17, She also testified that when she
                   7                                               was asked by others at Mattel in 2001
                                                                   whether it was true that Bryant was
                   8                                               involved with Bratz, she told them that
                   9                                               she did not know. Cloonan Tr, at 325:10-
                                                                   19                                       "
                  10                                               Zeller Dec., Exh. i 7.
                  11
                            28.   Mattel's 30(b)(6} witness, the   Disputed.
                  12'             former Marketing Manager for
                                  Mattel's Barbie Collectibles,    Ex. 22 (Nordquist at 124:18-125:8
                  13              stated that she understood       134:18--135:1 "
                  14              Bryant was leaving Mattel to
                                  design dolls.
                  15
                  16
                  17                                                                                    »}.
                  18
                                                                   The evidence does not support the facts
                  19                                               for which it is cited.
                  2a                                               The quote is taken out of context.
                  21                                               Nordquist explained why she was
                                                                   initially suspicious that Bryant might be
                  22                                               going to a competitor, but later testified
                                                                   that Bryant lied to her when she asked
                  23                                               him directly.
                  24                                               Contrary evidence:
                  25
                                                                   Bryant testified that he thought he made
                  26                                               this statement to Susan Bryant and Mina
                                                                   Mirkazemi, two Mattel employees.
                  27                                               Bryant Vol. 1 at 209:15-211:5, Zeller
                  28                                               Dec. Exh. 1. Jill Nord uist testified that

p72p4/2447527.1        I^                                       _   _             Case No. CV 04-09049 SGL (RNBx)
                                                          MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 43 of 118 Page ID
                                               #:45406



                   1
                            MGA MATERIAL FACTS                 MATTEL' S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE

                   3                                      Mina Mirkazemi did not know where
                                                          Bryant was going. See Deposition
                   4                                      Transcript of Jill Nordquist (Nordquist
                                                          Tr.) at 127:3-13, Zeller Dec., Exh. 51.
                   S                                      Nor has MGA offered confirming
                                                          declarations from these two.
                   6
                                                          Bryant told others at Mattel he was
                   7                                      leaving to do non-competitive work.
                                                          ("Ross Tr." dated Janua 17 2008 at
                   S                                      87:5-23 "
                   9
                  i0
                  11
                  12
                  13                                                     "} , Corey Dec ., Exh . 31;
                                                          id. at 88:17-19 notin what B ant
                  14                                      described "
                                                                                                 "}, id.
                  15                                      at 220:5-12 (Ross explains that Ron
                  16                                      Lon sdorf su ested

                  17
                  18
                  19                                                                "}.

                  20.
                                                          Nordquist testified that she was initially
                  21^                                     suspicious that Bryant was going to a
                                                          competitor, but that he lied to her when
                  22                                      she asked him directlyr. Deposition
                  23                                      Transcript of Jill Nordquist ("Nordquist
                                                          Tr."}, dated July 31, 2007 at 145:1-9
                  24                                       Nord uist testified that
                  25
                                                                        "}.
                  26
                  27                                      Ivy Ross also testified that she did not
                                                          complain to anyone at Mattel about Bratz
                  28                                      or an as ect of Bratz "
0720912447527.1
                                                       _ _               Case No. CV 04-OR049 SGL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 44 of 118 Page ID
                                                #:45407



                    1
                                    MGA MATERIAL FACTS                     MATTEL'S RESPONSE AND
                    2               AND EVIDENCE CITED                      EVIDENCE OF DISPUTE

                    3
                                                                            " Deposition Transcript o^ Zvy Ross
                    4                                                 ("Ross Tr. ") dated January 17, 200$, at
                                                                      61:23-63:3, Zeller Dec., Exh. 60.
                    5
                    6                                                Cloonan testified that "
                                                                     ^^" that she became aware that
                    7
                                                                     Bryant might be involved with Bratz.
                    8                                                (Cloonan Tr. at 158:15-16). Zeller Dec.,
                                                                     Exh. 17. She also testif ed that when she
                    9                                                was asked by others at Mattel in 2001
                                                                     whether it was true that Bryant was
                   10                                                involved with Bratz, she told them that
                   11                                                she did not know. Cloonan Tr. at 325:10-
                                                                     19                                          "
                   12                                                Zeller Dec., Exh. 17.
                   13
                             29.   At the time Bryant was leaving    Disputed.
                   14              Mattel, the former Marketing
                                   Manager for Mattel's Barbie       Ex. 22      ord uist at 134:4-17 135:14-
                   15'             Collectibles suspected that       22 "
                                   Bryant was leaving Mattel to
                   16
                                   join a competitor; she informed
                   I7              B ant's direct su ervisor who

                   18                        ,^

                   19
                   20
                   21
                   22
                                                                                           » ^^
                   23
                   24
                   25
                   26
                   27
                   28
a^zo9^z4a^szz. i         ^     _                                  _q.^_-             Case No. CV 04-09049 SGL (RNBx)
                                                            MATTEL'S STATEMENT OI' GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 45 of 118 Page ID
                                                #:45408



                             MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                    2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE

                    3
                    4
                                                           Ex. 37 (at exit interview, Bryant stated
                    5                                      that he was oin into business for
                                                           himself in "
                    6
                    7                                      ^").

                    8                                      Ex. 20 (Kaye) at 284:2-5 (Kaye
                                                           testimony that it was the practice of
                    9                                      Mattel for its HR representative
                                                           conducting the exit interview to fill out
                   10
                                                           the exit interview form}.
                   11
                                                           Contrary evidence:
                   12
                                                           Nordquist testif ed that she was initially
                   13                                      suspicious that Bryant was going to a
                   14                                      competitor, but that he lied to her when
                                                           she asked him directly. Deposition
                   15                                      Transcript of Jill Nordquist ("Nordquist
                                                           Tr."), dated July 31, 2007 at 145:1-9
                   16                                      (Nordquist testified that
                   17
                   18                                      ^") .
                   19                                      Ivy Ross testified that she did not
                                                           complain to anyone at Mattel about Bratz
                   20                                      or anv aspect of Bratz, "
                   21
                                                           ^" Deposition Transcript of lvy Ross
                   22                                      {"Ross Tr.") dated January 17, 2008, at
                                                           61:23-63:3, Zeller Dec., Exh. 60.
                   23
                   24                                      Deposition Transcript of Ivy Ross ("Ross
                                                           Tr."^, dated Januarv 17.2008. at 87:5-23
                   25
                   26
                   27
                   28
0720912447527. 1        I                               _    ,.            Case No. CV 04-09049 SGL (RNBx)
                                                  MATTEL'S STATEMI~NT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 46 of 118 Page ID
                                                #:45409



                   1
                                    MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                   2                AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                   3
                   4                                                               "} , Corey Dec ., Exh . 31;
                                                                    id. at 88:17-19 notin what B ant
                   5                                                described "
                                                                                                          ^^}; id
                                                                                                                    .
                   6                                               at 220:5-I2 (Ross explains that Ron
                   7                                               Lon sdorf su ested

                   8
                   9
                  10                                                                        "). Deposition
                                                                   transcript of Elise Cloonan ("Cloonan
                  11                                               Tr. "), dated December 14 2007 at
                                                                   163 :24-164:9
                  12
                                                                                       "}, Zeller Dec., Exh. 17.
                  13
                  14                                               Nordquist Tr. at 125:20-126:6, Zeller
                                                                   Dec. Exh. 51. In relating that she first
                  is                                               heard that Bryant was resigning from
                                                                   Mina Mirkazemi Nord uist states
                  16
                                                                                              n
                  17
                  18                                               Re: MGA's Ex. 37 In the Exit Interview
                                                                   re ort under the uestion "
                  19
                  20
                  21
                  221       30.   In 2000, it was rumored within   Disputed.
                  23              Mattel that Bryant was working
                                  for MGA.                         Ex. 11 {Cloonan} at 116:9-21.
                  24
                  25
                                                                   Contrary Evidence:
                  26
                                                                   Cloonan first appears to get her dates
                  27                                               mixed up regarding when she heard
                  28                                               B ant was working for MGA. Although

0720912447527.1                                                 _4^..             Case No. CV 04-09049 SGL {RNBx)
                       I^                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 47 of 118 Page ID
                                               #:45410



                   i        MGA MATERIAL FACTS                 MATTEL 'S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                          she states in 116:9-21 that in 2000 she
                   3                                      heard a rumor that Bryant was working
                   4                                      for MGA while he was working for
                                                          Mattel, she goes on to clari that she
                   5                                      first heard about MGA "
                                                          ^," when she looked up the Bratz on
                   6                                      the Internet. (Cloonan Tr. at 117:925).
                   7                                      Zeller Dec., Exh. 17.

                   8                                      Later she corrects her earlier testimony
                                                          ,^
                   9
                  to
                  11
                  12
                  13
                  14
                  15
                  16
                  17
                  18                                      Cloonan Tr. at 124:17-125:1.

                  19                                      Cloonan continues to testify that "^
                                                                                "that she became
                  20                                      aware that he might be involved with
                  21                                      Bratz. (Cloonan Tr. at 158:15-16). Zeller
                                                          Dec., Exh. 17. She also testified that
                  22                                      when she was asked by others at Mattel
                                                          in 2001 whether it was true that Bryant
                  23                                      was involved with Bratz, she told them
                                                          that she did not know. Cloonan Tr. at
                  24                                      325:10-19 "
                  25                                      ^" Zeller Dec., Exh. 17.
                  26
                                                          Evidentiary Objections
                  27
                  28
onoai2aa^sz^. i                                        _4(_              Case No. CV 04-09049 SGL (RNBx}
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 48 of 118 Page ID
                                               #:45411



                   1
                                   MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2               AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                                 Objection to the supporting deposition
                   3
                                                                 transcript of Elise Cloonan at: 116:9-21
                   4                                             on the grounds that it is irrelevant and
                                                                 confusing. Fed. R. Evid. 402, 403.
                   5
                            31.   MGA showed the BRATZ at        Disputed.
                   6              the Hong Kong Toy Fair in
                                  January 2001.                  Ex. 5 (Larian} at 152:16-21;
                   7
                                                                 Ex. 44 (Talbot, Little Hotties, The New
                   $                                             Yorker, Vol. 82 No. 40, at p. 74
                   9                                             (December 4, 2006}).

                  10                                             Contrary Evidence:
                  11                                             There is no evidence that the dolls were
                  12                                             "^" or a Mattel employee ever
                                                                 visited MGA's private showroom. Mateo
                  I3                                             Romano, an employee of Mattel de
                                                                 Mexico in 2001, a Mexican corporation
                  14                                             and independent subsidiary of Latin
                                                                 America, saw Bratz prototypes in January
                  15                                             2001 at Hong Kong Toy Fair. Mattel de
                  i6                                             Mexico occasionally distributed MGA
                                                                 products during that timeframe. MGA
                  17                                             approached Mr. Romano about the
                                                                 possibility of Mattel de Mexico
                  18                                             distributing this product in Latin
                                                                 America. Mr. Romano "did not share the
                  19
                                                                 information about Bratz beyond the
                  20'                                            product name and product number with
                                                                 anyone at Mattel, Inc. in El Sequndo."
                  21'                                            Declaration of Mateo Ramano in support
                                                                 of Mattel, Int.'s Consolidated Opposition
                  22'                                            to Defendants' Motion for Partial
                  23'                                            Summary Judgment, dated March 20,
                                                                 200$ at ¶¶ 2-7.
                  24'
                  25                                             Evidentiary Objections
                  26
                  27                                             Objection to Exhibit 44 attached to the
                                                                 supporting declaration of Jason D Russell
                  2$                                             on the rounds of hearsa .Fed. R. Evid.

072D9/2447527.f                                               _4'^_             Case No. CV 04-09049 SGL (RNBx}
                       ^I                               MATTEL`S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 49 of 118 Page ID
                                               #:45412



                   1                MGA MATERIAL FACTS                     MATTEL'S RESPONSE AND
                   2                AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                      801, 802
                   3
                             32.   MGA showed the BRATZ at            Disputed.
                   4               the New York Toy Fair in           Ex. 4 {Garcia} at 476:11-13;
                                   February 2001.
                   5
                                                                      Ex. 14 {Kilpin} at 119:17-19;
                   61
                                                                      Ex. 5 {Larian) at 156:5-14;

                   s                                                  Ex. 45 {Jan Paschal, Shopping: BRATZ
                                                                      tar^,et the `tween scene, Reuters (June 14,
                   9                                                  2001)).
                  10
                                                                      Evidentiary Objections
                  11
                  12
                                                                      Objection to Exhibit 45 attached to the
                  13                                                  supporting declaration of Jason D Russell
                                                                      on the grounds of hearsay. Fed. R. Evid.
                  14                                                  80I, 802
                  1S         33.   The press reported the fact that   Disputed.
                                   MGA showed the BRATZ at
                  16               the New York Toy Fair in           Ex. 47 (MGA Entertainment's `Looking
                                   February 2001.                     Better Than Ever' With the Introduction
                  17'
                                                                      of Exciting New Toy Lines at New York
                  18                                                  Toy Fair, Business Wire (February $,
                                                                      2001)}.
                  19
                                                                      Contrary Evidence:
                  20
                  21                                                  Although MGA and Isaac Larian
                                                                      received publicity in February 2001
                  22                                                  regarding BRATZ, none of the articles
                                                                      cited make mention that Carter Bryant
                  23                                                  was the creator of the SRATZ.
                  24
                                                                      MGA and Bryant admit that no public
                  25                                                  statement even recognizing Bryant as
                                                                      Bratz's creator was issued until July 18,
                  26                                                  2003, when the Wall Street Journal
                                                                      published an article with that
                  27                                                  information. See e.g., MGA
                  28                                                  Entertainment Inc.'s Su Iemental and

0720912447527.1         II                                         _4^_              Case No. CV 04-09049 5GL {RNBx)
                                                             MATTEL'S STATEMENT OF GENUINE ISSllES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 50 of 118 Page ID
                                               #:45413



                   1              MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2              AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                                 Amended Responses to Mattel, Int.'s
                   3                                             Third Set of Requests for Admission to
                   4                                             MGA Entertainment, Inc., Nos. 183, 1 S 5,
                                                                 Proctor Dec., Exh. 113; see also Carter
                   5                                             Bryant's Supplemental and Amended
                                                                 Responses to Mattel, Inc.'s Third Set of
                   6                                             Requests for Admission to Carter Bryant
                   7                                             Nos. 80-82, Zeller Dec., Exh. 82.
                                                                 Evidentia^-y Objections
                   8
                                                                 Objection to Exhibit 47 attached to the
                   9                                             supporting declaration of Jason D Russell
                                                                 on the grounds of hearsay. Fed. R. Evid.
                  10                                             801, 802.
                  11
                           34.   Mattel employees attended the   Disputed.
                  12             New York Toy Fair in February   Ex. 10 {Ross) at $:18-9:8, 42:5-10 (Ross,
                  13             2001.                           who worked at Mattel from 1996-2003,
                                                                 testified that "
                  14
                  15
                  16
                  17                                                                »).

                  18                                             Ex. 63 (Horovitz, From kids to adults, the
                  19                                             USA is stuck on stickers, USA Today
                                                                 (February 14, 2001));
                  20
                                                                 Ex. 38 {March 2, 2001 e-mail from
                  21                                             Martin Hitch, Vice President of MGA's
                  22                                             International Sales to Mateo Romano of
                                                                 Mattel, stating it "
                  23                                             -").
                  24                                             Ex. 39 {April 24, 2001 e-mail from
                                                                 Martin Hitch, Vice President of MGA's
                  25                                             International Sales to Mateo Romano of
                  26                                             Mattel, statin "

                  27                                                                       »).

                  28
07209/24A7527.1        ^                                      _49_              Case No. CV 04-09049 SGL (RNEx}
                                                        MATTEL'S STATEMENT QF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 51 of 118 Page ID
                                               #:45414



                   1                                          MATTEL'S RESPONSE AND
                            MGA MATERIAL FACTS
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                          Ex. 64 {Mattel, Inc. Showcases the
                   3                                      Hottest Toys in the 1 "ndustry At Tom air
                   4                                      2001 in New York City! The Premiere
                                                          Toy Company Highlights the Best of the
                   5                                      Best In Family Entertainment Products,
                                                          PR Newswire (February 12, 2001));
                   6
                                                          Ex. 65 {Mattel, Inc. Showcases the
                   7
                                                          Hottest Toys in the Industry At Toy Fair
                   S                                      2001 in New York City! The Premiere
                                                          To Com an Hi hli hts the Best of the
                   9'                                     Best in Family Entertainment Products,
                                                          Business Wire {February 9, 2001));
                  10
                  11                                      Ex. 66 {Collins, Big Makers Scale Back
                                                          At To Fair• So the Little Gu s Have
                  12                                      More Room To Show Their Stuff, The
                                                          New York Times {February S, 2001 });
                  13
                                                          Ex. 42 {Barbie/Girls New York Toy Fair
                  14
                                                          2001 Press Materials);
                  15
                                                          Ex. 43 {Barbie Collectibles & Timeless
                  16                                      Treasures Script from New York Toy
                                                          Fair 2001).
                  17
                                                          Contrary evidence:
                  18
                                                          MGA relies on e-mail correspondence
                  19                                      between Martin Hitch, MGA's Vice
                                                          President of International Sales in 2001,
                  20                                      and Mateo Romano, an employee of
                                                          Mattel de Mexico in 2001, to claim that
                  21
                                                          Mattel, Inc., passed on the opportunity to
                  22                                      carry Bratz in 2001. MGA never offered
                                                          Bratz to Mattel, Inc. Rather, at that time,
                  23                                      MGA did not have a Latin American
                                                          subsidiary and, thus, discussed with other
                  24                                      companies the distribution of its goods in
                  25                                      Latin America. Mattel Latin America, a
                                                          separate subsidiary, occasionally
                  26                                      distributed MGA products during that
                                                          timeframe. Mateo Romano saw Bratz
                  27                                      prototypes in January 2001 at Hong Kong
                                                          To Fair and MGA discussed with Mr.
                  28
07209/2447527,1        ^                               ..50_             Case No. CV D4-Q9D49 5GL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 52 of 118 Page ID
                                               #:45415



                   1          MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2          AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                             Romano about the possibility of Mattel
                   3                                         Latin America distributing this product in
                   4                                         Latin America. Mr. Romano "did not
                                                             share the information about Bratz beyond
                   5                                         the product name and product number
                                                             with anyone at Mattel, Inc. in El
                   6                                         Sequndo, California beyond submitting
                   7                                         that information for inclusion in the
                                                             system." Further, at no time, did MGA
                   8                                         or Larian inform Mr. Ramano "that the
                                                             designer or creator of Bratz was Carter
                   9                                         Bryant, that Carter Bryant had any
                                                             involvement with Bratz, that Carter
                  10                                         Bryant worked with MGA while he was
                  11                                         employed by Mattel, Inc. or that Carter
                                                             Bryant had worked on Sratz while he
                  12                                         was employed by Mattel." Declaration of
                                                             Mateo Ramano in support of Mattel,
                  13                                         Inc.'s Consolidated Opposition to
                  14                                         Defendants' Motion for Partial Summary
                                                             Judgment, dated March 20, 2008 at ¶¶ 2-
                  15                                         7.
                  16
                                                             Evidentia     Ob'ections
                  17
                  18                                         Objection to Exhibits 38-39 attached to
                  19                                         the supporting Declaration of Jason
                                                             Russell on the grounds that these
                  20                                         documents have not been authenticated.
                                                             Fed. R. Evid. 901.
                  21
                  22                                         Objection to Exhibits 63-66 attached to
                  23                                         the supporting declaration of Jason D
                                                             Russell on the grounds of hearsay. Fed.
                  24                                         R. Evid. 801, 802.
                  25
                       35.   MGA received publicity in       Disputed.
                  26         February 2001 about the
                             BRATZ.                          Ex. 67 (Nationally syndicated clip of Toy
                  27                                         Fair highlights hosted by "Toy Guy"
                  28                                         Chris S me

07209!2447527.1                                                             Case No. CV 04-09049 SGL {RNBx)
                                                    MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 53 of 118 Page ID
                                              #:45416



                   i         MGA MATERIAL FACTS               MATTEL'S RESPONSE AND
                  2          AND EVIDENCE CITED                EVIDENCE OF DISPUTE

                  3                                      Ex. 46 {Tween scene: toymakers strive to
                  41                                     capture young girls' fancy, The New
                                                         Jersey Record (February 17, 2001 });
                   5
                                                         Ex. 47 {MGA Entertainment's `Looking
                   6                                     Better Than Ever' With the Introduction
                                                         of Exciting New Toy Lines at New York
                   7
                                                         Tom, Business Wire {February S,
                   8                                     2001)}.

                   9,                                    Contrary Evidence:
                  10                                     Although MGA and Isaac Larian
                  11                                     received publicity in February 2001
                                                         regarding BRATZ, none of the articles
                  12                                     cited make mention that Carter Bryant
                                                         was the creator of the BRATZ.
                  13
                                                         MGA and Bryant admit that no public
                  14
                                                         statement even recognizing Bryant as
                  15                                     Bratz's creator was issued until July 18,
                                                         2003, when the Wall Street Journal
                  16                                     published an article with that
                                                         information. See e.^., MGA
                  17                                     Entertainment, Int.'s Supplemental and
                  18                                     Amended Responses to Mattel, Inc.'s
                                                         Third Set of Requests for Admission to
                  19                                     MGA Entertainment, Inc., Nos. 183, 185,
                                                         Proctor Dec., Exh. 113; see also Carter
                  20                                     Bryant's Supplemental and Amended
                  21                                     Responses to Mattel, Int.'s Third Set of
                                                         Requests for Admission to Carter Bryant
                  22                                     Nos. 80-82, Zeller Dec., Exh. 82.

                  23
                                                         Evidentiary Objections
                  24
                  25                                     Objection to Exhibits 46-47 & 67
                  26                                     attached to the supporting declaration of
                                                         Jason D Russell on the grounds of
                  27                                     hearsay. Fed. R. Evid. 801, 802.
                  28
07209/24A7527.]         II                            _   _              Case No. CV 04-09049 SGL (RNBx)
                                                MATTEL'S STATEMENT OIr GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 54 of 118 Page ID
                                               #:45417



                   1
                                   MGA MATERIAL FACTS                        MATTEL' S RESPONSE AND
                   2               AND EVIDENCE CITED                         EVIDENCE OF DISPUTE
                            36.   Isaac Larian was identified in       Disputed.
                   3              press reports as speaking
                   4              publicly on behalf of MGA            Ex. 47 {MGA Entertainment's `Looking
                                  about the BRATZ in February          Better Than Ever' With the Introduction
                   5              2001.                                of Exciting
                                                                       Toy             New
                                                                           Fair, ! .; ...,       Toy Lines at New York
                                                                                           ......__....,{,..e^...__.,.._.._
                                                                                    Business Wire F ruary 8,
                   6                                                   2001)).
                   7
                   8                                                   Contrary Evidence:

                   9^
                                                                       Although MGA and Isaac Larian
                  10                                                   received publicity in February 2001
                                                                       regarding BRATZ, none of the articles
                  11                                                   cited make mention that Carter Bryant
                  12                                                   was the creator of the BR.A.TZ. Many of
                                                                       them are affirmatively false about Bratz's
                  13                                                   creation. In public statements, Larian
                                                                       identified himself, not Bryant, as the
                  14                                                   creator of Bratz.
                  15                                                   See Affidavit of Isaac Larian in MGA v.
                                                                       Metson at p. 2, ¶ 8, Bates-numbered
                  16                                                   MGA 086803991 {Larian claiming he
                                                                       "was the inspiration behind the Bratz
                  17
                                                                       dolls."), Proctor Dec., Exh. 99; Woodman
                  18                                                   Tr. Vol. 1 at 21$:1-21, Corey Dec., Exh.
                                                                       17; Business Week article discussing
                  19                                                   Mattel and Bratz, Bates-numbered M
                                                                       0074054-6, {" [Larian] got the idea for
                  2a                                                   Bratz after seeing his own kids run
                  21                                                   around in navel-baring tops and hip--
                                                                       huggers."), Zeller Dec., Exh. S3; San
                  22                                                   Fernando Valley Business Journal article
                                                                       discussing Larian, (Larian states "It was
                  23                                                   Jason's idea for Bratz."), Zeller Dec.,
                                                                       Exh. 54.
                  24
                  25
                                                                       See Affidavit of Isaac Larian in MGA v.
                  26                                                   Metson at p. 2, ¶ $, Bates-numbered
                                                                       MGA 0868039-91 {Larian claiming he
                  27                                                   "was the inspiration behind the Bratz
                  28                                                   dolls." Zeller Dec. Exh. 92• Woodman

07209!2447527.1         I                                          _     _                  Case No. CV 04-04049 SGL (RNBx)
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PAItT[ES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 55 of 118 Page ID
                                               #:45418



                   1        MGA MATERIAL FACTS                MATTEL' S RESPONSE AND
                   2        AND EVIDENCE CITED                 EVIDENCE OF DISPUTE
                                                          Tr. Vol. 1 at 218:1-21, Corey Dec., Exh.
                   3                                      17; Business Week article discussing
                   4                                      Mattel and Bratz Bates-numbered M
                                                          0074054-6
                   5
                   6                                               ") , Zeller Dec. , Exh. 53; San
                                                          Fernando Valley Business Journal article
                   7'
                                                          discussing Larian, (Larian states "It was
                   8                                      Jason's idea for Bratz."), Zeller Dec.,
                                                          Exh. 54.
                   9
                  10                                      See also a-mail from Isaac Larian dated
                                                          March 12, 2002 instructing MGA
                  11
                                                          personnel, Bates-numbered MGA
                  12                                      3 801 S 19-22 {Larian demanded that a
                                                          Bratz website make no reference to
                  13                                      Mattel or Bryant}, Zeller Dec., Exh 95.
                  14
                                                          Similarly, Larian represented to the U.S.
                  15                                      Patent and Trademark Office that he had
                  16                                      created the Bratz feet and packaging:
                                                          U.S. patent application for Bratz feet
                  17                                      marked as Exhibit 500 in this action,
                                                          Proctor Dec., Exh. 101; Amendment to
                  18                                      U.S. patent application for Bratz feet
                                                          marked as Exhibit 548 in this action,
                  19
                                                          Proctor Dec., Exh. 102; Patent for
                  20                                      trapezoidal packaging marked as Exhibit
                                                          552 in this action, Proctor Dec., Exh.
                  21                                      103; Patent application for trapezoidal
                                                          packaging marked as Exhibit 615 in this
                  22                                      action, Proctor Dec., Exh. 104.
                  23
                                                          MGA and Bryant admit that no public
                  24                                      statement even recognizing Bryant as
                                                          Bratz's creator was issued until July 18,
                  25                                      2003, when the Wall Street Journal
                  26                                      published an article with that
                                                          information. See e.^., MGA
                  27                                      Entertainment, Int.'s Supplemental and
                                                          Amended Res onses to Mattel, Int.'s
                  28
07209/2447527.1         1                              _   ..            Case No. CV 04-09Q49 SGL (RNBx}
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 56 of 118 Page ID
                                               #:45419



                   1
                               MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2           AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                               Third Set of Requests for Admission to
                   3                                           MGA Entertainment, Inc., Nos. 183, 1 S5,
                   4                                           Proctor Dec., Exh. 113; see also Carter
                                                               Bryant's Supplemental and Amended
                   S                                           Responses to Mattel, Int.'s Third Set of
                                                               Requests for Admission to Carter Bryant
                   6                                           Nos. 80-82, Zeller Dec., Exh. 82.
                   7
                   8                                           Evidential ;^,Ob,jections

                   9
                                                               Abjection to Exhibit 47 attached to the
                  10                                           supporting declaration of Jason D Russell
                  11                                           on the grounds of hearsay. Fed. R. Evid.
                                                               801, 802.
                  12    37,   MGA offered Mattel the           Disputed.
                  13          opportunity to carry BRATZ in
                              March of 2001 but Mattel         Ex. 38 (March 5, 2001 e-mail from
                  14          declined to do so because        Mateo Romano of Mattel to Martin
                              "                                Hitch, MGA's VP of International Sales}.
                  15
                                                               Contrary Evidence:
                  16
                  17                    "                     MGA relies on e-mail correspondence
                                                              between Martin Hitch, MGA's Vice
                  18^                                         President of International Sales in 2001,
                                                              and Mateo Romano, an employee of
                  19                                          Mattel de Mexico in 2001, to claim that
                  20                                          Mattel, Inc., passed on the opportunity to
                                                              carry Bratz in 2001. MGA never offered
                  21                                          Bratz to Mattel, Inc. Rather, at that time,
                                                              MGA did not have a Latin American
                  22                                          subsidiary and, thus, discussed with other
                                                              companies the distribution of its goods in
                  23
                                                              Latin America. Mattel Latin America, a
                  24                                          separate subsidiary, occasionally
                                                              distributed MGA products during that
                  25                                          timeframe. Mateo Romano saw Bratz
                                                              prototypes in January 2001 at Hong Kong
                  26                                          Toy Fair, and MGA discussed with Mr.
                  27           .                              Romano about the possibility of Mattel
                                                              Latin America distributing this product in
                  28                                          Latin America. Mr. Romano "did not

o^zo9n4q^sz^. i                    _                       _5 ^_             Case No. C_V 04-09049 SGI. (RNBx)
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 57 of 118 Page ID
                                               #:45420



                   1                 MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                   2                 AND EVIDENCE CITED                   ^ EVIDENCE OF DISPUTE
                                                                      share the information about Bratz beyond
                   3                                                  the product name and product number
                   4                                                  with anyone at Mattel, Inc. in El
                                                                      Segundo, California beyond submitting
                   S                                                  that information for inclusion in the
                                                                      system." Further, at no time, did MGA
                   6                                                  or Larian inform Mr. Ramano "that the
                                                                      designer or creator of Bratz was Carter
                   71
                                                                      Bryant, that Carter Bryant had any
                   8'                                                 involvement with Bratz, that Carter
                                                                      Bryant worked with MGA while he was
                   9'.                                                employed by Mattel, Inc. or that Carter
                                                                      Bryant had worked on Bratz while he
                  10                                                  was employed by Mattel." Declaration of
                  11                                                  Mateo Ramano in support of Mattel,
                                                                      Inc.'s Consolidated Opposition to
                  12                                                  Defendants' Motion for Partial Summary
                                                                      Judgment, dated March 20, 2008 at ¶¶ 2-
                  13                                                  7.
                  14
                  1S                                                                ^ tions
                                                                      Evidentiary Ob'ec

                  1b
                                                                      Objection to Exhibit 38 attached to the
                  17                                                  supporting Declaration of Jason Russell
                                                                      on the grounds that this document has not
                  18                                                  been authenticated. Fed. R. Evi, 901.
                  19          38.   After Mattel declined MGA's       Disputed.
                                    offer to carry the BRATZ in       Ex. 3.9 (April 24, 2001 e-mail from
                  20                                                  Martin Hitch, Vice President of MGA's
                                    March 2001, MGA wrote to
                  21                Mattel in A ril 2001 notin that   International Sales to Mateo Romano of
                                                                      Mattel).
                  22
                                                                      Contrary Evidence:
                  23
                  24                                                  MGA relies on e-mail correspondence
                                                                      between Martin Hitch, MGA's Vice
                  2S                                                  President of International Sales in 2001,
                                                                      and Mateo Romano, an employee of
                  26                         "                        Mattel de Mexico in 2001 , to claim that
                                                                      Mattel, Inc., passed on the opportunity to
                  27
                                                                      carry Bratz in 2001. MGA never offered
                  28                                                  Bratz to Mattel Inc. Rather at that time

0720912447527,1                                                   _5h_               Case No. CV 04-09Q44 SGL (RNBx)
                         II                                 MATTEL'S STATEMENT of GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 58 of 118 Page ID
                                               #:45421



                   1
                                   MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                   2               AND EVIDENCE CITED                 EVIDENCE OF DISPUTE
                                                                MGA did not have a Latin American
                   3
                                                                subsidiary and, thus, discussed with other
                   4                                            companies the distribution of its goods in
                                                                Latin America. Mattel Latin America, a
                   5                                            separate subsidiary, occasionally
                                                                distributed MGA products during that
                   b                                            timeframe. Mateo Romano saw Bratz
                   7                                            prototypes in January 2001 at Hong Kong
                                                                Toy Fair, and MGA discussed with Mr.
                   S                                            Romano about the possibility of Mattel
                                                                Latin America distributing this product in
                   9                                            Latin America. Mr. Romano "did not
                                                                share the information about Bratz beyond
                  10
                                                                the product name and product number
                  11                                            with anyone at Mattel, Inc. in E1
                                                                Segundo, California beyond submitting
                  12                                            that information for inclusion in the
                                                                system." Further, at no time, did MGA
                  13                                            or Larian inform Mr. Romano "that the
                  14                                            designer or creator of Bratz was Carter
                                                                Bryant, that Carter Bryant had any
                  15                                            involvement with Bratz, that Carter
                                                                Bryant worked with MGA while he was
                  16                                            employed by Mattel, Inc. or that Carter
                  17                                            Bryant had worked on Bratz while he
                                                                was employed by Mattel." Declaration of
                  1$                                            Mateo Romano in support of Mattel,
                                                                Int.'s Consolidated Opposition to
                  19                                            Defendants' Motion for Partial Summary
                                                                Judgment, dated March 20, 2008 at ¶¶ 2-
                  20                                            7.
                  21

                  22                                            Evide^tia     Ob'ections
                  23
                                                                Objection to Exhibit 38 attached to the
                  24^                                           supporting Declaration of Jason Russ.eIl
                  25
                                                                on the grounds that this document has not
                                                                been authenticated. Fed. R. Evi. 901
                  26        39.   MGA released the BRATZ in     Undisputed.
                  27              Spain in June 2001.           Ex. 5 (Larian} at 248:13-19;
                  28
o^za9rzaa^sz^.i        I^                                    _^7_              Case No. CV 04-09049 SGL (RNBx)
                                                       MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 59 of 118 Page ID
                                                #:45422



                     1              MGA MATERIAL FACTS                     MATTEL' S RESPONSE AND
                     2              AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                       Ex. 18 (Simpson-Taylor} at 99:8-13.
                     3
                             40.   Adrianne Fontanella, Mattel's       Undisputed.
                     4             President of the Girls' Division,   Ex. 41 {Mattel's Response to MGA's
                                   was aware of the release of the     Interrogatory No. 9);
                     5
                                   BRATZ in Spain in June 2001.
                     6                                                 Ex. 8 {Fontanella) at 93:3-7.
                     7       41.   Members of Mattel's marketing       Undisputed.
                                   group saw the BRATZ in July         Ex.    41     (Mattel's'      Response      to
                                   2001.                               Interrogatory No. 9};
                     9
                                                                       Ex. $ (Fontanelia} at 93:13-94:10.
                    10
                             42.   Mattel's Chairman and CEO,          Undisputed,
                    11             Robert Eckert, had heard about      Ex. 9 (Eckert} at 33:10-22.
                                   the BRATZ no later than 2001.
                    12
                             43.   The BRATZ were released in          Undisputed.
                    13             the United States in the fall of    Ex. 18 (Simpson--Taylor} at 99:8-13.
                    I4             2001.
                             44.   Mattel's Chairman and CEO,          Disputed.
                    15
                                   Robert Eckert, understood that      Ex. 9 {Eckert) at 7:11-14, 75:5-8.
                    16             BRATZ had gained market
                                   share against Barbie in 2001.       Contrary evidencc:
                    17                                                 Mr. Eckert testif ed that he learned that
                                                                       Bratz was gainin ma
                    I8
                                                                                            "Eckert Tr . at
                    I9                                                 75:5-76:15, Zeller Dec. Exh. 64.
                    20
                             45.   Publicly available press and toy    Disputed.
                    21             analysts reports stated that
                                   BRATZ was and would                 Ex. 4$ (Strom, Lots of Com etition for
                    22
                                   continue to be atop-seller          2001's Hit Toy, New York Times
                    23             during 2001.                        (November 22, 2001));

                    24                                                 Ex, 49 (Playdate 2001 Unveils Retailers'
                                                                       Prediction for Holida Season's Best
                    25                                                 Selling Toys and Games, PR Newswire
                    26                                                 {October 16, 2001 });

                    27                                                 Ex. 50 (Shopping - A dame buyer's
                                                                        uide and a BRATZ a date Reuters
                    28
Q7209/2447527 . 1        I                                          _   ,.            Case No. CV 04-04049 SGL (RNBx)
                                                              MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 60 of 118 Page ID
                                               #:45423



                   1                    MGA MATERIAL FACTS                          MATTEL'S RESPONSE AND
                   2                    AND EVIDENCE CITED                           EVIDENCE OF DISPUTE
                                                                               {November 16, 2001)}.
                   3
                   4                                                           Evidentiary Objections
                   5
                   6                                                           Objection to Exhibits 48-50 attached to
                                                                               the supporting declaration of Jason D
                   7                                                           Russell on the grounds of hearsay. Fed.
                                                                               R. Evid. 801, 802.
                   8
                            46.        The press reported in 2001 that         Disputed.
                   9                   the SRATZ earned a Toy of the           Ex. 51 (The Hype; Where Christmas
                                       Y ear nom i nat i on i n 2 001 fr om    2002 is Job 1, The Daily News of Los
                  10                   the Toy Industry Association.           Angeles (December 27, 2001)}.
                  11
                  12                                                           Evidentiary Objections
                  13
                                                                               Objection to Exhibit 51 attached to the
                  14
                                                                               supporting declaration of Jason D Russell
                  15                                                           on the grounds of hearsay. Fed. R. Evid.
                                                                               801, 802.
                  16
                  17        47.        Adrienna Fontanella and Jill           Undisputed,
                                       Nordquist believed upon seeing         Ex. 8 (Fontanella) at 93:13-94:22 ("I
                  18                   the first BRATZ dolls in July          remember my reaction was this looks just
                                       2001 that they had been copied         like Diva Starz")•
                  19                   from Mattel's^line of "Diva                              '
                  20                   Starz."                                Ex. 22 Nord uist at 19S :5-17 196:16-
                                                                   .          22 «
                  21
                  22

                  23
                  24
                  25                                                                                           "}.
                            48.        Ivy Ross believed upon seeing          Disputed.
                  26                   the first BRATZ dolls that they
                  27                   had been copied from Mattel's          Ex. 10 {Ross} at 60:13-20.
                                       line of "Diva Starz" and "Toon
                  28                                                           Contrar Evidence:
0720912447527.1        (I                                                     59_               ase   o.   S- 9049 5GL (RNBx)
                              _.._ .      __
                                                                   MATTEL'S STATEMENT OF GENUINE ISSUE RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 61 of 118 Page ID
                                               #:45424



                   1
                                   MGA MATERIAL FACTS                    MATTEL 'S RESPONSE AND
                   2               AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                                  Teens."
                   3                                                As to "copied": Ross testified that when
                   4                                                she first saw Bratz she thou ht

                   S
                   6                                                                          "Deposition
                   7                                                Transcript of Ivy Ross Vol. 1 (" Ross Tr,
                                                                    Vol. 1 "}, dated July 18, 2006 at 60:13-20,
                                                                    Zeller Dec., Exh. 60.
                   9'
                                                                    Evrdentiary Ob,^ections
                  10'
                  lli
                                                                    Objection to the supporting deposition
                  12                                                transcript of Ivy Ross at 60:13-20 on the
                                                                    grounds that the statement is irrelevant
                  13                                                and confusing. Fed. R. Evid. 402, 403.
                  14        49.   Liy Martinez believed upon        Disputed,
                                  seeing the f rst BRATZ dolls in
                  15              2001 that they resembled her      Ex. 19 (Martinez) at 216:8-23;
                                  "Toon Teens" line of dolls.
                  16                                                Ex. 19 (Martinez} at 208:7-17;
                  17
                                                                    Ex. 18 (Simpson-Taylor) at 120:9-18.
                  18
                                                                    Contrary Evidence:
                  19
                                                                    As to Simpson-Taylor testimony cited as
                  20
                                                                    Ex. 18: The testimony indicates that Lily
                  21                                                Martinez onl re arted B ant's
                                                                    comments to her supervisors. The
                  22                                                testimony from Simpson-Taylor at 120:9-
                                                                    18, Zeller Dec., Exh. 62 follows:
                  23
                  24                                                THE WITNESS: Lily Martinez had
                                                                    spoken with Cassidy Park who I believe
                  25                                                was her supervisor stating that -- what
                                                                    I've previously testified about Carter
                  26                                                Bryant's comments made when he saw
                                                                    her project, and Lily communicated that
                  27
                                                                    to her supervisor who communicated that
                  28                                                to Iv Ross who was I believe Cassid

072D9/2447527.1         ^                                        _ 60-                         o o9049
                                                                                    Case No. CVE4-    _SGL (RNI3x)
                              _
                                                           MATTEL'S STATEMENT OF GENUINE ISSU , .S RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 62 of 118 Page ID
                                              #:45425



                  1          MGA MATERIAL FACTS                     MATTEL'S RESPONSE AND
                  2          AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                             Parks' supervisor and as a result of that
                  3                                          there was this review of potential
                  4                                          infringement of the Toon Teens idea,
                                                             concept, project.
                  5
                  6                                          Evidentiary Objections
                  7
                  8                                          Objection to the supporting deposition
                                                             transcript of Lily Martinez at 208:7-17
                  9                                          and 216:8-23 on the grounds that these
                                                             statements are irrelevant and confusing.
                 10                                          Fed. R. Evid. 402, 403.
                 11
                 12                                          Objection to the supporting deposition
                                                             transcript of Simpson Taylor at 120:9-18
                 13                                          on the grounds that these statements are
                                                             irrelevant and confusing. Fed. R. Evid.
                 14                                          402, 403.
                 15   S0.   Debbie Hastie [sic] informed     Disputed.
                            Elise Cloonan that BRATZ
                 16         looked like "Toon Teens" on      Ex. 28 (August 14, 2001 e-mail from
                 17         August 14, 2001.                 Debbie Hastie [sic] to Elise Cloonan).

                 18
                                                             Evidentiary Objections
                 19
                 20                                          Objection to Exhibit 28 attached to the
                                                             supporting Declaration of Jason D.
                 21                                          Russell on the grounds that this document
                 22                                          is irrelevant and confusing. Fed. R. Evid.
                                                             402, 403.
                 23   51.   The media reported on the        Disputed.
                 24         similarities between BRATZ
                            and Diva Starz in June 2001.     Ex. 45 (Jan Paschal, Shopping: BRATZ
                 25                                          tar et the `tween scene Reuters June 14
                                                             2001    "
                 26
                 27
                                                                         "})
                 28
a72o9na^^sz^.^                                            ..(^ _            Case No. CV 04-09049 SGL (RNBx)
                                                    MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 63 of 118 Page ID
                                               #:45426



                   1               MGA MATERIAL FACTS                    MATTEL'S RESPONSE AND
                   2               AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                                                                    Contrary evidence:
                   3
                   4                                                Although MGA and Isaac Larian
                                                                    received publicity in February 2001
                   5                                                regarding BRATZ, none of the articles
                                                                    cited make mention that Carter Bryant
                   6                                                was the creator of the BRATZ.
                   7
                                                                    MGA and Bryant admit that no public
                   8                                                statement even recognizing Bryant as
                                                                    Bratz's creator was issued until July 18,
                   9                                                2003, when the Wall Street Journal
                                                                    published an article with that
                  10                                                information. See e.^., MGA
                  11                                                Entertainment, Inc.'s Supplemental and
                                                                    Amended Responses to Mattel, Inc.'s
                  12                                                Third Set of Requests for Admission to
                                                                    MGA Entertainment, Inc., Nos. 183, 185,
                  13                                                Proctor Dec., Exh. 113; see also Carter
                  14                                                Bryant's Supplemental and Amended
                                                                    Responses to Mattel, Inc.'s Third Set of
                  1S                                                Requests for Admission to Carter Bryant
                                                                    Nos. 80-82, Zeller Dec., Exh. 82.
                  16
                  17                                                Evidentiary Objections
                  18
                  19                                                Objection to Exhibit 45 attached to the
                                                                    supporting declaration of Jason D Russell
                  20                                                on the grounds of hearsay. Fed. R. Evid.
                                                                    801, 802.
                  21
                            52.   Ann Driskill, Mattel's Senior     Disputed.
                  22              Director in the Collectibles
                                  Division, was informed of         Ex. 15 (Driskill} at 175:13-176:13;
                  23              Carter Bryant's involvement
                  24              with the BRATZ around the         Ex. 15 (Driskill} at 177:13-18.
                                  time of the BRATZ release in
                  25              2001.                             Contrary Evidence:
                  26                                                This mischaracterizes the testimony.
                                                                    Ms. Driskill did not put a time frame on
                  27
                                                                    when she learned of Bryant's
                  28                                                involvement onl that she learned B ant

p7209/2447527.1        I^                                        _   ..            Case No. CV 04-09049 SGL (RNBx}
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 64 of 118 Page ID
                                               #:45427



                   1            MGA MATERIAL FACTS                       MATTEL`S RESPONSE AND
                   2            AND EVIDENCE CITED                        EVIDENCE OF DISPUTE
                                                                   had some involvement in the creation of
                   3
                                                                   the Bratz dolls
                   4                                               Deposition of Ann Driskill Vol. 1 dated
                                                                   December 15, 2004, {"Driskill Tr. Vol.
                   5                                               1"), at 175:13-176:6, Zeller Dec., Exh.
                                                                   19.
                   6
                         53.   Durin 2001, it was "                Disputed.
                   7                     "within Mattel's
                               Design Center that Bryant was       Ex. 11 Cloonan at 30$:4-309:7 "
                               involved with BRA.TZ.
                   9
                  10
                  11
                  12
                  13'                                                                            "} {emphasis
                                                                   added);
                  14''
                                                                   Ex. 11 Cloonan at 132:4-133:1 {"^
                  15
                  16
                  17
                  1$
                  19
                  20
                  21
                  22
                                                                                     ^^)^
                  23
                  24                                               Ex. 11 Cloonan at 315:10-316:1$ "^
                  25
                  26
                  27
                  2$
D72D9/2447527.1                                                     16^_                  Case_ No. CV 04-09049 SGL (RNBx)
                                                  ^^ ^ ^^^^^^ ^-1VIATTEL 5 STATEMENT OF GENU INE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 65 of 118 Page ID
                                               #:45428



                   1        MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE

                   3
                   4
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                   6
                   7
                   8
                   9
                  10
                  11
                  12
                  13
                  14
                  15
                  16
                  17
                                                               s^}.
                  18
                  19                                      C©ntrary Evidence:
                  20                                      As to Cloonan Tr. at 132:4-133:1,
                  21                                      although Cloonan states that she heard
                                                          through the "                   "that
                  22                                      Bryant was involved with Bratz Cloonan
                                                            oes on to add "
                  23
                                                                                             ^^
                  24                                      Deposition Transcript o1 Elise Cloonan,
                  25                                      Vol . 1 ("Cloonan Tr . Vol . 1:} dated
                                                          December 14, 2007, at 133:1-3, Zeller
                  2b                                      Dec., Exh. 17. She also testified that
                                                          when she was asked by others at Mattel
                  27                                      in 2001 whether it was true that Bryant
                  28                                      was involved with Bratz she told them

a^zo9rzaaz5zz.i                                        _^j4_              Case No. CV 04-09049 SGL {RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PAIZTIES J
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 66 of 118 Page ID
                                                #:45429



                     I       MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                    2        AND EVIDENCE CITED                 EVIDENCE OF DISPUTE
                                                          that she did not know, Cloonan Tr. at
                    3'                                    325:10-19 "
                    4                                     ^" Zeller Dec,, Exh. 17.

                     5                                    Jill Nordquist denied that it was "^
                                                          ^" after Bratz f rst launched that
                     6                                    Bryant was involved with Bratz.
                                                          Nord uist Tr. 187:12 - 187:18 "
                     7
                     8
                     9
                    10
                    11                                                                   "), Zeller
                                                           Dec., Exh. 51.
                    12
                                                           It was not "                         "within
                    13                                     Mattel's Design Centex that Bryant was
                                                           involved with Bratz, as many Design
                    14
                                                           Center employees had never heard of
                    15                                     Carter Bryant. Deposition Transcript of
                                                           Joni Pratte ("Pratte Tr. "), dated June 1,
                    16                                     2007, at 70:I 1-18 (Pratte testified that
                                                           she did not know Carter B ant and had
                    17                                     never met him. "
                    18                                                               ") , Zeller Dec. ,
                                                           Exh. 83. Kislap Ongchangco, another
                    19                                     Design Center employee did not know
                                                           Bryant either. Deposition of Kislap
                    20                                     Ongchangco ("Ongchangco Tr.") dated
                                                           April 24, 2007, at 147:22:-148:2
                    21
                                                           (Ongchangco testified that he did not
                    22                                     know B ant "

                    23                                                            "} , Zeller Dec. , Exh.
                                                           84. Further, Ongchangco goes on to
                    24                                     testify that he only heard that Bryant had
                    25                                     any involvement in the Bratz dolls when
                                                           there was a lawsuit endin . "
                    26
                    27                                                          " (Ongchangco
                    28                                     Tr. at 193:19-194:20. Zeller Dec. Exh.

0720912447527 . 1        I                              _   ..            Case No. CV 04-09049 SGL (RNBx)
                                                  MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA FARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 67 of 118 Page ID
                                               #:45430



                   1
                              MGA MATERIAL FACTS                     MATTEL' S RESPONSE AND
                   2          AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                   3                                           84.

                   4                                          See also ¶ 13, support for DISPUTED
                                                              fact (Garcia's testimony regarding the
                   5                                          fact she did not even know Bryant was a
                                                              Mattel employee unti12004}.
                   6
                   7
                                                              Evidentiary Objections
                   8
                   9                                          Objection to the supporting deposition
                                                              transcript of Elise Cloonan at 132:4-
                  10                                          133:1, 308:4-309:7, 315:10-316:8 on the
                  11                                          grounds that her statements lack
                                                              foundation, are speculative, and
                  12                                          constitute inadmissible hearsay. Fed. R.
                                                              Evid. 104, 602, 801, 802.
                  13
                       54.   It was widely rumored within     Disputed.
                  14         Mattel between Bryant's
                             departure in October 2000 and    Ex. 18 Sim son-Ta Ior at 97:6-16 "
                  15         the release of BRATZ in 2001
                             that Bryant was involved with
                  16         MGA on the BRATZ.
                  17
                  18
                  19
                  20
                  21
                  22                                                                    ,^^.
                                                                                           s
                  23
                                                              Ex. 18 Sim son-Ta for at 95:5-100:23
                                                               GS
                  24
                  25
                  26
                  27
                  28
07209/2447527.1
                                                           _   _             Case No. CV 04-09049 SGL (RNBx)
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 68 of 118 Page ID
                                               #:45431




                             MGA MATERIAL FACTS                MATTEL' S RESPONSE AND
                   2         AND EVIDENCE CITED                 EVIDENCE OF DISPUTE

                   3
                   4
                   5                                           »)^

                   6                                      Ex. 22 Nord uist at 186:1-14 "
                   7
                   8
                   9
                  10
                  11
                  12
                  13
                                                                ^,).
                  14
                  15                                      Ex. 15 (Driskill) at 175:13-176:13,
                                                          177: i3-18;
                  16
                                                          Ex. 40 {Mattel's Supplemental Response
                  17
                                                          to MGA's Interrogatory No. 10, dated
                  1$                                      December 7, 2007).

                  19                                      Contrary Evidence:
                  20                                      None of the cited evidence supports the
                  21                                      conclusion that Mattel knew of Bryant's
                                                          involvement with Bratz before it was
                  22                                      released in June of 2001. T11 Nordquist
                                                          denied that it was "              "after
                  23                                      Bratz f rst launched that Bryant was
                                                          involved with Bratz. Nord uist Tr.
                  24
                                                          187:12 - 187:18 "
                  25
                  26
                  27
                  28
o^2ogr^4^^sa^.^                                        _^j7_             Case No. CV 04-09049 SGL (RNBx)
                       ...
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 69 of 118 Page ID
                                               #:45432



                   1
                            MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CYTED                  EVIDENCE OF DISPUTE
                                                                                         ") , Zeller
                   3
                                                          Dec., Exh. S 1.
                   4
                                                          Although Cloonan states that she heard
                   S                                      through the "                        "that
                                                          Bryant was involved with Bratz she
                   6                                      testified "
                   7
                                                                                  " Deposition
                   8                                      Transcript of Elise Cloonan, Vol. 1
                                                          ("Cloonan Tr. Vol. l :) dated December
                   9                                      14, 1007, at 133:1-3, Zeller Dec. Exh.
                                                          17. Cloonan testified that "
                  la                                                       " that she became aware
                  11                                      that Bryant might be involved with Bratz.
                                                          (Cloonan Tr. at 1 S 8:15-16). Zeller Dec.,
                  12                                      Exh. 17.
                  13                                      Tt was not "                       "within
                  14                                      Mattel's Design Center that Bryant was
                                                          involved with Bratz, as many Design
                  is                                      Center employees had never heard of
                                                          Carter Bryant. Deposition Transcript of
                  16                                      Joni Pratte ("Pratte Tr."), dated June 1,
                                                          2007, at 70:11-18 {Pratte testif ed that
                  17
                                                          she did not know Carter B ant and had
                  18                                      never met him. "
                                                                                   "), Zeller Dec.,
                  19                                      Exh. 83. Kislap Ongchangco, another
                                                          Design Center employee did not know
                  20                                      Bryant either. Deposition of Kislap
                  21                                      Ongchangco ("Ongchangco Tr. ") dated
                                                          April 24, 2007, at 147:22:-148:2
                  22                                      {Ongchangco testified that he did not
                                                          know B ant "
                  23
                  24                                                            . ") , Zeller Dec ., Exh .
                                                          84. Further, Ongchangco goes on to
                  2S                                      testify that he only heard that Bryant had
                                                          any involvement in the Bratz dolls when
                  26                                      there was a lawsuit endin . "
                  27-
                  28                                                                " On than co

072D9/2447527.i         ^                              _   _             Case No. CV 04-D9049 SGL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
               Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 70 of 118 Page ID
                                                 #:45433



                     1              MGA MATERIAL FACTS                    MATTEL'S RESPONSE AND
                     2              AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                                                                     Tr.) at 193:19-194:20., Zeller Dec., Exh.
                     3
                                                                     84.
                     4
                                                                     See also ¶ 13, support for DISPUTED
                     5                                               fact (Garcia's testimony regarding the
                                                                     fact she did not even know Bryant was a
                     6                                               Mattel employee until 2004}.
                     7
                     8                                               Evidentiary Objections

                     9
                                                                     Objection to the supporting deposition
                    10                                               transcript of Simpson Taylor at 97:6-16,
                                                                     98:5-100:23 on the grounds that her
                    11'
                                                                     statements lack foundation, are
                    12',                                             speculative, and constitute impermissible
                                                                     hearsay. Fed. R. Evid. 104, 602, 801,
                    13                                               802.
                    14
                             55.   Zn the summer of 2001, after      Disputed.
                    15             Margaret Leahy had left Mattel
                                   and done work for MGA, a          Ex. 16 (Leahy} at 204:22-205:21
                    16             friend from Mattel , Roxanna      205:25-206:4 "
                    17             Powell, asked Leahy about
                                   Carter Bryant's and Paula
                    18             Garcia's involvement in the
                                   BRATZ.
                    19
                    20                                                                                     ,^} .
                    21
                                                                     Contrary evidence:
                    22
                                                                    Roxanna Powell did not tell anyone at
                    23                                              Mattel that Margaret Hatch Leahy told
                    24                                              her that Bryant created Bratz.

                    25                                              See Deposition of Ivy Ross {"Ross Tr.),
                                                                    dated January 17, 2008 at 120:18- 121:2
                    26                                              (Ross knew Roxanna Powell but did not
                    27                                              recall ever having an discussions with
                                                                    Roxanna Powell "
                    28                                                           " Zeller Dec. Exh. 60• see

07209/2A97527 . 1        ^             _                         _69-              Case No . CV 04-09049 SGI. (RNBx} f
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 71 of 118 Page ID
                                                #:45434



                     1                MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                    2                 AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                                      also Deposition Transcript of Richard De
                    3                                                 Anda ("De Anda Tr."), dated December
                    4                                                 19, 2007 at 211:4-19 {De Anda did not
                                                                      know Powell's name or recall anyone
                     5                                                mentioning her name to him during the
                                                                      March 2002 investigation), Zeller Dec.,
                     6                                                Exh. 61; Deposition Transcript of
                                                                      Christina Tomiyama {"Tomiyama Tr."},
                     7
                                                                      dated February 27, 2008 at 289:21-
                     8                                                290:12 {Powell's name sounds "^"
                                                                      familiar to Tomiyama, but she does not
                     9'                                               have any memory of discussing Bryant,
                                                                      MGA or this lawsuit with Powell), Zeller
                    10                                                Dec., Exh. 1 S; Deposition of Ana Elise
                    11                                                Cloonan ("Cloonan Tr."), dated
                                                                      December 14, 2007 at 308:17-309:7
                    12                                                (Cloonan testified that she talked to
                                                                      Powell sometime in 2001 about the fact
                    13                                                that Bryant "probably" designed Bratz},
                                                                      Zeller Dec., Exh. 17; id. at 31 S :10-23
                    14
                                                                       Cloonan testified that "
                    15
                    16
                                                                                                "}.
                    17
                    18                                                Roxanna Powell was not a supervisor at
                                                                      Mattel. Ross Tr. at.120:20-23 {Powell
                    19
                                                                      was "                  "), Zeller Dec., Exh.
                    20                                                60.
                    21
                                                                      Evidentia     Ob'ections
                    22
                    23
                                                                      Objection to the supporting deposition
                    24                                                transcript of Leahy at 204;22-205:21 on
                                                                      the grounds that her statements lack
                    2S                                                foundation and are speculative. Fed. R.
                                                                      Evid. 104, 602.
                    26
                               S6.   Toward the end of 2001 and       Disputed.
                    27               continuing into early 2002,
                                     Mattel's Le al De artment        Ex, 11 Cloonan at 318:1-6•
                    28
07209/2Qg7527 , i                                                  _']n_             Case No . CV 04-09049 SGL {RNBx}
                          I^                                 MATTEL'S STATEMENT OP GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 72 of 118 Page ID
                                              #:45435



                  11        MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                            AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                           became involved in Mattel's
                           ongoing inquiry into the          Ex. 18 (Simpson-Taylor) at 187:13-
                           potential infringement of "Yvon   188:5.
                           Teens."
                                                             The evidence does not support the facts
                                                             for which it is cited:

                                                             Cloonan acknowledged that she
                  7
                                                             personally had no involvement in 2002
                  8                                          related to any investigation of Toon
                                                             Teens. Cloonan Tr. at 316:19-318:22,
                  9                                          Zeller Dec. Exh. 17.
                 10                                          Simpson-Taylor testified that Ivy Ross
                 11                                          had a meeting with Mattel Security about
                                                             the potential infringement of Toon Teens.
                 12                                          She testified that there was a meeting
                                                             with Michele McShane from Mattel
                 13                                          le al"
                                                                                                       ^r
                 14
                                                             at that time. Simpson Taylor Tr. at
                 15                                          186:13-187:22, Zeller Dec., Exh. 62.
                 16                                          Deposition Transcript of Kathleen
                                                             Simpson-Taylor ("Simpson Tr."}, dated
                 17                                          February 23, 2008, at 75:8-24 Sim son
                 18                                          testified when asked "

                 19
                 20
                 21
                 22
                 23                                                         "}, Zeller Dec., Exh. 62. In
                                                             fact, Simpson-Taylor clarified that it was
                 24                                          not her recollection that at the time that
                 25                                          the review was initiated by Mattel, it was
                                                             known that Carter B ant was the creator
                 26                                          of Bratz. "                             "
                                                             Zeller Dec., Exh. 62; id. at 75:21-24
                 27
                 28                                          Mattel conducted an investi anon in

07209R4A7527.1         I                                 _'] ^ _    _      Case No. Cy 04-09049 SGL (RNBx)
                                                   MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 73 of 118 Page ID
                                              #:45436



                   1       MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                  2        AND EVIDENCE CITED                 EVIDENCE OF DISPUTE
                                                         Spring 2002 based on allegations that
                   3                                     Bryant may have plagiarized Toon Teens
                   4                                     and created Bratz dolls for MGA, not
                                                         whether Mr. Bryant created Bratz or
                   5                                     worked with MGA during his Mattel
                                                         employment. Richard de Anda, who
                   6                                     conducted the investigation regarding the
                                                         potential infringement of Toan Teens,
                   7
                                                         testified that he f rst heard of Bryant,
                   8                                     MGA and Larian in March 2002,
                                                         De Anda Tr. at 166:5-167:9, Zeller Dec.,
                   9                                     Exh. 61. He testified that he received a
                                                         phone call in March 2002 re ardin
                  10
                  11
                  12'
                  13.                                                    " De Anda Tr. at 167:10-
                                                         169: S, Zeller Dec., Exh. 61.
                  14
                  15
                                                         As part of that investigation, Mattel
                  16                                     investigated allegations that Carter
                                                         Bryant may have gone to work for MGA.
                  17                                     However, Mattel did not discover any
                  18                                     evidence showing that Carter Bryant
                                                         worked for MGA. See Ex. 1195 at M
                  19                                     0074372, Zeller Dec., Exh. 86; De Anda
                                                         Vol. 1 at 173 :12-17 notin it was his
                  20                                     understandin that "
                                                                                 "} , Zeller Dec. ,
                  21                                     Exh. 61; De Anda Vol. 1 at 243:24-
                  22                                     244:14 When asked whether "

                  23
                  24
                  25
                                                                          ") , Zeller Dec ., Exh. 61.
                  26                                     See also Mattel, Inc.'s Supplemental
                                                         Response to MGA's First Set of
                  27                                     Interrogatories, Nos. 10 & 11, dated
                                                         December 7, 2007, Zeller Dec., Exh. 87.
                  28
o^zo9rzaa^sx^.i                                       _"]2_             Case No. CV 04-09049 SGL (RNBx)
                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PART[E5
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 74 of 118 Page ID
                                              #:45437



                  1              MGA MATERIAL FACTS                     MATTEL'S RESPONSE AND
                  2              AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                   Evidcntiary Objections
                  3
                  4
                                                                   Objection to the supporting deposition
                  5                                                transcript of Elise Cloonan at 318:1-6
                                                                   on the grounds that this testimony is
                  6                                                irrelevant, confusing, and lacks
                                                                   foundation. Fed. R. Evid. 104, 402, 403.
                  7
                  8       57.   On March 15, 2002, Robert       Disputed.
                  9             Simoneau, a Mattel employee in
                                charge of Mattel's internal     Ex. 12 (Simoneau) at 122:24-123:8;
                 10             investigations, opened a formal
                                "Incident Report" to investigate   Ex. 29 {Mattel Incident Report dated
                 11             the alleged theft of Mattel's      March 20, 2002 regarding Isaac Larian
                                proprietary information by         and MGA}.
                 12             Carter Bryant.
                 13                                                Contrary evidence:

                 14                                                The "fact" is not precise. On March 1 S,
                                                                   2002, Mr. Simoneau prepared an incident
                 15                                                report to investigate whether Bratz
                                                                   infringed Mattel's rights in Toon Teens.
                 1^
                                                                   Deposition transcript of Robert Simoneau
                 17                                                (Simoneau Tr.), dated 1/28/08, at 138:24-
                                                                   139:8 (Simoneau testifying regarding the
                 18                                                March 2002 incident report that he met
                                                                   with Cassidy Park to get more
                 19                                                information on the MGA issue and that
                 20                                                she "

                 21
                 22
                 23
                 24
                 25
                                                                           ") Zeller Dec. , Exh. 85; id. at
                 26                                                139:4-17.
                 27
                                                                   Deposition Transcript of Kathleen
                 2$                                                Sim son-Ta for "Sim son Tr." dated
o^zo9n4a^sz^.^        ^                                         _ _               Case No. CV Q4-09049 SGL (ANBx}
                                                          MATTEL'S STATEMENT QF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 75 of 118 Page ID
                                               #:45438



                   1        MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                          February 23, 2008, at 75:8-24 Sim son
                   3                                      testified when asked "
                   4
                   5
                   6
                   7
                   8
                                                                           "}. In fact , Simpson-Taylor
                   9                                      clarified that it was not her recollection
                                                          that at the time that the review was
                  10                                      initiated by Mattel, it was known that
                  11                                      Carter B ant was the creator of Bratz.
                                                          "                              "Zeller Dec. ,
                  12                                      Exh. 62; id. at 75 :21-24
                  13                                      In March 2002, Mattel investigated
                  14                                      allegations that Bratz dolls may have
                                                          been "            " Toon Teens.
                  15                                      Deposition Exhibit 1195 at M 0074310,
                                                          Zeller Dec., Exh. 86.
                  16
                                                          The investigation was to determine if
                  17                                      someone at MGA may have had access to
                  18                                      these internal Mattel drawings. As part
                                                          of that investigation, Mattel investigated
                  19                                      allegations that Carter Bryant may have
                                                          gone to work for MGA. However,
                  20                                      Mattel did not discover any evidence
                  21                                      showing that Carter Bryant worked for
                                                          MGA. Id. at M 0074372, Zeller Dec.,
                  22                                      Exh. 86. De Anda Vol. 1 at 173:12-17
                                                          (noon it was his understandin that
                  23                                      ^^
                                                                "} , Zeller Dec. , Exh. 61; De Anda
                  24
                                                          Val. 1 at 243:24-244:14 When asked
                  25                                      whether "

                  26
                  27
                  28                                                              " Zeller Dec.

o^za9^zaa^sz^.i                                        _'74_             Gase No. CV 04-09049 SGL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 76 of 118 Page ID
                                              #:45439



                   1          MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2          AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                             Exh, 61. The investigation did not
                   3                                         concern any allegation that Bryant
                   4                                         created Bratz while employed by Mattel,
                                                             used Mattel resources to create Bratz, nor
                   5                                         entered into contract with MGA while
                                                             still employed by Mattel. See id.; see
                   6                                         also Mattel, Inc.'s Supplemental
                   7                                         Response to MGA's First Set of
                                                             Interrogatories, Nos. 10 & 11, dated
                   8                                         December 7, 2007, Zeller Dec., Exh. 87.

                   9
                                                             Evidentiary Objections
                  10
                  11                                         Objection to the supporting deposition
                  12                                         transcript of Ms. Simpson-Taylor at
                                                             187:13 -188 :5 on the grounds that the
                  13                                         statements are irrelevant and confusing.
                                                             Fed. R. Evid. 402, 403.
                  14
                  15                                         Objection to the supporting deposition
                  16                .                        transcript of Robert Simoneau at 122:24-
                                                             123:8 on the grounds that the statements
                  17                                         are irrelevant and confusing. Fed. R.
                                                             Evid. 402, 403.
                  18
                  19                                         Objection to exhibit 29 attached to the
                  20                                         supporting declaration of Jason Russell
                                                             on the grounds that this document is
                  21                                         irrelevant and confusing. Fed. R. Evid.
                                                             402, 403.
                  22
                       58.   Mattel opened Case No. 02-115   Disputed.
                  23         to look into
                                                             Ex. 29 (Mattel Incident Report dated
                  24                                         March 20, 2002 regarding Isaac Larian
                                                             and MGA}.
                  25
                  26                                         Contrary Evidence:

                  27                                         In March 2002, Mattel investigated
                                                             alle ations that Bratz dolls ma have
                  28
o^ao9i2aa^s2^.i                                           _'75_              Case No. CV 04-09049 SGL (RNBx}
                                                    MATTEL' S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 77 of 118 Page ID
                                               #:45440



                    1          MGA MATERIAL FACTS             MATTEL'S RESPONSE AND
                    2          AND EVIDENCE CITED               EVIDENCE OF DISPUTE
                                       "                 been "            "from Toon Teens.
                    3                                    Deposition Exhibit 1195 at M 0074310,
                    4                                    Zeller Dec., Exh. 86.

                    5                                    The investigation was to determine if
                                                         someone at MGA may have had access to
                    6''                                  Toon Teens. As part of that
                    7                                    investigation, Mattel investigated
                                                         allegations that Carter Bryant may have
                    S                                    gone to work for MGA. However,
                                                         Mattel did not discover any evidence
                    9                                    showing that Carter Bryant worked for
                                                         MGA. Id. at M 0074372, Zeller Dec.,
                   10                                    Exh. 86 De Anda Vol. 1 at 173:12-17
                   11                                    (notin it was his understandin that
                                                         ^^
                   12                                          "} , Zeller Dec. , Exh. 61; De Anda
                                                         Vol. 1 at 243:24-244:14 When asked
                   13                                    whether "
                   14
                   15
                                                                     " de Anda responded "
                   16                                                            "} , Zeller Dec. ,
                                                          Exh. 61. The investigation did not
                   17                                     concern any allegation that Bryant
                   18                                     created Bratz while employed by Mattel,
                                                          used Mattel resources to create Bratz, nor
                   19                                     entered into contract with MGA while
                                                          still employed by Mattel. See id.; see
                   20                                     also Mattel, Inc.'s Supplemental
                   21
                                                          Response to MGA's First Set of
                                                          Interrogatories, Nos. 10 & 11, dated
                   22                                     December 7, 2007, Zeller Dec., Exh. 87.

                   23
                                                          Evidentiary Objections
                   24
                   25                                     Abjection to exhibit 29 attached to the
                   26                                     supporting declaration of Jason Russell
                                                          on the grounds that this document is
                   27                                     irrelevant and confusing. Fed. R. Evid.
                                                          402, 403.
                   28
07209/2447527. 1          II                           _   _             Case No. CV Q4-09049 SGL (RNBx)
                                                 MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 78 of 118 Page ID
                                               #:45441



                   1                 MGA MATERIAL FACTS                 MATTEL`S RESPONSE AND
                   2                 AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                              59.   Isaac Larian is listed on      Disputed.
                   3                Mattel's March 20, 2002
                   4                Incident Report as a "^ . "    Ex . 29 (Mattel Incident Report dated
                                                                   March 20, 2002 regarding Isaac Larian
                   5                                               and MGA};
                   6                                               Ex. 13 De Anda at 179:11-180:9 "
                   7
                   8
                   9^^                                                               ,^^.

                  10'.
                                                                   Contrary Evidence:
                  11'
                                                                   The Incident Report does not state that
                  12                                               Mattel was suspicious that Bryant created
                  13                                               Bratz while at Mattel. The Incident
                                                                   Re ort narrative states that "
                  14
                  15
                  16
                  17
                                                                                            " Exhibit 1195 at M
                  18                                               0074310-11, Zeller Dec., Exh. $6.
                  19                                               In March 2002, Mattel investigated
                  20                                               allegations that Bratz dolls may have
                                                                   been "            "from Toon Teens.
                  21                                               Deposition Exhibit 1195 at M 0074310,
                                                                   Zeller Dec., Exh. 86.
                  22
                  23                                               As part of that investigation, Mattel
                                                                   investigated allegations that Carter
                  24                                               Bryant may have gone to work for MGA.
                                                                   However, Mattel did not discover any
                  25                                               evidence showing that Carter Bryant
                                                                   worked for MGA. Id. at M 0074372,
                  26                                               Zeller Dec., Exh. 86. De Anda Vol. 1 at
                  27                                               173:12-17 {noting it was his
                                                                   understandin that "
                  28                                                                         " Zeller Dec.
07209!2447527.1          II                                      _^^_              Case No. CV 04-09049 SGL {RNBx)
                                                          MATTEIr'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 79 of 118 Page ID
                                                #:45442



                    1
                                MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                    2           AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                               Exh. 61; De Anda Vol. 1 at 243:24- "
                    3
                                                               244:14 When asked whether "
                    4
                    5
                    6
                    7                                                           "), Zeller Dec., Exh. 61.
                                                               The investigation did not concern any
                    S                                          allegation that Bryant created Bratz while
                                                               employed by Mattel, used Mattel
                    9                                          resources to create Bratz, nor entered into
                   10                                          contract with MGA while still employed
                                                               by Mattel. See id.; see also Mattel, Inc.'s
                   11                                          Supplemental Response to MGA's First
                                                               Set of Interrogatories, Nos. 10 & 11,
                   12                                          dated December 7, 2007, Zeller Dec.,
                                                               Exh. 87.
                   13
                   14
                                                               Evidentia     Ob'ections
                   1S
                                                               Objection to exhibit 29 attached to the
                   16                                          supporting declaration of Jason Russell
                                                               on the grounds that this document is
                   17                                          irrelevant and confusing. Fed. R. Evid.
                                                               402, 403.
                   18
                   19                                          Objection to the supporting deposition
                                                               transcript of Richard de Anda at 172:2-
                   20'                                         180:9 on the grounds that this testimony
                   21                                          is irrelevant and confilsing. Fed. R. Evid.
                                                               402, 403.
                   22    60.   On March 20, 2002, Robert       Disputed.
                   23          Simoneau met with Ivy Ross      Ex. 29 at MGA0074372B "
                               "^se.,^
                   24                                                               »).
                   25
                                                               The evidence does not support the facts
                   26                                          for which it is cited:
                   27                                          In March 2002, Mattel investigated
                   28                                          alle ations that Bratz dolls ma have

a^za9r^aa^s27. ^                                            _ _               Case No. CV 04-09049 SGL {RNBx)
                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 80 of 118 Page ID
                                                #:45443



                     1           MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                     2           AND EVIDENCE CITED                 EVIDENCE OF DISPUTE
                                                              been "            "from Toon Teens.
                     3                                        Deposition Exhibit 1195 at M 0074310,
                     4                                        Zeller Dec., Exh. 86.

                     5                                        As part of that investigation, Mattel
                                                              investigated allegations that Carter
                     6                                        Bryant may have gone to work for MGA.
                     7                                        However, Mattel did not discover any
                                                              evidence showing that Carter Bryant
                     8                                        worked for MGA. Id. at M 0074372,
                                                              Zeller Dec., Exh. 86; De Anda Vol. 1 at
                     9                                        173:12-17 {noting it was his
                                                              understandin that "
                    10                                                                ") , Zeiler Dec. ,
                    11                                        Exh. 61; De Anda Vol. 1 at 243:24-
                                                              244:14 When asked whether "
                    12
                    13
                    14
                    15                                                         ") , Zeller Dec. , Exh. 61 .
                                                              The investigation did not concern any
                    16                                        allegation that Bryant created Bratz while
                                                              employed by Mattel, used Mattel
                    17
                                                              resources to create Bratz, nor entered into
                    18                                        contract with MGA while still employed
                                                              by Mattel. See id.; see also Mattel, Inc.'s
                    19                                        Supplemental Response to MGA's First
                                                              Set of Interrogatories, Nos. 10 & 11,
                    20                                        dated December 7, 2007, Zeller Dec.,
                    21                                        Exh. 87.

                    22
                                                              Evidentiary Objections
                    23
                    24'                                       Objection to exhibit 29 attached to the
                                                              supporting declaration of Jason Russell
                    25
                                                              on the grounds that this document is
                    26                                        irrelevant and confusing. Fed. R. Evid.
                                                              402, 403.
                    27
                          61.   On March 28 2002 Robert       Dis uted.
                    28
o^zosrz4a^sz7 . i                                          _'79_             Case No. CV 04-09049 SGL (RNBx}
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 81 of 118 Page ID
                                                #:45444



                             MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                   2          AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                            Simoneau met with Cassidy
                   3
                            Park, who alle ed that Bryant
                   4        had "           " an earlier
                            design by Lilly Martinez when
                   S        he created BRA,TZ for MGA.
                   6
                   7
                                                            Ex. 12 (Simoneau } at 136:16-137:1
                                                            (describing March 20, 2002 report}.
                   9
                  10                                        Contrary Evidence:

                  11                                        In March 2002, Mattel investigated
                                                            allegations that Bratz dolls may have
                  12                                        been "            "from Toon Teens.
                                                            Deposition Exhibit 1195 at M 0074310,
                  13                                        Zeller Dec., Exh. 86.
                  14
                                                            The investigation was to determine if
                  15                                        someone at MGA may have had access to
                                                            these internal Mattel drawings. As part
                  16                                        of that investigation, Mattel investigated
                  17                                        allegations that Carter Bryant may have
                                                            gone to work for MGA. However,
                  18                                        Mattel did not discover any evidence
                                                            showing that Carter Bryant worked for
                  19                                        MGA. Id. at M 0074372, Zeller Dec.,
                                                            Exh. 86. De Anda Vol. 1 at 173:1217
                  20
                                                            (notin it was his understandin that
                                                            ,^
                  21
                                                                  "), Zeller Dec., Exh. 61; De Anda
                  22                                        Vol. I at 243:24-244:14 When asked
                  23
                  24
                  25
                                                                                  "), Zeller Dec.,
                  26                                        Exh. 61. The investigation did not
                                                            concern any allegation that Bryant
                  27
                                                            created Bratz while employed by Mattel,
                  2$
0720912447527.1        II                                _                 Case No. CV 04-09049 SGL (RNBx)
                                                   MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 82 of 118 Page ID
                                               #:45445



                   1
                                   MGA MATERIAL FACTS                    MATTEL'S RESPONSE AND
                   z               AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                                                                     entered into contract with MGA while
                   3
                                                                     still employed by Mattel. See id.; see
                   4                                                 also Mattel, Inc.'s Supplemental
                                                                     Response to MGA's First Set of
                   5                                                 Interrogatories, Nos. 10 & 11, dated
                                                                     December 7, 20x7, Zeller Dec., Exh. $7.
                   6
                   7
                                                                     Evidentiary Objections
                   8
                   9                                                 Objection to the supporting deposition
                                                                     transcript of Robert Simoneau at 136:16-
                  10                                                 137:1 on the grounds that this testimony
                  11                                                 is irrelevant and confusing. Fed. R. Evid.
                                                                     402, 403.
                  12
                  13                                                 Objection to exhibit 29 attached to the
                                                                     supporting declaration of Jason Russell
                  14                                                 on the grounds that this document is
                                                                     irrelevant and confusing. Fed. R. Evid.
                  15                                                 402, 403.
                  16
                            62.   According to Richard De Anda,      Disputed.
                  17              head of Mattel's Security,
                                  Mattel's investi ation of Bryant   Ex. 13 (De Anda) at 179:11-180:9.
                  18^             and MGA as "
                  19                                                 Contrary Evidence:
                                       " for their work on
                  2a              BRATZ, began in March 2002.        In March 2002, Mattel investigated
                                                                     allegations that Bratz dolls may have
                  21                                                 been "            "from Toon Teens .
                  22                                                 Deposition Exhibit l 195 at M 0074310,
                                                                     Zeller Dec., Exh. 86.
                  23
                                                                     As part of that investigation, Mattel
                  24                                                 investigated allegations that Carter
                                                                     Bryant may have gone to work for MGA.
                  25                                                 However, Mattel did not discover any
                  26                                                 evidence showing that Carter Bryant
                                                                     worked for MGA. Id. at M 0074372,
                  27                                                 Zeller Dec., Exh. $6. De Anda Vol. 1 at
                                                                     173:12-17 (noting it was his
                  28                                                 understandin that "
p7209/2447527.1        ^^                                        ..  _             Case No. CV 04-09044 SGL (RNBx}
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA AARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 83 of 118 Page ID
                                              #:45446



                   1               MGA MATERIAL FACTS                 MATTEL ' S RESPONSE AND
                   2               AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                                                      "} , Zeller Dec. ,
                   3                                              Exh. $6; De Anda Vol. 1 at 243:24-
                   4                                              244:14 When asked whether "

                   S
                   6
                   7
                                                                                   ") , Zeller Dec. , Exh. 86.
                   8                                              The investigation did not concern any `
                                                                  allegation that Bryant created Bratz while
                   9                                              employed by Mattel, used Mattel
                                                                  resources to create Bratz, nor entered into
                  lp                                              contract with MGA while still employed
                  11                                              by Mattel. See id.; see also Mattel, Int.'s
                                                                  Supplemental Response to MGA's First
                  12                                              Set of Interrogatories, Nos. 10 & 11,
                                                                  dated December 7, 2007, Zeller Dec.,
                  13                                              Exh. 87.
                  14
                  15                                              Evidentiary Objections

                  16
                                                                  Abjection to the supporting deposition
                  17                                              transcript of Richard De Anda at 179:11-
                                                                  1$0:9 on the grounds that this testimony
                  18                                              lacks foundation, is speculative, and is
                  19                                              irrelevant and confixsing. Fed. R. Evid.
                                                                  104, 402, 403, 602.
                  2a        63.   De Anda had a phone call in     Disputed.
                  21              March 2002 with either Ivy
                                  Ross or Cassid Park where he    Ex. 13 {De Anda} at 172:2-178:17.
                  22              testified that "
                                                                  Contrary Evidence:
                  23
                  24                                              In March 2002, Mattel investigated
                                                                  allegations that Bratz dolls may have
                  25                                              been "            "from Toon Teens.
                                                                  Deposition Exhibit 1195 at M 0074310,
                  26                                              Zeller Dec. Exh. 86.
                                           ^r
                  27                                              As part of that investigation, Mattel
                  28                                              investi aced alle ations that Carter

o7zo9^zaa^sz^.^                                                _^2_              Gase No. Gy 04-090.49 SGL (RNBx}
                       II                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 84 of 118 Page ID
                                               #:45447



                   1               MGA MATERIAL FACTS                   MATTEL'S RESPONSE AND
                   2               AND EVIDENCE CITED                    EVIDENCE OF DISPUTE
                                                                   Bryant may have gone to work for MGA.
                   3                                               However, Mattel did not discover any
                   4                                               evidence showing that Carter Bryant
                                                                   worked for MGA. Id. at M 0074372,
                   5                                               Zeller Dec., Exh. 86. De Anda Vol. 1 at
                                                                   173 :12-17 (noting it was his
                   6                                               understandin that "
                   7                                                                      "} , Zeller Dec. ,
                                                                   Exh. 61; De Anda Vol. 1 at 243 :24-^
                   8                                               244:14 When asked whether "
                   9
                  10
                  11
                                                                                    "}, Zeller Dec., Exh. 61.
                  12                                               The investigation did not concern any
                                                                   allegation that Bryant created Bratz while
                  13                                               employed by Mattel, used Mattel
                  14                                               resources to create Bratz, nor entered into
                                                                   contract with MGA while still employed
                  IS                                               by Mattel. See id.; see also Mattel, Inc.'s
                                                                   Supplemental Response to MGA's First
                  16                                               Set of Interrogatories, Nos. 10 & 11,
                                                                   dated December 7, 2007, Zeller Dec.,
                  17                                               Exh. 87.
                  18
                  19                                               Evidentiary Objections

                  20
                                                                   Objection to the supporting deposition
                  21                                               transcript of Richard De Anda at 172:2-
                  22                                               178:17 on the grounds that this testimony
                                                                   lacks foundation, is speculative, and is
                  23                                               irrelevant and confusing. Fed. R. Evid.
                                                                   104, 402, 403, 602.
                  24
                            64.   Mattel's Legal department was    Disputed.
                  25              involved in the March 2002
                                  investigation.                   Ex. 18 Sim son-Ta for at 187:13-188:5
                  26
                  27
                  28
07204/2447527.1        ^^                                       _$3_              Case No. CV 04-09049 SGL {RNBx}
                                                          MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 85 of 118 Page ID
                                              #:45448



                   1       MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2       AND EVIDENCE CITED                  EVIDENCE OF DISPUTE

                   3
                   4
                   5
                   6
                   7
                   S
                   9
                 10
                 11 ''I
                                                                          .                 ").
                 12^
                                                         Contrary Evidence:
                 13
                 14                                      In March 2002, Mattel investigated
                                                         allegations that Bratz dolls may have
                 15                                      been "            "from Toon Teens.
                                                         Deposition Exhibit 1195 at M 0074310,
                 16                                      Zeller Dec., Exh. 86.
                 17                                      As part of that investigation, Mattel
                 18                                      investigated allegations that Carter
                                                         Bryant may have gone to work for MGA.
                 19                                      However, Mattel did not discover any
                                                         evidence showing that Carter Bryant
                 20                                      worked for MGA. Id. at M 0074372,
                 21                                      Zeller Dec., Exh. 86. De Anda Vol. 1 at
                                                         173 :12-17 {noting it was his
                 22                                      understandin that "
                                                                             ") , Zeller Dec. ,
                 23                                      Exh. 61; De Anda Val. 1 at 243:24-
                                                         244:14 When asked whether "
                 24
                 25
                 26
                 27                                                      "} , Zeller Dec. , Exh . 61 .
                 28                                      The investi ation did not concern an

o^zosnaa^sz^.^         ^                              ..  -             Case Na. CV 04 -09049 SGL (RNBx)
                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 86 of 118 Page ID
                                               #:45449



                   1          MGA MATERIAL FACTS                  MATTEL' S RESPONSE AND
                   2          AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                                                              allegation that Bryant created Bratz while
                   3
                                                              employed by Mattel, used Mattel
                   4                                          resources to create Bratz, nor entered into
                                                              contract with MGA while still employed
                   5                                          by Mattel. See id.; see also Mattel, Inc.'s
                                                              Supplemental Response to MGA's First
                   6                                          Set of Interrogatories, Nos, 10 & 11,
                   7                                          dated December 7, 2007, Zeller Dec.,
                                                              Exh. 87.
                   8
                                                              De Anda testified that he did not know
                   9                                          whether the Law Department was
                                                              conducting its own investigation of the
                  10
                                                              accusations. De Anda Tr. at 284:7-19,
                  11                                          Zeller Dec. Exh. 61. Rather, to the extent
                                                              .they were involved, De Anda understood
                  12                                          that legal was not conducting a factual
                                                              investigation of the claim. De Anda Tr.
                  13                                          at 206:3-207:17 "
                  14
                  15
                  16
                                                                                     . ") , Zeller Dec .,
                  17
                                                              Exh. 61.
                  18
                  19                                          Evidentiary Objections
                  20
                                                              Objection to the supporting deposition
                  21                                          transcript of Simpson-Taylor at 187:13-
                  22                                          188:5 on the grounds that this testimony
                                                              is irrelevant and confusing. Fed. R, Evid.
                  23                                          402, 403.
                  24   65.   As part of his follow up, De     Disputed.
                             Anda contacted an attorney in
                  25         Mattel's Legal Department,       Ex. 13 {De Anda} at 182:3-21, 200:21-
                             Michelle McShane, who            201:16, 205:12-207:17.
                  26         informed him she was already
                             aware of the issue, and they     Contrary evidence:
                  27
                             arranged a meeting with Ivy
                  28         Ross Cassid Park and Robert      De Anda testified that he did not know

0720912447527.1         __                                 - ^..            Case No. CV 04-09Q49 SG
                                                                                                  L (R Bx)
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA  PA^TIES
                                                                                                      ^ ^^
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 87 of 118 Page ID
                                               #:45450



                   I
                               MGA MATERIAL FACTS                  MATTEL' S RESPONSE AND
                   2            AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                              Simoneau "                      whether the Law Department was
                   3
                                                              conducting its own investigation of the
                   4                                          accusations . De Anda Tr. at 284:7-19,
                                                              Zeller Dec. Exh. 61. Rather, to the extent
                   5                                          they were involved, De Anda understood
                                                              that legal was not conducting a factual
                   6                                          investigation of the claim. De Anda Tr.
                   7                                          at 206:3-207:17 "
                                                     " in
                   8          the investigation.
                   9
                  IO
                                                                                      ") (emphasis added) ,
                  li                                          Zeller Dec., Exh. 61.
                  I2
                                                              Evidentiary Objections
                  I3
                  14                                          Objection to the supporting deposition
                  15                                          transcript of Richard De Anda at 183:2-
                                                              21, 200:21-201:6, and 205:12-207:17 on
                  16'                                         the grounds that this testimony is
                                                              irrelevant and confusing. Fed. R. Evid.
                  17                                          402, 403.
                  18
                  19    66.   De Anda followed up with        Disputed.
                              several, regular phone calls
                  20          concerning the investigation
                              with Ms. McShane and was told
                  21          that it was in the hands of     Evidentiary Objections
                  22          outside counsel.                                     ^'

                  23                                          Objection to the supporting deposition
                                                              transcript of Richard De Anda at
                  24                                          230:15:20 on the grounds that this
                  25                                          testimony is irrelevant and confixsing.
                                                              Fed. R. Evid. 402, 403.
                  26
                  27                                          Objection to the supporting deposition
                                                              transcript of Richard De Anda at 258:25-
                  28                                          259:15 on the rounds that this testimon
0720912447527.1
                                       _                   _^{^_             Case No. CV 04-09049 SGL (RNSx)
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 88 of 118 Page ID
                                               #:45451



                   1
                               MGA MATERIAL FACTS                         MATTEL'S RESPONSE AND
                   2           AND EVIDENCE CITED                          EVIDENCE OF DISPUTE
                                                                     is irrelevant and confusing. Fed. R. Evict.
                   3
                                                                     402, 403.
                   4    67.   Mattel's investigation,                Disputed.
                              including looking into the
                   5
                              activities of Carter Bryant and        Ex. 40 (Mattel's Supplemental Response
                   6          Isaac Larian, continued into the       to MGA's Interrogatory No. 10, dated
                              spring of 2002.                        December 7, 2007).
                   7
                   8                                                 Contrary evidence:

                   9                                                 In March 2002, Mattel investigated
                                                                     allegations that Bratz dolls may have
                  la                                                 been "            "from Toon Teens.
                                                                     Deposition Exhibit 1195 at M 0074310,
                  lI                                                 Zeller Dec., Exh. 86.
                  I2                                                 As part of that investigation, Mattel
                  13                                                 investigated allegations that Carter
                                                                     Bryant may have gone to work for MGA.
                  I4                                                 However, Mattel did not discover any
                                                                     evidence showing that Carter Bryant
                  IS                                                 worked for MGA. Id. at M 0074372,
                  16                                                 Zeller Dec., Exh. 86. De Anda Vol. 1 at
                                                                     173:12-17 (noting it was his
                  17                                                 understandin that "
                                                                                         ") , Zeller Dec .,
                  18                                                 Exh. 61; De Anda Vol. 1 at 243:24-
                                                        .            244:14 When asked whether "
                  19
                  20
                  21
                  22                                                                  ") , Zeller Dec ., Exh . 61 .
                  23                                                 The investigation did not concern any
                                                                     allegation that Bryant created Bratz while
                  24                                                 employed by Mattel, used Mattel
                                                                     resources to create Bratz, nor entered into
                  25.                                                contract with MGA while still employed
                                                                     by Mattel. See id.; see also Mattel, Inc.'s
                  261                                                Supplemental Response to MGA's First
                  27                                                 Set of Interrogatories, Nos. 10 & 11,
                                                                     dated December 7 2007 Zeller Dec.
                  28
o^zo9^z4a^sz^.E                                                   _87_              Case No. CV 04-09049 SGL (RNBx)
                                                            MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 89 of 118 Page ID
                                               #:45452



                   I          MGA MATERIAL FACTS                     MATTEL'S RESPONSE AND
                   2          AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                                                                Exh. 87.
                   3
                   4
                                                                Evidentia     Ob'ections
                   5
                   6                                            Objection to Exhibit 40 attached to the
                                                                supporting Declaration of Jason D.
                   7                                            Russell on the grounds that it is irrelevant
                   8                                            and confusing. Fed. R. Evid. 402, 403.
                       68.   Michael Zeller, of Quinn,          Disputed.
                   9         Emanuel, was involved in the       Ex. 18 Sim son-Ta for at 112: I5-23
                  10         "Toon Teens" investigation on       ^^
                             behalf of Mattel as early as the
                  11         summer of 2002.
                  12
                  13
                  14
                  1S
                                                                                                     >^.
                  16
                  17                                            Ex. 18 Sim son-Ta for at 113 :19-114:3
                  18
                  19
                  20
                  21
                  22                                                                 »^.
                  23
                                                                Ex. 18 Sim son-Ta for at 191: 14-19 "
                  24
                  25
                  2b
                  27
                                                                                ^,
                  28
07209/2447527.1                                              _R^_              Case No. CV Q4-09049 SGL (RNBx}
                                                       MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 90 of 118 Page ID
                                                #:45453



                    1
                               MGA MATERIAL FACTS                  MATTEL'S RESPONSE AND
                    2          AND EVIDENCE CITED                   EVIDENCE OF DISPUTE
                    3
                                                              Evidentiary Objections
                    4
                    5                                         Objection to the supporting deposition
                    6                                         transcript of Simpson-Taylor at 112:15-
                                                              23, 113 :19-114:3, 191:14-19 on the
                    7                                         grounds that this testimony is irrelevant
                                                              and confusin .Fed. R. Evid. 402 403.
                    S   69.   In August 2002, Mattel CEO      Disputed.
                    9         Robert Eckert received an
                              anonymous letter, in which      Ex. 30 (anonymous letter addressed to
                   10         Carter Bryant is accused of     Robert Eckert stamped "Received"
                              having created BRATZ while      August 5, 2002};
                   11         employed by Mattel and
                              bringing it to MGA.             Ex. 9 (Eckert} at 131:1-132:12.
                   12
                   13                                         Contrary Evidence:

                   14                                         On or about August 5, 2002, an
                                                              anonymous letter addressed to Mattel's
                   15                                         CEO was received. The anonymous
                   16                                         author alleges that Bryant created Bratz
                                                              and agreed to sell the concept to MGA
                   17                                         and hide Mattel's true ownership of Bratz
                                                              in exchange for secret payments from
                   18                                         MGA. M0074401 {Deposition Exhibit
                                                              1193 ), Zeller Dec. Exh. 63 .
                   19
                   20                                         Matters CEO, Robert Eckert, testified
                                                              that he believes that he has received more
                   21                                         than 50 anonymous letters during his
                                                              tenure at Mattel. Deposition Transcript
                   22                                         of Robert Eckert ("Eckert Tr."), dated
                   23                                         January 28, 200$ at 129:20-130:10,
                                                              Zeller Dec., Exh, 64.
                   24
                                                              Neither Mr. Eckert nor Mattel's Vice
                   25                                         President of Human Resources, Alan
                                                              Kaye, recall receiving the Ietter. Eckert
                   26
                                                              Tr. at 129:11-13 2:21, Zel ler Dec., Exh.
                   27                                         64; M0074401 (Deposition Exhibit
                                                              1193}, Zeller Dec., Exh. 63; Kaye Tr. at
                   28                                         13:10-17:7 Zeller Dec. Exh. 65.
07209124475,27.1
                                       _                   ,,-^9_             Case No. GV 0409049 SGL (RNBx)
                                                     MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA^PART[ES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 91 of 118 Page ID
                                               #:45454



                   1            MGA MATERIAL FACTS                         MATTEL'S RESPONSE AND
                   2            AND EVIDENCE CITED                          EVIDENCE OF DISPUTE

                   3                                                  The head of Mattel Worldwide Security,
                   4                                                  Richard De Anda, testified that since the
                                                                      letter was anonymous, investigations into
                   S                                                  the author and follow-up could not be
                                                                      conducted. De Anda Tr. at 247:16 -
                   6                                                  247:23, 248:9-23, Zeller Dec. Exh. 61.
                   7
                   8                                                  de Anda understood that the anonymous
                                                                      letter was accusing Bryant of having
                   9                                                  plagiarized Toon Teens after he left
                                                                      Mattel. See Deposition Exhibit 1194,
                  10                                                  Zeller Dec., Exh. 100; De Anda Tr. at
                  11                                                  249:2-15; 256:12-258:3; 258:13-259:23;
                                                                      267:17-268:11; 280:12-281:9; 282:18-
                  12                                                  283:22, Zeller Dec., Exh. 61.
                  13
                                                                      Evidentiary Objections
                  14
                  1S                                                  Objection to Exhibit 30 attached to the
                  16'                                                 supporting declaration of Jason Russell
                                                                      on the grounds that this document is
                  17                                                  irrelevant and confusing. Fed. R. Evid.
                                                                      402, 403.
                  18
                        70.    Alan Kaye, Senior Vice         Undisputed.
                  19           President of Mattel's Human    Ex. 20 {Kaye) at 390:19-20.
                               Resources Department, received
                  20           the anonymous August 2002
                  21           letter from an assistant to
                               Robert Eckert.
                  22    7I .   Alan Kaye forwarded the                Undisputed.
                  23           anonymous August 2002 letter           Ex. 13 {De Anda) at 225:9-14.
                               to Richard De Anda, Mattel ' s '
                  24           Head of Security, for further
                               investigation.
                  2S
                        72.    Mattel admits that if the              Disputed.
                  26           allegations in the letter were
                               true, then Mattel would have           Ex, i $ {Sim son-Ta for -- at 242:12-
                  27           been on notice of the same             243:1 "
                  28           claims that it is assertin in this

0720912447527.1                                                     9n_            ECase No. CV 04-09Q49 SGL (RNBx)
                                                             MATTEL S STATEMENT OFWG NUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 92 of 118 Page ID
                                                #:45455




                             MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                             AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                           case.

                                                                       Tel




                                                           Contrary Evidence:

                    7'                                     Disputed as to "then Mattel would have
                                                           been on notice of the same claims that it
                    8                                      is asserting in this case" and supporting
                                                           cite: Simpson-Taylor did not take the
                    9                                      anonymous letter at face value, but was
                                                           asked to assume facts by MGA's counsel.
                   10
                                                           Moreover, she did not testify that Mattel
                   11                                      would have been on notice if the facts in
                                                           the anonymous letter were true.
                   12                                      Testimony from Simpson-Taylor at
                                                           241:9-243:1, Zeller Dec., Exh. 62
                   13                                      follows:
                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28
ozzo9r2a4zsz7. i                                        _C} ^ _           Case No. CV 04-09049 SGL {RNBx)
                                                  MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 93 of 118 Page ID
                                              #:45456



                  1            MGA MATERIAL FACTS                      MA1"1'EL'S RESPONSE AND
                  2            AND EVIDENCE CITED                       EVIDENCE OF DISPUTE
                  3
                  4
                  5
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                  7


                  9
                 10
                 11
                 12
                 13
                 14
                 1S
                 16
                 17                                               De Anda understood that the anonymous
                                                                  letter was accusing Bryant of having
                 18.                                              plagiarized Toon Teens after he left
                                                                  Mattel. See Deposition Exhibit 1194,
                 19                                               Zeller Dec., Exh. 100; De Anda Tr. at
                                                                  249:2-15; 256:12-258:3; 258:13-259:23;
                 20                                               267:17-268:11; 280:12-281:9; 282:18--
                 21                                               283:22, Zeller Dec., Exh. 61.
                       73. I De Anda wrote to Kaye                Disputed.
                 22          regarding the letter^;,di
                 23                                               Ex. 31 {undated e-mail from Richard De
                                                                  Anda to Alan Kaye regarding Bryant
                 24                                               investigation);
                 25                                               Ex. 13 {De Anda) at 249:6-8.
                 26
                                                                  Contrary evidence:
                 27
                                                                  In March 2002, Mattel investigated
                 28
onaarza4^sz^.i                                                                   Case No. CV 04-09049 SGL (RNBx)
                                                         MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 94 of 118 Page ID
                                               #:45457



                   1                 MGA MATERIAL FACTS                 MATTEL'S RESPONSE AND
                   2                 AND EVIDENCE CITED                  EVIDENCE OF DISPUTE
                                                                   been "            "from Toon Teens.
                   3                                               Deposition Exhibit 1195 at M 0074310,
                   4                                               Zeiler Dec., Exh. 86.

                   5                                               As part of that investigation, Mattel
                                                                   investigated allegations that Carter
                   6                                               Bryant may have gone to work for MGA.
                   7                                               However, Mattel did not discover any
                                                                   evidence showing that Carter Bryant
                   8                                               worked for MGA. Id. at M 0074372,
                                                                   Zeller Dec., Exh. $6. De Anda Vol. 1 at
                   9                                               173:12-17 (noting it was his
                                                                   understandin that "
                  10                                                                       ") , Zeller Dec. ,
                  11                                               Exh. 61; De Anda Vol. 1 at 243:24-
                                                                   244:14 When asked whether "
                  12
                  13
                  14
                  15                                                                 ), Zeller Dec., Exh. 6I .
                                                                   The investigation did not concern any
                  16                                               allegation that Bryant created Bratz while
                                                                   employed by Mattel, used Mattel
                  17                                               resources to create Bratz, nor entered into
                  18                                               contract with MGA while still employed
                                                                   by Mattel. See id.; see also Mattel, Inc.'s
                  19                                               Supplemental Response to MGA's First
                                                                   Set of Interrogatories, Nos. 10 & 11,
                  20                                               dated December 7, 2007, Zeller Dec.,
                  21                                               Exh. 87.

                  22                                               De Anda understood that the anonymous
                                                                   letter was accusing Bryant of plagiarizing
                  23                                               Toon Teens after he left Mattel. See
                                                                   Deposition Exhibit 1194, Zeller Dec.,
                  24                                               Exh. 100; De Anda Tr. at 249:2-15;
                  25                                               256:12-258:3; 258:13-259:23; 267:17-
                                                                   268:11; 280:12-281:9; 282:18-283:22,
                  26                                               Zeller Dec., Exh. 61.
                  27       74.   By 2003, the media was            Disputed.
                                 reporting on Barbie's loss of     Ex. 62 Tkacik Mattel Tries Hi -Ho
                  28
0720912447527.1        ^                                        _93_              Case No. CV 04-09049 SGL (RNBx)
                                 ^
                                                          MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 95 of 118 Page ID
                                              #:45458



                  I
                              MGA MATERIAL FACTS                    MATTEL' S RESPONSE AND
                  2           AND EVIDENCE CITED                     EVIDENCE OF DISPUTE
                             market share to BRATZ.             Dolls -- Firm's Stalwart Barbie Loses
                  3
                                                                Market Share, so `Flavas' Will Take on
                  4                                             Rivals the `BRATZ,' Wall Street Journal
                                                                (July 2I, 2003)}.
                  5
                  6                                             Evidentia „ Objections
                  7
                  8                                             Objection to Exhibit 62 attached to the
                                                                supporting declaration of Jason D Russell
                  9                                             on the grounds of hearsay. Fed. R. Evid.
                                                                801, 802.
                 10
                       75.   In October 2003, Mattel hired      Undisputed.
                 11          Tim Kilpin to head up its Girls'   Ex. 14 (Kilpin) at 148:19-25;
                             Division.
                 12
                                                                Ex. 9 (Eckert} at 45:23-46:2.
                 13    76.   Tim Kilpin, who was with           Undisputed.
                 14          Disney in 2001, met Zsaac          Ex. 32 {December 11, 2001 e-mail from
                             Larian at the New York Toy         Kil in con ratulating Larian on BRATZ
                 15          Fair in 2001 and congratulated                    »).
                             him on BRATZ beating Barbie                          '
                 16          in December 2001.                  Ex. 14 {Kilpin) 119:17-19.
                 17    77.   Tim Kilpin instituted a plan of    Disputed.
                 18          action to help Barbie regain
                             market share.
                 19                                             Evidentiary Objections
                 20
                                                                Objection to the supporting deposition
                 21'                                            transcript of Tim Kilpin at 235:19-22 on
                 22                                             the grounds that this testimony is
                                                                irrelevant and confixsing. Fed. R. Evid.
                 23                                             402, 403.
                 24    78.   Major media sources reported       Disputed.
                             on MGA and Larian's
                 25          involvement in the BRATZ           Ex. S2 (Paschal, With BRATZ, a toy
                             enterprise from 2002 through       maker's dreams come true, Reuters
                 26          2004.                              (February 14, 2002});
                 27
                                                                Ex. 53 {Verdon, T_h_e_dish on the DOLLS;
                 28                                             the claws come out in the fashion to

o^zognaa^sz^.t                                                                Case No. CV 04-09049 SGL (RNBx)
                                                            _94_
                                                      MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 96 of 118 Page ID
                                               #:45459



                   1
                            MGA MATERIAL FACTS                MATTEL'S RESPONSE AND
                   2        AND EVIDENCE CITED                 EVIDENCE OF DISPUTE
                   3                                     competitio^_The lowdown on the h_ igh-
                                                                                             _
                                                         fashion dolls, The New Jersey Record
                   4                                     (November 23, 2002});
                   5                                     Ex. 54 (Bannon, Barbie Faces Sassy
                                                         Rivals in SRATZ Dolls -- U start
                   6                                     Collection Poses Threat to Mattel's
                   7                                     Classic Luring `Tween' Market, Wall
                                                         Street Journal (November 29, 2002));
                   8
                                                         Ex. 55 {Bannon, Fashion Cou ?New
                   9                                     Doll Grabs Some of Barbie's Limelight,
                  10                                     Wall Street Journal (November 29,
                                                         2002});
                  11
                                                         Ex. 56 (Bannon, Is It a Fashion Cou ?
                  12                                     Sass BRATZ Grab Some of Barbie's
                                                         Limeli h^pstart is Reaching Preteens
                  13                                     With Street-Smart Look for Toy, Wall
                  14                                     Street Journal (December 2, 2002));

                  15                                     Ex. 57 {Tkacik, Dolled Up: To Lure
                                                         Older Girls, Mattel, Brin sin Hip-Hop
                  16                                     Crowd• It-Sees Stalwart Barbie Lose
                  17                                     _Market Share, So `Flavas' Will Take on
                                                         the `BRATZ' • Battle of the Bi Heads,
                  18                                     Wall Street Journal (July 18, 2003});
                  19                                     Ex. 58 (Moore, BRATZ creator Larian
                                                         aims to win Barbie's core fans, Reuters
                  20                                     (December 3, 2003});
                  21
                                                         Ex. 59 {Goldman, BRATZ Dolls' Little
                  22                                     Sisters to Challenge„Barbie, Los Angeles
                                                         Times (December 4, 2003));
                  23
                  24^                                    Ex. 60 (Hopkins, Look for BRATZ Story
                                                         on the Silver Screen, The Daily News of
                  25                                     Los Angeles (February 13, 2004));
                  26                                     Ex. 61 (O'Neal, BRATZ packers are
                                                         what's cool in a doll world, Chicago Sun-
                  27                                     Times (March 5, 2004}).
                  28
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                                                          _             Cass No. CV 04-09049 SGL (RNBx)
                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 97 of 118 Page ID
                                               #:45460



                   1          MGA MATERIAL FACTS                      MATTEL'S RESPONSE AND
                   2          AND EVIDENCE CITED                       EVIDENCE OF DISPUTE
                                                                 The evidence does not support the facts
                   3                                             for which it is cited.
                   4
                                                                 Although MGA and Isaac Larian
                   5                                             received publicity in February 2001
                                                                 regarding the launch of BRATZ, none of
                   6                                             the articles prior to July 18, 2003 make
                   7                                             mention that Carter Bryant was the
                                                                 creator of the BRATZ.
                   8
                                                                 MGA and Bryant admit that no public
                   9                                             statement even recognizing Bryant as
                                                                 Bratz's creator was issued until July 18,
                  10                                             2003, when the Wall Street Journal
                  11                                             published an article with that
                                                                 information. Se
                                                                               ^ a e.^., MGA
                  12                                             Entertainment, Inc.'s Supplemental and
                                                                 Amended Responses to Mattel, Inc.'s
                  13                                             Third Set of Requests for Admission to
                  14                                             MGA Entertainment, Inc., Nos. 183, 185,
                                                                 Proctor Dec., Exh. 113; Carter Bryant's
                  15                                             Supplemental and Amended Responses
                                                                 to Mattel, Inc.'s Third Set of Requests for
                  lb                                             Admission to Carter Bryant Nos. 80-82,
                                                                 Zeller Dec., Exh. 82.
                  17
                  18
                                                                 Evidentiary Objections
                  19
                  20                                             Objection to Exhibits 52-61 attached to
                                                                 the supporting declaration of Jason D
                  21                                             Russell on the grounds of hearsay. Fed.
                  22                                             R. Evid. 801, 802.
                       79.   Mattel attributed its loss in       Undisputed.
                  23         market share to the success of      Ex. 35 {"2005 Barbie Spring Line
                  24         BRATZ.                              Review," dated April 15, 2004};

                  25                                             Ex. 34 {Barbie® 2004 Marketing Plan
                                                                 dated October 28, 2003);
                  26
                  27                                             Ex. 33 {April 2, 2004 e-mail from S.
                                                                 Ross to T. Kilpin).
                  28
4720412447527.E                                               -C^(^-            Case No. CV 04-09049 SGL (RNBx}
                                                        MATTEL'S STATEMENT OF GENUINE ISSUES It.E MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 98 of 118 Page ID
                                                #:45461



                     1
                                      MGA MATERIAL FACTS                     MATTEL' S RESPONSE AND
                    2                 AND EVIDENCE CITED                      EVIDENCE OF DISPUTE
                               80.   Mattel registered its alleged       Undisputed.
                    3
                                     copyrights in Bryant ' s drawings   Ex. 68 (Mattel Copyright Registrations
                    4                in October 30, 2006.                VA 1-378-648, VA I-378-649, VA 1-
                                                                         378-650 , VA 1-378-651, VA 1-378-652,
                    5
                                                                         VA 1-378-653, VA 1-378-654, VA 1-
                    6                                                    378-655, VA 1-378-656, VA 1-378-657,
                                                                         VA 1-378-658, VA 1-378-659, VA 1-
                    7                                                    378-660, VAu 715-270, VAu 715-271,
                                                                         and VAu 715-273).
                    8
                    9                   MATTEL ADDITIONAL                      EVIDENTIARY SUPPORT
                                          MATERIAL FACTS
                   10
                               81.   Exactly when Bryant pitched         Garcia testified that she had received
                   11'               his Bratz drawings to MGA and       Bryant's Prayer Angel drawings prior to
                                     who was involved is disputed        Bryant's September 1 pitch meeting with
                   12 ''             even as between Bryant and          MGA. Garcia Tr. (Vol. 1 at 244:1-
                   13                MGA's own witnesses.                245: I5 statin she had "

                   14
                   I5
                   16
                   17                                                         "}, Zeller Dec., Exh. 67.
                   I8                                                    See also Bryant's Prayer Angel sketches,
                                                                         Bates-numbered BRYANT 00173-174,
                   19                                                    Proctor Dec., Exh. 75; Garcia Tr. Vol. 2
                   20                                                    at 321:22-322:6, Corey Dec., Exh. 20;
                                                                         Bryant's August 31, 2000 invoice for
                   21                                                    Prayer Angels, MGA's corresponding
                                                                         purchase order, and MGA's
                   22                                                    corresponding requisition, Sates-
                   23                                                    numbered MGA001294-96, Proctor Dec.,
                                                                         Exh. 73; Deposition Transcript of Kerri
                   24                                                    Brode, Vol. 1 ("Brode Tr. Vol. 1 "), dated
                                                                         August 18, 2007, at 117:18-24, Corey
                   25                                                    Dec., Exh. 21.
                   26
                                                                         Bryant Tr. (Vol 1) at 9:25-10:18; 11:6-11
                   27                                                    (Bryant testifies that he met with Garcia
                                                                         and Victoria O'Connor prior to the
                   28                                                    Se tember 1 2000 " itch" meetin He
D7269/2447527, ]           _                                         _C^'^             Case No. CV 04-09049 SGL {RNBx)
                                                               MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 99 of 118 Page ID
                                                #:45462



                      1          MATTEL ADDITIONAL               EVIDENTIARY SUPPORT
                                  MATERIAL FACTS
                     2'
                                                           testifies that he met with Garcia and
                     3'^I                                  O'Connor "
                                                                                                   ,^
                     4                                     and showed them his drawings. He
                     5                                     testified that this was the first time he met
                                                           with Garcia), Zeller Dec.; Exh. 1.
                     6
                                                           Garcia Tr, {Vol. 1) at 243:18-245:13,
                     7                                     Zeller Dec., Exh. 67; Garcia Tr. (Vol, 2)
                     8                                     at 325:16-326:6, Zeller Dec., Exh. 68.
                                                           Garcia testified that the f rst contact she
                     9                                     had with Bryant was when she received
                                                           an email from Bryant at the end of
                    10                                     August 2000. She testified that Bryant
                                                           and her did not meet in person until the
                    11                                     September 1, 2000 meeting.
                    12'
                                                           Garcia Tr. (Vol. 2) at 308:21-309:10
                    13'^,                                  (Garcia testif ed that she did not see
                                                           Carter Bryant's illustrations prior to the
                    14 ''                                  September 1, 2000 "pitch" meeting.},
                    15                                     Zeller Dec., Exh. 68. See also Garcia Tr.
                                                           (Vol. 2} at 317:16-318:11, 323:3-7,
                    16                                     333:22-334:4, Zeller Dec., Exh. 68.
                    17
                                                           One former MGA project manager
                    18                                     recalled from the B ant's itch that "[^
                    19                 .                               "The project manager
                                                           ex lained that B ant resented the
                    20
                    21
                    22
                    23
                    24
                    25
                                                                                      " Deposition
                    26                                     Transcript of Andreas Koch {"Koch
                                                           Tr."}, dated February 15, 2008 at 35:4-
                    27                                     36:8, Zeiler Dec., Exh. 58.
                    28
0720912447527 . 1           II                          _98_              Case No. CV 04-09049 SGL {RNBx)
                                                  MATTEL'S STATEMENT OF GENUINE ISSUE5 RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 100 of 118 Page ID
                                               #:45463



                   1                MATTEL ADDITIONAL                       EVIDENTIARY SUPPORT
                   2                 MATERIAL FACTS
                                                                      O'Connor Tr. at 46:18-23, 4$:16-50:24,
                   3                                                  52:24-53:11, 54:9-12, Zeller Dec., Exh.
                                                                      46. Victoria O'Connor testified that the
                   4
                                                                      first meeting between Bryant and Garcia
                   5                                                  took place at the end of August, early
                                                                      September 2000. She testified that only
                   6                                                  Bryant, Garcia and herself were at this
                                                                      meeting. See Koch Tr. at 30:6-24 (Koch
                   7                                                  first met Bryant at MGA at a meeting
                   8                                                  with Bryant and Garcia}, Zeller Dec.,
                                                                      Exh. 58; id. at 31:23-32:11, 32:19-48:6
                   9                                                  {Koch, Garcia and Bryant met at a
                                                                      conference table at the end of a row of
                  10                                                  cubicles; Bryant showed Garcia and
                                                                      Koch his ortfolio of drawings; Garcia
                  11
                                                                      was " ^„}.
                  12
                                                                      Larian v. Larian Arbitration Tr., Vol. 2
                  13                                                  ("Larian v. Larian Tr."}, dated November
                                                                      17, 2005 at 227:10-228:5 (Former MGA
                  14                                                  Salesperson Jennifer Maurus testified that
                  15                                                  in the early summer of 2000 Garcia first
                                                                      introduced her to Bryant and showed her
                  16                                                  his Bratz drawings), Zeller Dec., Exh. 59;
                                                                      id. at 22$:10-14 {at the point that Maurus
                  17                                                  saw the Bratz drawings Garcia told her
                                                                      that Garcia had already met with Larian
                  18
                                                                      about the concept).
                  19        82.   Rosenbaum testif ed based on        David Rosenbaum ("Rosenbaum Tr. "},
                                  his knowledge of "                  dated January 25, 200$, at 88:19-90:24,
                  20'
                                         " in the Indust              Zeller Dec., Exh. 75; see also Mercedeh
                  21                                                  Ward's Inventions Agreement with
                                                                      MGA, Bates-numbered MGA001470-2,
                  22                                                  Proctor Dec., Exh. 87.
                  23                                " MGA itself
                  24              used Inventions Agreement
                                  substantially similar to Mattel's
                  25        83.   Rosenbaum's inquiries to Wang Rosenbaum Tr. at 77:4-88:18 & 218:18-
                  26              were not comprehensive• he    220:3, Corey Dec., Exh. 29.
                                  onl asked her "
                  27              ^" about Bryant's
                                  develo ment of Bratz. The sum
                  28
o^an9^aaa^s2^.^        ^^                                         _ -               Case No. CV 04-09049 SGL (RNBx)
                                                            MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 101 of 118 Page ID
                                                #:45464



                    1                 MATTEL ADDITIONAL                        EVIDENTIARY SUPPORT
                                         MATERIAL FACTS
                    2
                                   total of Rosenbaum's
                    3              investigation of Mattel's
                                   preexisting rights to Sratz was a
                    4
                                   brief telephone conversation
                    S              with Bryant's attorney, Anne
                                   Wang. Wang purportedly said
                    6              that Bryant created Bratz before
                                   commencing employment at
                    7              Mattel. Rosenbaum asked no
                    8              questions about what
                                   investigation Wang had done to
                    9              reach that conclusion. He did
                                   not ask any specific questions
                   10              about the time, manner or place
                                   Bryant allegedly developed the
                   11
                                   concept, whether it was
                   12              expressed then in any tangible
                                   form, or whether Bryant could
                   13              otherwise document ownership.
                   14        84.   Wang conducted a limited             Wang reviewed "                     " as
                                   review of the chronology of          well as "^                     rovided by
                   15              Bryant's development of Bratz ,      Bryant and "
                                   as her only discussions were         Deposition Transcript of Anne Wang
                   16              with Bryant himself and the          Vol. i ("Wang Tr. Vol. 1 ") , dated
                   17              materials she reviewed were          January 28, 2008, at 2$:12-29:11, Zeller
                                   also provided by Bryant.             Dec., Exh. 74.
                   18
                                                                        Moreover, she only interviewed Bryant.
                   19                                                   Wang Tr. Vol. 1 at 110:5-11, Zeller Dec.,
                   20                                                   Exh. 74.
                             8S.   Mattel expert William Flynn          Expert Report of William Flynn ("Flynn
                   21              found that the tracings that         Report") dated Februa 11 2008, at 8,
                   22              Bryant testified were his             notin "
                                   original 1998 Bratz drawings
                   23              were created after the color
                                   Bratz drawings Bryant testif ed
                   24              that he "colorized" in 1999.
                   25
                   26                                                                         "); see also Flynn
                                                           •            Report at 7; with Bryant Vol. 2 at 334:9-
                   271                                                  10 re ardin BRYANT 0199 "
                   28

a^zo9naa^s2^ , ^        ^I             __                              ^ ^^..            Case No. U 04-09049 SGL (RNBx)
                                                               MATTEL ' S STATEMENT OF GENUINE IS ^•^^^^
                                                                                                   S ES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 102 of 118 Page ID
                                               #:45465



                    1                MATTEL ADDYTIONAL                          EVIDENTIARY SUPPORT
                    2                 MATERIAL FACTS
                                                                             "}; and Bryant Vol. 2 at 339:14-
                    3                                                    340:1 re ardin BRYANT 00220 "
                    4
                                                                                 g").
                    5        $6.   Bryant admitted that the              Bryant Tr. Vol. 2 at 297:17-303:3, &
                    6              handwritten "^" on each               BRYANT 00222 -BRYANT 00234
                                   of his colorized 1999 drawings        (Bryant does not recall when the
                    7              was added at some later date          handwritten "^" notation on his
                                   after the drawings were               drawings was added.), Zeller Dec., Exh.
                    8              completed.                            41; Bryant Tr. Vol. 2 at 300:20-301:7 &
                                                                         BRYANT 00223 (part of Deposition
                    9                                                    Exhibit 3), Zeller Dec., Exh. 41; Bryant
                  la                                                     Tr. Vol. 2 at 339:13--340:1 &BRYANT
                                                                         00222 (part of Deposition Exhibit 3),
                  11                                                     Zeller Dec., Exh. 41; Bryant Tr. Vol. 2 at
                                                                         414:15-415:12 &MGA 000455 -
                  12                                                     MGA000464 {Deposition Exhibit $),
                  13                                                     Zeller Dec., Exh. 88; Bryant Tr. Vol. 2 at
                                                                         41$:20-420:20 &MGA 000465-451
                  14                                                     (Deposition Exhibit 9), Zeller Dec., Exh.
                                                                         89, MGA 000455- 000464 (Deposition
                  15                                                     Exhibit 8) (Bryant testifies that he did not
                                                                         add the handwritten "^" notation
                  16                                                     on his drawings), Zeller Dec., Exh. 88.
                  17         87.   Bryant testified that he had          Deposition Transcript of Carter Bryant
                                   certain of his drawings               Vol. I ("Bryant Tr. Vol. I"}, dated
                  18               notarized in August 1999 by a         November 4, 2004 at 53:5-5, 53:14--54:17
                  19               notary who worked at Mattel.          (testifying that he showed the drawings to
                                                                         Ramona Prince, a co-worker, because he
                  20                                                     wanted to get them notarized.), Zeller
                                                                         Dec., Exh.1; Bryant Tr. Vol. IV at 842:
                  21                                                     18-22 (testifying that he went to Ramona
                  22'                                                    to notarize some drawings), Zeller Dec.
                                                                         Exh. 4.
                  23 I^      88.   In the notary's notary book,          Deposition Transcript of Carter Bryant,
                  24               there is a handwritten ent            Vol. IV {"Bryant Tr. Vol. IV"), dated
                                   statin                                January 23, 2008 at 847: 3-14, Zeller
                  25                                                     Dec., Exh.4; Prince Tr. at 112:4-20,
                                                                         Zeller Dec. Exh. 55; Deposition Exhibit
                  26                                                     60, Zeller Dec. Exh. 90.
                                                           ^^
                  27
                             89.   Mattel expert Valerie Aginsky         Declaration of Valerie Aginsky, dated
                  28               found that the line statin
07209!2447527.1         ^^                                           _^^_               Case No. CV 04-09049 SGL (RNBx}
                                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 103 of 118 Page ID
                                               #:45466



                   i               MATTEL ADDITIONAL                     EVIDENTIARY SUPPORT
                                    MATERIAL FACTS
                   z
                               "                                   March 24, 2007, at 3.
                   3
                   4
                   S
                   6                                   ^r .

                   7     90.   Wang attempted to remove the        Rosenbaum Tr. at 169:6-170:22, Zeller
                               warranty from the Bryant-MGA        Dec., Exh. 75.
                   8           Agreement in which Brunt
                               represented that the Bryant
                   9           work product was original and
                  10           did not infringe the legal rights
                               of any third parties.
                  11           Nonetheless, Rosenbaum did
                               not consider that attempt to be a
                  12           IT^• ^^




                  13     91.   Bryant, Marlow and Leahy            An internal a-mail chain dated October
                               continued to perform Sratz          10 2000 stated B ant "
                  14           work for MGA after Bryant                                         ", Bates-
                               gave resignation notice to          numbered MGA004717, Zeller Dec.,
                  1S^!
                               Mattel but before he left Mattel.   Exh. 77; Deposition Transcript of Paula
                  16                                               Garica Vol. 3 {"Garcia Tr. Vol. 3 "}, dated
                                                                   October 9, 2007, at 873:19-$75:11, Zeller
                  17                                               Dec., Exh. 78; Marlow's invoices for 169
                                                                   hours of work on Bratz for "^
                  18                                               ^", Bates-numbered MGA
                  19                                               0072161-167, Zeller Dec., Exh. 79;
                                                                   Garcia Tr. Vol. 4 at 1276:16-21, Zeller
                  20                                               Dec., Exh. 45; Bryant's actual expense
                                                                   report, receipts, and MGA's payment to
                  21                                               Bryant for his Bratz expenses from
                                                                   9123100 to 10111100, Bates-numbered
                  22
                                                                   MGA 3786749-60, Zeller Dec., Exh. 80;
                  23                                               Leahy testified that on October 6, 2000,
                          .                                        Bryant, Marlow, and Garcia went to her
                  24                                               home to give her feedback on the Bratz
                                                                   sculpt, Deposition Transcript of Margaret
                  2S                                               Leahy VoI. 1 {"Leahy Tr. Val. 1 "}, dated
                  26                                               December 12, 2007, at 221:22-222:19;
                                                                   Zeller Dec., Exh. 18; Gentle Giant
                  27                                               Studios, Inc. invoice to Leahy regarding
                                                                   soul tin and moldin dated October 11
                  28
07209!2447527.1                                                _ ^ n2_            Case No . CV 04-09044 SGL (RNBx}
                                                          MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 104 of 118 Page ID
                                               #:45467



                    1           MATTEL ADDITIQNAL                       EVIDENTIARY SUPPORT
                                 MATERIAL FACTS
                    2
                                                                  2000; Zeller Dec., Exh. 76; Leahy Tr.
                    3                                             Vol. I at 193 :14-194:5, Zeller Dec., Exh.
                                                                  18; Bryant testif ed that Marlow created
                    4                                             fashions before his last day at Mattel,
                    5                                             Bryant Vol. 1 at 118:2-13, Zeller Dec.,
                                                                  Exh. 1.
                    6
                                                                  See also ^ 13, support for DISPUTED
                    7                                             fact (Garcia's testimony regarding the
                    8                                             fact she did not even know Bryant was a
                                                                  Mattel employee until 2004).
                    9   92.   At the time Bryant was leaving      Nordquist testified that she was initially
                   IO         Mattel, Nordquist did not know      suspicious that Bryant was going to a
                              that he was going to a              competitor, but that he lied to her when
                   11         competitor.                         she asked him directly. Deposition
                                                                  Transcript of Jill Nordquist ("Nordquist
                   12                                             Tr."), dated July 31, 2007 at 145:1-9
                                                                   Nord uist testified that
                   13
                   14
                                                                                ") , Corey Dec ., Exh. 30; id .
                   15                                             at 127:22-128 :9 (when asked whether
                                                                  Bryant was going to a competitive doll
                   I6                                             com any, Bryant responded "^
                   17                                                     ")
                        93.   Although MGA and Isaac              See e.^., MGA Entertainment, Int.'s
                   I8         Larian received publicity in        Supplemental and Amended Responses
                   19         February 200I regarding the         to Mattel, Int.'s Third Set of Requests for
                              launch of BRATZ, none of the        Admission to MGA Entertainment, Inc.,
                   20         articles cited prior to July 18,    Nos. 183, 185, Proctor Dec., Exh. 1 I3;
                              2003 make mention that Carter       see also Carter Bryant's Supplemental
                   21         Bryant was the creator of the       and Amended Responses to Mattel, Int.'s
                              BRATZ. MGA and Bryant               Third Set of Requests for Admission to
                   22
                              admit that no public statement      Carter Bryant Nas. 80-82, Zeller Dec.,
                   23         even recognizing Bryant as          Exh. 82.
                              Bratz's creator was issued until
                   24         July 18, 2003, when the Wall
                              Street Journal published an
                   2S         article with that information.
                   26   94.   Intentionally Left Blank            Intentionally Left Blank
                   27   95.   There were Mattel employees         It was not "common knowledge" within
                              wha worked in the Design            Mattel's Design Center that Bryant was
                   2$         Center that did not even know       involved with Bratz as man Desi n
o^zosrz4a^szz. ^                                              _ ] (}'^_          Case No. CV 04-09049 SGL (RNBx}
                                                         MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 105 of 118 Page ID
                                               #:45468



                   1           MATTEL ADDITIONAL                   EVIDENTIARY SUPPORT
                                 MATERIAL FACTS
                   2
                            who Carter Bryant was, much     Center employee's had never heard of
                   3        less whether he was involved    Carter Bryant. Deposition Transcript of
                            with Bratz.                     Joni Pratte ("Pratte Tr."), dated June 1,
                   4
                                                            2007, at 70:11-18 {Pratt testified that she
                   5                                        did not know Carter B ant and had
                                                            never met him. "
                   6                                                                 "), Zeller Dec.,
                                                            Exh. 83. Kislap Ongchangco, another
                   7                                        Design Center employee did not know
                   8                                        Bryant either, Deposition of Kislap
                                                            Ongchangco ("Ongchangco Tr.") dated
                   9                                        April 24, 2007, at 147:22:-148:2
                                                            {Ongchangco testified that he did not
                  10                                        know B ant "
                  11
                                                                               ") , Zeller Dec ., Exh .
                  12                                        84. Further, Ongchangco goes onto
                                                            testify that he only heard that Bryant had
                  13                                        any involvement in the Bratz dolls when
                                                            there was a lawsuit endin . "
                  14
                  15
                                                                                  " (Ongchangco} at
                  16                                        193:19-194:20, Zeller Dec., Exh. 84.
                  17                                        Although, Cloonan states that she heard
                                                            through the "                   "that
                  18
                                                            Bryant was involved with Bratz Cloonan
                  19                                          oes on to add "

                  20                                                                          ^^
                                                            Deposition Transcript of Elise Cloonan,
                  21                                        Vol. 1 {"Cloonan Tr. Vol. 1:}dated
                  22                                        December 14, 1007, at 133:1-3, Zeller
                                                            Dec., Exh. 17. She also testified that
                  23                                        when she was asked by others at Mattel
                                                            in 2001 whether it was true that Bryant
                  24                                        was involved with Bratz, she told them
                                                            that she did not know. Cloonan Tr. at
                  25'
                                                            325:10-19 "I'm not sure what Carter is
                  2b                                        doing ..." Zeller Dec., Exh. 17.

                  27                                        Jill Nordquist denied that it was "^
                                                                   "after Bratz f rst launched that
                  28
07209/24A7527,[        ^^                               _^ (?4_            Case No. CV 04-09049 SGL (RNBx)
                                                   MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
              Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 106 of 118 Page ID
                                                 #:45469



                        1             MATTEL ADDITIONAL                      EVIDENTIARY SUPPORT
                    2                  MATERIAL FACTS
                                                                       Bryant was involved with Bratz.
                    3                                                  Nord uist Tr. 187:12 - 157:1$ "
                    4
                    5
                    b
                    7
                                                                                                    ") , Zeller
                    8                                                  Dec., Exh. 51.
                             9b.   In public statements, Larian        See Affidavit of Isaac Larian in MGA v.
                    9              identif ed himself, not Bryant,     Metson at p. 2, ¶ 8, Bates-numbered
                   10              as the creator of Bratz.            MGA 0868039-91 Larian claimin he
                                                                       ,^
                   11                                                        "), Zeller Dec., Exh. 92; Woodman
                                                                      Tr. Vol. 1 at 218:1-21, Zeller Dec., Exh.
                   12                                                 93; Business Week article discussing
                   13                                                 Mattel and Bratz, Bates-numbered M
                                                                      0074054-6, (" [Larian] got the idea for
                   14                                                 Bratz after seeing his own kids run
                                                                      around in navel-baring tops and hip-
                   15                                                 huggers.") , Zeller Dec ., Exh . 53; San
                   16                                                 Fernando Valley Business Journal article
                                                                      discussing Larian, (Larian states "It was
                   i7                                                 Jason's idea for Bratz. "}, Zeller Dec.,
                                                                      Exh. 54; Reuters article discussing Bratz
                   18                                                 ("Larian, a doting father of two boys and
                                                                      a girl, named one of the dolls Yasmin
                   19                                                 after his own daughter."} Zeller Dec.,
                   20                                                 Exh. 94.
                             97.   In an a-mail dated March 12,       E-mail from Isaac Larian dated March
                   21              2002, from Isaac Larian to         12, 2002 instructing MGA personnel,
                   22              MGA personnel, regarding           Bates-numbered MGA 3801819-22,
                                   inquiries about Bratz Larian       Zeller Dec., Exh. 95.
                   23              stated that:"
                   24
                                                        ^^
                   25
                             98.   In response to an e-mail from      E-mail from Isaac Larian to Dee Dee
                   26              Larian proposing development       Valencia dated February 6, 2003, Bates-
                                   of acollectible Bratz doll, Dee    numbered MGA 3801558-9, Zeller Dec. ,
                   27
                                   Dee Valencia proposed creating     Exh. 96.
                   28              a limited edition model that

07209/2447527. 1                                                  _     _            Case No. Cv 04-04049 SGL (RNBx)
                        II                                   MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 107 of 118 Page ID
                                                #:45470



                     1                MATTEL ADDITIONAL                        EVIDENTIARY SUPPORT
                                        MATERIAL FACTS
                     2
                                    would create a marketin
                     3              n


                     4
                                                               ^^
                     5
                             99.    De Anda testif ed that his       Deposition Transcript of Richard De
                     6                                               Anda Vol. 1 ("De Anda Tr. Vol. I "},
                                    March 2002 conversation with
                     7              Ivy Ross and/or Cassidy Park     dated December 19, 2007, at 243:24-
                                    did not involve an accusation    244: I4, Zeller Dec., Exh. 61.
                     8              that Bryant created Bratz during
                                    his Mattel employment.
                     9
                             100.   The incident referred to in the      Mattel's Supplemental Response to
                    10              Incident Report was to               MGA's Interrogatory No. I0, dated
                                    investigate a possible               December 7, 2007, Zeller Dec., Exh. 87.
                    II              infringement of Mattel's "Toon
                    12              Teens" designs, not whether
                                    Bryant created Bratz or worked
                    13              with MGA during his Mattel
                                    employment. The potential
                    14              claims investigated in 2002 did
                                    not give Mattel any knowledge,
                    IS
                                    or even reason to believe, that
                    16              Bryant worked for MGA and/or
                                    conceived of Bratz while a
                    17              Mattel em to ee. "
                    18
                                                ^,
                    19
                             101.   Ivy Ross testified that she did      Deposition Transcript of Ivy Ross ("Ross
                    20              not complain to anyone at            Tr.") dated January I7, 200$, at 61:23--
                    21              Mattel about Bratz or an             63:3, Zeller Dec., Exh. 60.
                                    as ect of Bratz "
                    22
                                                     ,^
                    23
                             102.   Intentionally Left Blank             Intentionally Left Blank
                    24
                             103.   Mattel's CEO, Robert Eckert,         Deposition Transcript of Robert Eckert
                    25              testified that he believes that he   ("Eckert Tr."} , dated January 28 , 2008 at
                                    has received more than 50            129:20-130:10, Zeller Dec., Exh. 64.
                    26              anonymous letters during his
                                    tenure at Mattel.
                    27
                             104.   Neither Mr. Eckert nor Mattel's      Eckert Tr. at 129:11-132:21, Zeller Dec.
                    28              Vice President of Human              Exh. 64• M0074401 De osition Exhibit

072D9l2447527 . 1        ^                                          _     _            Case No. CV 04-09Q49 SGL (RNBx}
                                                               MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 108 of 118 Page ID
                                               #:45471



                    1                 MATTEL ADDYTYONAL                         EVYDENT^ARY SUPPORT
                                         MATERxAL FACTS
                    2
                                    Resources, Alan Kaye, recall          1193), Zeller Dec . Exh. 63; Kaye Tr. at
                    3               receiving the anonymous               13:10-17:7, Zeller Dec., Exh. 65.
                                    August 5, 2002 letter.
                    4
                             105.   The head of Mattel Worldwide          De Anda Tr. at 248:9-23, Zeller Dec.
                    S               Security, Richard De Anda,            Exh. 61.
                                    testified that since the letter was
                    6
                                    anonymous, investigations into
                    7               the author and follow-up could
                                    not be conducted.
                    8
                             106.   Garcia testified that she never       Garcia Tr. (Vol. 2) at 328:11 -329:3,
                    9               heard Victoria O'Connor, Isaac        Zeller Dec., Exh. 68.
                                    Larian or anyone at MGA
                  10                discuss any concern about
                                    acquiring Bratz because Bryant
                  11                was employed by Mattel.
                  12         107.   Garcia testified that it was only     Garcia Tr. (Vol. 1 } at 271 :18-272:2,
                                    sometime in 2004 that she             Zeller Dec., Exh. 67.
                  13                learned Bryant was employed
                  14                by Mattel at the time of the
                                    September 1, 2000 meeting.
                  15
                             108.   Garcia testified that it is her       Garcia Tr. (Vol. 1) at 275:18-22, Zeller
                  16                best recollection that prior to       Dec., Exh. 67.
                                    Apri12004, she was unaware
                  17                that Bryant had been employed
                                    by Mattel as of September 19,
                  18                2000.
                  19         109.   Garcia stated that aside from         Garcia Tr. (Vol . 1) at 273 :6-19, Zeller
                                    information provided to her by        Dec., Exh. 67.
                  20.               attorneys, she is unable to
                  21''i             answer how she came to know
                                    Bryant was a designer at Mattel
                  22                at the time she met with him.
                  23         110.   MGA never offered Bratz to            Declaration of Mateo Ramapo in support
                                    Mattel, Inc. Rather , at that         of Mattel , Inc.'s Consolidated Apposition
                  24                time, Mattel Latin America, a         to Defendants' Motion for Partial
                                    separate subsidiary,                  Summary Judgment , dated March 20,
                  25                occasionally distributed MGA          2008 at ¶^ 2-7.
                  26                products during that timeframe.
                                    Mateo Romano , an employee of
                  27                Mattel Latin America in 2001,
                                    saw Bratz in January 2001 at
                  28                Hon Kon To Fair and
U7209/2447527.1         II                                           _ ^ ^^'_           Case No. CV 44-09049 SGL (RNBx)
                                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 109 of 118 Page ID
                                               #:45472



                   1             MATTEL ADDITIQNAL                     EVIDENTIARY SUPPORT
                                    MATERIAL FACTS
                   2
                               discussed with MGA the
                   3           possibility of Mattel Latin
                               America distributing this
                   4
                               product in Latin America.
                   5    111.   Roxanna Powell did not tell      See Deposition of Ivy Ross {"Ross Tr.),
                               anyone at Mattel that Margaret   dated January 17, 2008 at 120:18-121:2
                   6
                               Hatch Leahy told her that        (Ross knew Roxanna Powell but did not
                   7           Bryant created Bratz.            recall ever having an discussions with
                                                                Roxanna Powell "
                   S                                                         .") , Zeller Dec. , Exh. 60; see
                                                                also Deposition Transcript of Richard De
                   9                                            Anda ("De Anda Tr."), dated December
                  10                                            19, 2007 at 211:4-19 {De Anda did not
                                                                know Powell's name or recall anyone
                  11                                            mentioning her name to him during the
                                                                March 2002 investigation), Zeller Dec.,
                  12                                            Exh. 61; Deposition Transcript of
                                                                Christina Tomiyama ("Tomiyama Tr."},
                  13
                                                                dated February 27, 2008 at 289:21-
                  14                                            290:12 {Powell's name sounds "^"
                                                                familiar to Tomiyama, but she does not
                  1S                                            have any memory of discussing Bryant,
                                                                MGA or this lawsuit with Powell), Zeller
                  16                                            Dec., Exh. 1 S; Deposition of Ana Elise
                  17                                            Cloonan ("Cloonan Tr."}, dated
                                                                December 14, 2007 at 308:17-309:7
                  1$                                            {Cloonan testified that she talked to
                                                                Powell sometime in 2001
                  19                                                                                   },
                  20                                            Zeller Dec., Exh. I7; id. at 315:10-23
                                                                 Cloonan testified that "
                  21
                  22
                                                                                         "}.
                  23
                        112.   In March 2002, Mattel            Exhibit 1195 at M 0074310, Zeller Dec.,
                  24           investigated allegations that    Exh. 86.
                               Bratz dolls may have been
                  2S:          "           "from Toon Teens.
                  26    113.   The investigation was to         Exhibit 1195 at M 0074372, Zeller Dec.,
                               determine if someone at MGA      Exh. 8b. De Anda Vol. 1 at 173:12-17
                  27           may have had access to Toon      (notin it was his understandin that
                  2s           Teens. As art of that            "

a7ao9rz4a^sz^.i                                             -1 Og-             Case Na. CV 04-09049 SGL {RNBx}
                                                       MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 110 of 118 Page ID
                                               #:45473



                   1                 MATTEL ADDITIONAL                       EVIDENTIARY SUPPORT
                                        MATERIAL FACTS                                                      .
                   2
                                   investigation , Mattel                   ") , Zeller Dec. , Exh . 61; De Anda
                   3               investigated allegations that       VoI. 1 at 243:24-244:14 When asked
                                   Carter Bryant may have gone to      whether "
                   4               work for MGA. However,
                   5               Mattel did not discover any
                                   evidence showing that Carter
                   6               Bryant worked for MGA.
                                                                                              "), Zeller Dec.,
                   7                                                   Exh. 61.
                   8        114.   The investigation did not           See id.; see also Mattel, Inc.'s
                                   concern any allegation that         Supplemental Response to MGA's First
                   9               Bryant created Bratz while          Set of Interrogatories, Nos. 10 & 11,
                  10               employed by Mattel, used            dated December 7, 2007, Zeller Dec.,
                                   Mattel resources to create Bratz,   Exh. 87.
                  11               and/or entered into contract
                                   with MGA while still employed
                  12               by Mattel.
                  13        115.   Bryant had approached MGA           Deposition Transcript of Anna Rhee
                                   and various people about            {"ghee Tr."}, dated February 3, 2005 at
                  14               working on Bratz before July        107:4-108:10, 109:5-25, 113:24-114:15,
                                   2000. Anna Rhee testifed that       127:8-14, 132:25-133:2, 13$:9-22, 202-
                  15
                                   Bryant introduced Rhee to           204, Zeller Dec., Exh. 66; Collection of
                  16               MGA in or about June 2000 and       Invoices from Anna Rhee to MGA, Bates
                                   had her paint the faces of three-   numbered AR 0001-AR 005 8, marked as
                  17               dimensional "Bratz" doll heads.     Exhibit 201 in this action, Zeller Dec.,
                                   She submitted an invoice to         Exh. 72.
                  18               MGA dated June 12, 2000 for
                  19               that work. Rhee testified that
                                   when she first began working
                  20               on this "secret" project, she did
                                   not know the project by the
                  21               name "Bratz," but that Bryant
                  22               initially instead had called it
                       ^           "Angel , " which is what she
                  23               wrote on her invoice to MGA as
                                   well as on other invoices far her
                  24               work on Bratz in September
                                   2000.
                  25
                  26
                            116.   The name "Angel" was used           See Deposition Transcript of Anna Rhee,
                  27               internally at MGA to refer to       dated February 3, 2005 at 23:13-24:8
                                   the Bratz project.                  (Rhee, the face painter of Bratz, testifed
                  28                                                   that invoices dated as earl as June 12
0720912447527.1        II                                         _ ] n9_            Case No. Cy 04-09049 SGL {RNBx)
                                                             MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
           Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 111 of 118 Page ID
                                              #:45474



                  1                 MATTEL ADDITIONAL                       EVIDENTIARY SUPPORT
                                     MATERIAL FACTS
                  2
                                                                      2000 -- far before MGA claims to have
                  3                                                   even met Bryant -- were for work she
                                                                      performed on Bratz for MGA under the
                  4
                                                                      "code name" of "Angel. "} , Zeller Dec. ,
                  S                                                   Exh. 66; See also Ashong Tr. at 214:3-18
                                                                      (Ashong confirmed that "Angel" was a
                  6                                                   name used internally at MGA for one of:
                                                                      the Bratz characters), Zeller Dec., Exh.
                  7                                                   71.
                           117.   Larian testified that he directed   See Deposition Transcript of Victoria
                                  MGA's Victoria O'Connor to          O'Connor, dated December 6, 2004 at
                  9               determine the "truth" of            237:12-24 (O'Connor testifed that it
                 10               Bryant's statements that Mattel     would be an untrue statement if Larian
                                  had no rights in the Bratz          said that he told O'Connor to "
                 11               works; however, O'Connor
                                  denied that Larian directed her
                 12.              to do so.                                 "}, Zeller Dec., Exh. 46.
                 13
                 14                                                   Cf, Deposition Transcript of Tsaac
                                                                      Larian, dated July 18, 2006 at 4$:22-
                 15                                                   49:10 (Larian testifed that he instructed
                                                                      O'Connor to "
                 16                                                                         ") , Zeller Dec ., Exh .
                                                                      81.
                 17
                           118.   Bryant acknowledged at              Bryant Tr. Vol. 1 at 88:21-89:3 {Larian
                 18               deposition that both MGA and        knew Bryant was employed by Mattel
                 I9               Larian knew that he was a           when they met}; see also MGA001297,
                                  Mattel employee at the time he      Zeller Dec. Exh. 80 (MGA's payment to
                 20               pitched his ideas to them,          Bryant for his Bratz expenses incurred
                                  accepted payments from them,        from 9123-IO/11100)
                 21               and worked for them, and
                                  entered into an agreement with
                 22               them.
                 23        119.   Zn 2003, Larian told the Wall       Wall Street Journal article from July 18,
                                  Street Journal reporter that "he    2003, Zeller Dec. Exh.. 118
                 24
                                  chose Mr. Bryant's idea for the
                 25               Bratz over several others after
                                  holding a sort of fashion-doll
                 26               design contest in late 1999."
                 27        120.   Anna Rhee testified that Bryant     Deposition of Anna Rhee, Feb. 3, 2005,
                                  personally described his work       at 204:3-4, Zeller Dec. Exh. 66.
                 28               on the Bratz desi ns to her as
o^zo9naa^sz^.t         _                                                            Case No. CV 04-09049 SGL {RNBx)
                                                             MATTEL'S STATEMENTOFGENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 112 of 118 Page ID
                                                #:45475



                      1                 MATTEL ADDITIONAL                       EVIDENTIARY SUPPORT
                                         MATERIAL FACTS
                     2
                                      "inventing."
                     3
                               121.   Roxanna Powell was not a
                     4                supervisor at Mattel.               Ross Tr. at 5120:20-23 (Powell was "^
                                                                                       }, Zeller Dec., Exh. 60.
                     5
                     6         122,   Larian claimed MGA obtained         Letter from B. Dylan Proctor to Diana
                                      documentation form Bryant to        Torres, dated July 19, 2007, Zeller Dec.,
                     7                verify the date of creation of      Exh. 97; letter from Diana Torres to B.
                                      Bratz. Sut when asked to            Dylan Proctor, dated July 25, 2007,
                     8                produce it, MGA's lawyers           Zeller Dec., Exh. 98; e-mail from B.
                     9                confirmed no such document          Dylan Proctor to William Charron, dated
                                      exists.                             August I, 2007, Zeiler Dec., Exh. 99;
                    IO                                                    Larian Tr. at 89:23-92:6, Zeller Dec.,
                                                                          Exh. 81 {Larian claimed MGA obtained
                    11                                                    documentation from Bryant to verify the
                                                                          date of creation of Bratz).
                    I2 ''
                    13
                               123.   MGA's Rachel Harris, who            Rachel Harris Tr. at 167:6-169:11 (both
                    I4'               herself had meetings with           Garcia and Ward separately told Harris
                                      Bryant and Larian, testified that   that Bryant's involvement in Bratz was
                    15                she and others knew at the time     confidential and that it would not be very
                                      that Bryant was a Mattel            good for him if Mattel knew he showed
                    16                em to ee and that it would be       Bratz to MGA), Zeller Dec., Exh. 52.
                    17                "^" for Bryant if Mattel
                                      learned he was presenting
                    18                drawings to MGA while still
                                      employed by Mattel.
                    19
                               124.   Bryant and the MGA witnesses        Garcia testified that she had received
                    20                dispute among themselves            Bryant's Prayer Angel drawings prior to
                                      exactly when Bryant pitched         Bryant's September 1 pitch meeting with
                    21                Bratz to MGA, but all agree that    MGA. Garcia Tr. (Vol. 1 at 244: I-
                    22                Bryant initially pitched his        245: I S statin she had "
                                      designs to a small group of
                    23                people at MGA.
                    24
                    2S
                                                                                                          ."} , Zeller
                    26                                                    Dec., Exh. 67.

                    27                                                    See also Bryant's Prayer Angel sketches,
                                                                          Bates-numbered BRYANT 00173-174,
                    28
0720912447527 . f         ^I                                                             Gase No . GV 04-09049 SGL (RNBx)
                                                                     -1 1 I -
                                                                MATTEL' S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 113 of 118 Page ID
                                               #:45476



                   1        MATTEL ADDITIONAL                  EVIDENTIARY SUPPORT
                             MATERIAL FACTS
                   2
                                                         Proctor Dec., Exh. 75; Garcia Tr. Vol. 2
                   3                                     at 321:22-322:6, Corey Dec., Exh. 20;
                                                         Bryant's August 31, 2000 invoice for
                   4                                     Prayer Angels, MGA's corresponding
                   5                                     purchase order, and MGA's
                                                         corresponding requisition, Bates-
                   6                                     numbered MGAD01294-96, Proctor Dec.,
                                                         Exh. 73; Deposition Transcript of Kerri
                   7                                     Brode, Vol. 1 ("Brode Tr. Vol. 1 "), dated
                                                         August 18, 2007, at 117:18-24, Corey
                   8
                                                         Dec., Exh. 21.
                   9
                                                         Bryant Tr. (Vol 1) at 9:25-10:18; 11:6-11
                  10                                     {Bryant testifies that he met with Garcia
                                                         and Victoria O'Connor prior to the
                  1I                                     September 1, 2000 "pitch" meeting. He
                  12                                     testifies that he met with Garcia and
                                                         O'Connor "
                  13                                     ^" for "                                 "
                                                         and showed them his drawings. He
                  14                                     testif ed that this was the first time he met
                                                         with Garcia), Zeller Dec., Exh. 1.
                  15
                  16                                     Garcia Tr. (Vol. 1 } at 243 :18-245:13,
                                                         Zeller Dec., Exh. 67; Garcia Tr. {Vol. 2)
                  17                                     at 325:16-326:6, Zeller Dec., Exh. 68.
                                                         Garcia testified that the f rst contact she
                  18                                     had with Bryant was when she received
                  19                                     an email from Bryant at the end of
                                                         August 2000. She testified that Bryant
                  20                                     and her did not meet in person until the
                                                         September 1, 2000 meeting.
                  21
                                                         Garcia Tr. (Vol. 2) at 308:21-309:10
                  22
                                                         (Garcia testified that she did not see
                  23                                     Carter Bryant's illustrations prior to the
                                                         September 1, 2000 "pitch" meeting.},
                  24                                     Zeller Dec., Exh. 68. See also Garcia Tr.
                                                         (Vol. 2} at 317:16-318:11, 323:3-7,
                  25                                     333:22-334:4, Zeller Dec., Exh. 68.
                  26
                                                         O'Connor Tr. at 46:18-23, 48:16-50:24,
                  27                                     52:24-53:11, 54:9-12, Zeller Dec., Exh.
                                                         46. Victoria O'Connor testified that the
                  28
a^za9^z4a^sz^.t                                                         Case No. CV 04-09049 SGL (RNBx)
                                                MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 114 of 118 Page ID
                                               #:45477



                   1                 MATTEL ADDITIONAL                     EVIDENTIARY SUPPORT
                                      MATERIAL FACT5
                   2
                                                                     first meeting between Bryant and Garcia
                   3                                                 took place at the end of August, early
                                                                     September 2000. She testified that only
                   4                                                 Bryant, Garcia and herself were at this
                   5                                                 meeting. See Koch Tr. at 30:6-24 {Koch
                                                                     first met Bryant at MGA at a meeting
                   6                                                 with Bryant and Garcia}, Zeller Dec.,
                                                                     Exh. 58; id. at 31:23-32:11, 32:19-48:6
                   7                                                 (Koch, Garcia and Bryant met at a
                                                                     conference table at the end of a row of
                   8                                                 cubicles; Bryant showed Garcia and
                   9                                                 Koch his ortfolio of drawings; Garcia
                                                                     was "^"}.
                  10
                                                                     Larian v. Larian Arbitration Tr., Vol. 2
                  11                                                 ("Larian v . Larian Tr . ") , dated November
                  12                                                 17, 2005 at 227:10-228:5 {Farmer MGA
                                                                     Salesperson Jennifer Maurus testified that
                  13                                                 in the early summer of 2000 Garcia first
                                                                     introduced her to Bryant and showed her
                  14                                                 his Bratz drawings), Zeller Dec., Exh. 59;
                                                                     id. at 228:10-14 (at the point that Maurus
                  15
                                                                     saw the Bratz drawings Garcia told her
                  16                                                 that Garcia had already met with Larian
                                                                     about the concept}.
                  17
                            125.   De Anda understood the August De Anda understood that the anonymous
                  18               5, 2002 anonymous letter was     letter was related to the Toon Teens
                                   accusing Bryant of plagiarizing investigation. See Deposition Exhibit
                  19               Toon Teens after he left Mattel. 1194, Zeller Dec., Exh. 100; De Anda Tr.
                                                                    at 249:2-15; 256:12-258:3; 258:13-
                  20                                                259:23; 267:17--268:11; 280:12-281:9;
                  21                                                282:18-283:22, Zeller Dec., Exh. 61.
                            126,   There is no evidence that the     Declaration of Mateo Ramano in support
                  22               dolls were "shown" or a Mattel    of Mattel, Inc.'s Consolidated Opposition
                  23               employee ever visited MGA's       to Defendants' Motion for Partial
                                   private showroom. Mateo           Summary Judgment, dated March 20,
                  24               Romano, an employee of Mattel     2008 at ^¶ 2-7.
                                   de Mexico in 2001, a Mexican
                  25               corporation and independent
                  26               subsidiary of Latin America,
                                   saw Bratz prototypes in January
                  27               2001 at Hong Kong Toy Fair.
                                   Mattel de Mexico occasionall
                  28
ona9r^aa^sz^. [        II                                       _ ] ] 3_           Case No. CV 04-09049 SGL (RNBx}
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 115 of 118 Page ID
                                               #:45478



                   1                  MATTEL ADDITIONAL                     EVIDENTIARY SUPPORT
                   2                     MATERIAL FACTS
                                   distributed MGA products
                   3               during that timeframe. MGA
                                   approached Mr. Romano about
                   4               the possibility of Mattel de
                   5               Mexico distributing this product
                                   in Latin America. Mr. Romano
                   6               "did not share the information
                                   about Bratz beyond the product
                   7               name and product number with
                                   anyone at Mattel, Inc. in El
                   8
                                   Segundo."
                   9        127,   Mattel knew nothing that put it Declaration of Michael Moore, dated
                                   on notice of the facts underlying March 24, 2008 ("Moore Dec."), at ¶ 3-4.
                  10
                                   this lawsuit until November 24,
                  11               2003, when it obtained a copy
                                   of Bryant's contract with MGA
                  12               and several doll drawings that
                                   Bryant had purported to assign
                  13               to MGA.
                  14        128.   Anne Wang, Bryant's attorney       Deposition Transcript of Anne Wang
                                   did not give MGA's attorney        {"Wang Tr."), dated Janua      2$, 2008 at
                  15               any substantive response when    44:25-48:1 S "
                  16               he inquired regarding Bryant's
                                   ownership of Bratz and said that
                  17               she would check with Bryant.             "), Zeller Dec., Exh. 74
                  18
                            129.   Rosenbaum understood that the      Deposition Transcript of David
                  19
                                   work that Bryant did for Mattel,   Rosenbaum ("Rosenbaum Tr."), dated
                  20               would be owned by Mattel.          January 25, 200$, at 88:19-90:17 (MGA's
                                                                      attorne acknowled in that B ant
                  21
                  22                                                                               ", Zeller Dec.,
                  23                                                  Exh. 75.

                  24
                            130.   The testimony of the MGA See Deposition Transcript of Victoria
                  25               principals involved is disputed O'Connor, dated December 6, 2004 at
                                   as to whether or not Larian 237:12-24 (O'Connor testified that it
                  26               tasked O'Connor to investigate     would be an untrue statement if Larian
                  27               the truth of Bryant's claims said that he told O'Connor to "
                                   regarding his ownership of the
                  28
07209/2447527.1        I^                                         _     _            Case No. CV 04-09049 5GL (RN$x}
                                                             MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
             Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 116 of 118 Page ID
                                                #:45479



                    1                 MATTEL ADDITIONAL                       EVIDENTIARY SUPPORT
                    2                    MATERIAL FACTS
                                    Bratz works.                             "), Zeller Dec., Exh. 46.
                    3
                    4                                                  Deposition Transcript of Isaac Larian,
                                                                       dated July 18, 2006 at 48:22-49:10
                    S                                                  {Larian testified that he instructed
                    6                                                  O'Connor to "
                                                                                          "), Zeller Dec., Exh.
                    7                                                  81.
                    8
                             131.   In other litigation, MGA           Statement of Claim Filed in the High
                    9
                                    represented that the Bryant-       Court of the Hong Kong Special
                   10               MGA A reement was a                Administrative Region Court ofFirst
                                    "                          "       Instance , dated September 16 , 2003 ,
                   11                                                  Zeller Dec. Exh . 11 S at ¶ G.
                   12        132.   Garcia, the Program Manager of Garcia Tr. (Vol. 3) at 840: 6-15, Zeller
                                    Bratz, asked Bryant for         Dec. Exh. 78.
                   13               information regarding hair
                                    materials before he even signed
                   14               the contract with MGA.
                   15        133.   Garcia e-mailed MGA Hong           Garcia Tr. {Vol. 3) at 879:10- 880:11,
                                    Kong personnel on September        Zeller Dec. Exh. 78.
                   16.
                                    27, 2000 and informed them
                   17               that she sent a package of
                                    materials relating to the Bratz
                   1$               project.
                   19        134,   Garcia e-mailed MGA Hong Exhibit 1105, Bates-numbered MGA HK
                                    Kong personnel on October 16, 0011188-S6, Zeller Dec. Exh. 117.
                   20               2000 and attached a picture of a
                                    Bratz sculpt that she sent to
                   21               MGA Hong Kong via Fed Ex
                   22
                   23        135,   Larian told Bryant to work "  Larian Tr. at 168 : 18 - 169:19, Zeller Dec.
                                    ^" on the Bratz project while Exh. 81.
                   24               Bryant was still employed by
                                    Mattel.
                   2S
                   26
                             136.   Defendants have not produced       Defendants have not produced any
                   27               any evidence that Mattel knew:     evidence.
                                     1 that Bryant created Bratz,
                   28
Q7209/2447527 .]        II                                         _     ..           Case No. CV 04-09049 SGL (RNBx)
                                                              MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 117 of 118 Page ID
                                               #:45480



                   1               MATTEL ADDITIONAL                      EVIDENTIARY SUPPORT
                                      MATERIAL FACTS
                   2
                                 while at Mattel, using Mattel
                   3             resources,
                                 (3) that he and MGA entered
                   4             into a contract while he was still
                                 employed by Mattel, or
                   5             (4) that MGA knew when it
                                 entered into the contract with
                   6             Bryant that he was a Mattel
                   7             employee and that Mattel
                                 owned Bratz
                   8     13'7,   On July 18, 2003, the Wall          Wall Street Journal article from July 03,
                                 Street Journal publishes an         Ex. 11, Zeller Dec. Exh. 118.
                   9
                                 article reporting, inter alia, that
                  10             "Bratz were designed by Carter
                                 Bryant"; "some are convinced
                  11             the Bratz borrow liberally from
                                 a Mattel project that was
                  12             scrapped at the testing stage in
                  13             1998"; and "Bryant didn't work
                                 on the line that Mattel
                  14''           scrapped."

                  15     13 g,   The article did not state that     Wall Street Journal article from July 03,
                                 Bryant conceived of Bratz or       Ex. 11, Zeller Dec. Exh. 118.
                  16             created Bratz related materials
                                 during his Mattel tenure.
                  17
                  18
                         139.    On November 24, 2003, Mattel       Moore Dec. Exh. 1-2 & ¶2-4, Bates-
                  19             receives in discovery in an        numbered M 0001547.
                                 unrelated action a copy of a
                  20             MGA-Bryant contract dated
                                 "9/14/00" and thus pre-dating
                  21             Bryant's resignation from
                  22             Mattel.

                  23
                  24
                  25
                  26
                  27
                  28
07264/2447527.1                                                 _ ^ ] h_           Case No. CV 04-09049 SGL (RNBx)
                                                           MATTEL'S STATEMENT OF GENUINE ISSUES RE MGA PARTIES
            Case 2:04-cv-09049-DOC-RNB Document 2823-3 Filed 03/26/08 Page 118 of 118 Page ID
                                               #:45481



                                  MATTEL ADDITIONAL                    EVIDENTIARY SUPPORT
                                    MATERIAL FACTS
                   2
                        140.   Another MGA employee              Deposition Exhibit SS 1, MGA 0069426-
                   3           conf rmedthat the creation date   27, ^ Email from Nana Ashong to Victoria
                               of the actual Bratz dolls was     O'Connor and Paula Tranteafalles statin
                   4           September 1$ , 2000.
                   5                                                                          "} , Zeller Dec .
                                                                 Exh. 121.
                   6
                   7 DATED: March 24, 2008                 UINN EMANUEL URQUHART OLIVER &
                   S                                        DGES, LLP

                   9
                                                          Sy Isl Jon D. Corey                              __
                  10                                         Jon D. Corey
                                                             Attorneys for Mattel, Inc.
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a^zagrzaa^sz7.t                                                                 Case No. CV 04-09049 SGL (RNBx)
                                                        MATTEL'S STATEMENT OE GENUINE ISSUES RE MGA PARTIES
